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                                    UNITED	STATES	DISTRICT	COURT	
                                    EASTERN	DISTRICT	OF	LOUISIANA	
	
	
_________________________________________	                    	     	
LASHAWN	JONES,	et	al.,	and		                        	         	     )	
THE	UNITED	STATES	OF	AMERICA,	                                	     )	
		            	            	     	       	          	         	     )					Civil	Action	No.	2:12-cv-00859	
                           PLAINTIFFS,													 	         	     )					Section	I,	Division	5	
																           	     	       			        	         	     )					Judge	Lance	M.	Africk	 			      													
                                 v.	     	          			       	     )						
													 	            	     	       			        	         	     )					Magistrate	Judge	Michael	B.	North	
MARLIN	GUSMAN,	Sheriff,	 	                          	         	     )		
	             	            	     	       	          	         	     )	
	             	            	     	       	          	         	     )	
																													DEFENDANT.	            	         	     )															
_________________________________________	                          )	           	    	
	
	
	
	
                               Report	No.	10	of	the	Independent	Monitors	
                                                          March	18,	2019	

            	
            	
            	
Margo	L.	Frasier,	J.D.,	C.P.O.,	Lead	Monitor		
Robert	B.	Greifinger,	M.D.	Medical	Monitor	
Patricia	L.	Hardyman,	Ph.D.,	Classification	Monitor	
Susan	W.	McCampbell,	M.C.R.P.,	C.J.M.,	Administrative/Correctional	Practice			
Raymond	F.	Patterson,	M.D.,	D.F.A.P.A.,	Mental	Health	Monitor	
Shane	J.	Poole,	M.S.,	C.JM.,	Environmental	Fire	Life	Safety	Monitor	
Diane	Skipworth,	M.C.J.,	R.D.N.,	L.D.,	R.S.,	C.C.H.P.,	C.L.L.M.,	Food	Safety	Monitor	
            	
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                                       Marlin	Gusman,	Sheriff	
             	
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    Compliance	Report	#	10	-	Introduction	
           This	is	Compliance	Report	#10	submitted	by	the	Independent	Monitors	providing	
    assessment	of	the	Orleans	Parish	Sheriff’s	Office’s	(OPSO)	compliance	with	the	Consent	
    Judgment	of	June	6,	2013.	Report	#10	reflects	the	status	of	OPSO’s	compliance	as	of	
    January	17,	2019.		The	bases	for	this	Report	are	incidents	and	compliance-related	
    activities	between	July	2018	and	December	2018.	
           In	February	2018,	the	OPSO’s	jail	was	placed	under	the	leadership	of	Darnley	R.	
    Hodge,	Sr.,	who	was	appointed	by	the	Court	on	January	29,	2018,	as	the	Independent	
    Compliance	Director	(ICD)	on	an	interim	basis.		Director	Hodge	began	work	on	February	
    19,	2018	and	was	appointed	to	the	position	permanently	on	October	12,	2018.	Director	
    Hodge	brought	substantial	knowledge	of	jail	operations	and	has	worked	diligently	to	
    make	significant	efforts	towards	compliance	with	the	Consent	Judgment.	
           In	summary,	the	Monitors	find	that	safety,	medical	and	mental	health	care,	and	
    environment	conditions	of	inmates	held	in	both	the	Orleans	Justice	Center	(OJC)	and	the	
    Temporary	Detention	Center	(TDC)	has	made	meaningful	and	noteworthy	improvement	
    since	the	previous	assessment	report	provided	to	the	Court	in	August	2018.		While	there	
    is	still	significant	work	to	be	done	to	properly	staff	the	facility,	curb	violence,	and	
    improve	medical	and	mental	health	care,	the	trend	is	positive.			The	specific	initiatives	
    are	addressed	in	this	report.	

A.        Summary	of	Compliance	
           Achievement	of	compliance	with	Consent	Judgment,	Stipulated	Agreements,	
    and	Stipulated	Order	will	bring	the	Orleans	Parish	Sheriff’s	Office	(OPSO)	and	its	
    correctional	facilities	--	Orleans	Justice	Center	(OJC)	and	the	Temporary	Detention	
    Center	(TDC)	closer	to	operating	and	sustaining	a	Constitutional	jail	system.	

           For	OPSO	to	demonstrate,	obtain	and	sustain	compliance	with	the	requirements	
    of	the	Consent	Judgment	and	Stipulated	Agreements	(2015),	OPSO	must	develop	an	
    infrastructure	to	support	this	work	including	alignment	of	policies,	procedures,	
    training,	and	consistent	practices.	The	requirements	of	the	Consent	Judgment	
    represent	accepted	correctional	practice,	while	providing	flexibility	to	OPSO	for	the	
    application	of	the	mandates.	


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           Combined,	the	Consent	Judgment	and	Stipulated	Agreements	contain	207	
    provisions.		Based	on	the	current	assessment,	OPSO	has	achieved	compliance	or	partial	
    compliance	with	94%	of	the	provisions.		Substantial	compliance	has	been	achieved	for	
    37%	of	the	provisions.	Fifty-six	percent	(56%)	of	the	provisions	are	in	partial	
    compliance.		Eight	(less	than	6%)	of	the	173	provisions	remain	in	non-compliance.		The	
    improvement	since	the	last	assessment	is	noteworthy	when	only	24%	of	the	provisions	
    were	in	substantial	compliance	and	23%	of	the	provisions	were	in	non-compliance.			
           To	progress	from	partial	compliance	to	substantial	compliance	(and	sustain	the	
    substantial	compliance),	OPSO	must	continue	to	build	on	the	work	it	has	done	to	date.		
    The	ability	to	maintain	sustained	compliance	in	all	provisions	is	essential	as	the	terms	of	
    the	Consent	Judgment	require	maintenance	of	substantial	compliance	in	each	and	every	
    provision	for	a	period	of	24	months.		OPSO	must	consistently	implement	policies	and	
    procedures,	develop	and	provide	the	training	necessary	for	staff	to	follow	the	policies	
    and	procedures,	develop	supervisors	and	mid-	managers	to	lead	both	staff	and	
    operations,	analyze	data	in	a	meaningful	and	useful	manner	to	inform	activities,	and	
    engage	in	root	cause	review	and	self-critical	assessments.			
           This	strategy	for	organizational	and	management	approach	must	then	be	
    documented	and	reported	to	the	Monitors	in	an	organized,	complete	and	accurate	
    manner	to	demonstrate	on-going	compliance.	Such	initiatives	not	only	will	allow	the	
    Monitors	to	measure	compliance	but	allow	the	leadership	of	OPSO	to	make	the	
    improvements	necessary	to	operate	the	OPSO	correctional	facilities	in	a	Constitutional	
    manner	which	complies	with	the	Consent	Judgment	and	Stipulated	Agreements.		OPSO	
    has	made	significant	strides	in	its	reporting	to	the	Monitors;	but	root	cause	review	and	
    self-critical	assessments	are	of	insufficient	quantity	and	quality	and	do	not	inform	
    decisions.		
           One	example	of	compliance	deficiency	relates	to	the	response	to	the	Monitors’	
    requests	for	data	regarding	watch	commanders	filing	incident	reports	by	the	end	of	the	
    shift,	or	in	no	case	more	than	twenty-four	hours	after	the	incident.		OPSO	asserts	it	is	in	
    substantial	compliance	with	this	provision	and	its	own	policy,	but	documentation	
    indicates	that	reports	are	often	not	filed	timely.		At	least	110	incidents	of	late	reporting	
    were	acknowledged	by	OPSO	during	the	last	six	months	of	2018.		It	is	acknowledged	that	


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    OPSO	has	made	vast	improvement	in	reporting	of	incidents,	including	uses	of	force,	but	
    there	are	still	incidents	that	are	not	reported,	or	are	not	reported	timely.		Despite	the	
    acknowledgement	of	violation	of	this	provision	of	the	Consent	Judgment	and	OPSO	
    policy,	no	discipline	was	taken	against	the	deputies	or	supervisors	despite	the	existence	
    of	a	policy	which	requires	timely	documentation	of	incidents	and	appropriate	discipline	
    for	non-adherence	to	the	policy.	
            This	circumstance	reflects	a	failure	to	adequately	and	accurately	assess	and	
    oversee	compliance-related	activities	in	preparation	for	the	bi-annual	Monitors’	
    assessments	as	well	as	OPSO’s	ability	to	adhere	to	policy	and	engage	in	meaningful	
    self-	criticism.	
            The	Monitors	are	pleased	to	report	that	OPSO,	under	the	leadership	of	
    Independence	Compliance	Director	Hodge,	has	begun	to	examine	its	strategies	to	
    obtain	and	sustain	compliance	and	make	structural	and	organizational	changes	
    necessary	to	achieve	compliance.	
                  Table	1	–	Summary	of	Compliance	–	All	Compliance	Reports1		
            	

         Compliance	        Substantial	       Partial	        Non-	         	          	
         Report/Date	       Compliance	 Compliance	 Compliance	 NA/Other	 Total	
     #1	–	December	2013	          0	            10	           85	          76	       171	
     #2	–	July	2014	              2	            22	          149	           1	       174	
     #3	–	January	2015	           2	            60	          110	           2	       174	
     #4	–	August	2015	           12	           114	           43	          4 2 	     173	
     #5	–	February	2016	         10	            96	           63	
                                                               	            4	       173	
     #6	–	Sept	2016	             20	            98	           53	
                                                              53	           2	       1733	
     #7	–	March	2017	            17	            99	           53	
                                                              55	           2	       173	
     #8	–	November	2017	         23	           104	           44	           2	       173	
     #9	–	June	2018	             26	            99	           46	           2	       173	
     #10	–	January	2019	         65	            98	            8	           2	       173	
           	                      	
    The	status	of	compliance	with	the	two	stipulated	agreements	(February	11,	2015	and	
    April	22,	2015)	is	as	follows:	
	                               	




																																																								
1	See	Appendix	A	for	historical	detail	of	compliance,	by	paragraph.	



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                        Table	2	–	Status	of	Compliance	with	2015	Stipulated	
                                             Agreements		
             	

    	                       Substantial	        Partial	             Non-	           NA	       Total	
                            Compliance	      Compliance	         Compliance	
        August	2015	            21	              12	                 1	               0	         34	
        February	2016	          21	              12	                 1	               1	         34	
        September	2016	         26	               7	                 1	               0	         34	
        March	2017	             28	               4	                 1	               1	         34	
        November	2017	          21	              11	                 1	               1	         34	
        June	2018	              23	               8	                 2	               1	         34	
        January	2019	           28	               5	                 0	               1	         34	
	
B.          Critical	Issues	–	Opportunities	for	Continued	Progress	
             The	Monitors	summarize	below	the	critical	matters	identified	in	preparation	of	
    this	report	regarding	OPSO’s	compliance	with	the	Consent	Judgment.		
            1.   Foundational	Work	-	The	essential,	core	work	required	to	achieve	compliance	
                   includes:	
                   a.   Policies	and	Procedures	–	OPSO	has	completed	all	drafts	of	the	essential	
                          policies	and	procedures.		While	there	is	still	work	to	be	done	to	
                          finalize	the	policies,	a	tremendous	amount	of	effort	has	been	
                          expended	by	staff	into	refining	these	drafts	to	ensure	the	policies	and	
                          procedures	prescribe	how	the	facility	operates	and	assure	inmate	and	
                          safety,	in	accordance	with	the	Consent	Judgment	and	accepted	
                          correctional	practice.	The	task	has	been	made	more	challenging	
                          because	of	the	number	of	policies	and	procedures	approved	and	
                          signed	into	effect	in	2017	by	the	former	Independent	Compliance	
                          Director	which	did	not	incorporate	the	comments/recommendations	
                          of	the	Monitors,	DOJ,	nor	the	attorneys	for	the	Plaintiff	class,	as	
                          required	by	the	Consent	Judgment.		An	additional	task	is	the	
                          development	and	approval	process	of	lessons	plans	corresponding	to	
                          the	policies	followed	by	implementation.		OPSO’s	newly	adopted	
                          policy	governing	its	written	directive	system	will	also	result	in	
                          improvements	to	the	policy/procedure	process,	allowing	



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                 organizational	components	to	develop	specific	operational	practices	
                 that	will	be	reviewed	by	OPSO	administration.	
          b.   Inadequate	staffing	–	There	is	inadequate	staffing	in	the	facilities	(OJC	
                 and	TDC),	based	on	OPSO’s	staffing	analysis	and	the	Monitors’	
                 assessment.		Director	Hodge	has	addressed	part	of	the	shortage	by	
                 using	employee	overtime.		The	use	of	overtime	on	a	long-term	basis	is	
                 not	a	viable	strategy	to	staff	a	jail	as	it	has	both	negative	human	and	
                 fiscal	impacts.			Even	with	the	use	of	overtime,	frequently,	there	are	
                 housing	units	and	control	rooms	that	do	not	have	assigned	staffing;	
                 further	assigned	staff	sometimes	leave	housing	units	and	control	pods	
                 unattended	for	meal	breaks	and	other	duties.	The	staffing	deficiencies	
                 include	supervisory,	mid-management,	and	leadership	positions.		
                 Some	of	the	staff	in	mid-management	and	leadership	positions	lack	
                 sufficient	subject	matter	expertise	to	achieve	and	sustain	compliance.		
                 In	February	2019,	a	new	Chief	of	Corrections	joined	OPSO	who	has	the	
                 appropriate	background	and	expertise	to	assist	in	the	operation	of	the	
                 jail	on	a	daily	basis	and	assist	in	compliance	efforts.	
          c.   Training	–	Employee	training,	both	pre-service	and	in-service,	requires	
                 attention	to	ensure	consistency	with	OPSO	policies	and	procedures.		
                 Foundational	work	requires	preparation	of	lesson	plans	to	provide	for	
                 a	consistent	instruction	content,	instruction	by	qualified	individuals,	
                 and	demonstration	and	documentation	of	students’	knowledge	
                 gained.	Recommended	changes	in	the	class	size	of	the	pre-service	
                 academy,	better	screening	of	recruits	for	ability	to	perform	the	
                 essential	functions,	including	physical	requirements	of	the	job,	and	
                 skill-based	training	are	in	the	process	of	being	implemented.		One	of	
                 the	challenges	is	to	train	all	employees	on	the	newly	implemented	
                 policies.		Providing	a	policy	without	training	is	not	effective	
                 implementation.			
          d.   Supervision	–	Safe	operation	of	OPSO’s	facilities	requires	an	adequate	
                 number	of	sufficiently	trained	first-line	and	mid-management	


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                 supervisors.		Director	Hodge	implemented	the	unit	management	
                 approach	and	continues	to	provide	training	and	mentoring	for	the	
                 individuals	performing	these	roles.		Mentoring,	coaching,	and	
                 accountability	for	newly	hired	and	employees	in	supervisory	
                 positions,	as	well	as	fulfilling	the	Consent	Judgment’s	requirements,	
                 remains	a	foundational	need.		
     2.    Medical	and	Mental	Health	Care	–	The	Medical	and	Mental	Health	
           Monitors	report	challenges	remain	in	the	provision	of	basic	case,	staffing,	
           and	recordkeeping,	as	well	as	the	need	for	improved	collaboration	with	
           custody/security	staffing.		There	has	been	improvement	in	the	areas	of	
           medical	and	mental	health	care.		The	addition	of	resources	from	Tulane	
           University	has	been	particularly	helpful	in	providing	mental	health	care.	
    3.    Inmate	Safety	and	Protection	from	Harm	-	Providing	a	safe	and	secure	jail	
          continues	to	be	a	challenge.			      	
          a.     Unit	Management—As	noted	above,	Director	Hodge	implemented	unit	
                 management	to	supervision	of	the	housing	units.		Each	floor	of	the	
                 OJC,	IPC,	and	TDC	have	been	designed	as	a	“unit”.	The	purpose	of	this	
                 strategy	is	to	allow	the	staff	to	get	to	know	the	inmates,	coordinate	
                 management	of	housing	unit	operations,	work	to	insure	consistency	of	
                 work,	and	is	intended	to	result	in	greater	accountability	for	both	staff	
                 and	the	inmates.		While		the	Unit	Management	approach	has	shown	to	
                 be	helpful,	there	are	inconsistencies	and	lack	of	uniformity		in	the	
                 areas	of	staff	discipline	and	application	of	facility	rules	to	inmates.		
                 Efforts	to	refine	and	successfully	implement	the	strategy	require	
                 additional	training	and	mentoring.	
          b.     Violence	–	There	are	still	significant	incidents	of	violence	occurring	
                 within	the	facilities	–	including	inmate	on	inmate	assaults	and	assaults	
                 on	staff.		High	levels	of	disorder	and	non-compliance	to	the	
                 institutional	rules	result	in	staff’s	over-reliance	on	use	of	force	to	gain	
                 control	and	compliance.		Incidents	involving	substance	abuse	
                 overdoses	inside	the	facilities,	disturbances,	and	deaths	of	inmates	


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                continue	to	present	serious	challenges	to	the	OPSO.	
          c.    Early	Intervention	System	(EIS)	–	The	EIS	remains	compromised	and	
                hinders	the	required	prompt	identification	of	staff	whose	actions	
                threaten	inmate	and	facility	safety.		The	Force	Investigation	Team	
                (FIT)	Commander	continues	to	use	the	“work	around”	of	the	current	
                software	options	of	the	EIS	system	relying	both	by	use	of	technology	
                and	staff	resources	to	track	the	required	information.		
          d.    Inmate	Classification	–	The	inmate	classification	processes	require	
                continued	attention	to	ensure	housing	decisions	and	placements	are	
                consistent	with	OPSO	policies	and	objective	classification	principles.	
                Credible	auditing	needs	to	continue	to	focus	on	identifying		issues	and	
                correcting	placements.				Improving	inmate	classification	includes	
                development	of	subject	matter	expertise	in	the	Unit,	accountability	
                systems,	interface	with	unit	management,	and	collection,	analysis,	and	
                development	of	corrective	action	plans,	as	needed.	
          e.    Inmate	grievances	–	Inmates’	questions	and	concerns	using	the	
                grievance	process,	require	attention	as	to	the	timeliness	and	adequacy	
                of	responses.				The	system	is	intended	to	provide	fixes	to	systems	as	
                well	as	to	individual	inmate’s	needs.	
          f.    Incident	Reporting	-	Collaboration	efforts	to	improve	reporting	of	
                incidents	continues	among	the	Monitors,	OPSO,	and	the	attorneys	for	
                the	Plaintiff	class/DOJ.		As	discussed	in	this	Report		progress	toward	
                promptly	identifying	and	reporting	has	improved,	but	continues	to	
                require	significant	attention.		There	remain	serious	incidents	for	
                which	no	report	or	no	timely	report	is	prepared	by	OPSO	staff;	
                including	inmate	on	inmate	assaults	resulting	in	hospitalization.		The	
                analysis	of	incident	reports	and	development	of	corrective	action	
                plans	occurs,	but	would	benefit	from	be	much	more	robust	and	
                defined.	
          g.    Jail	Management	System	–	An	integral	part	of	any	the	jail’s	operational	
                improvements	is	tied	to	an	effective	jail	management	system.		Such	


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                 capacity	provides	on-demand,	routine,	and	periodic	data	to	inform	
                 critical	leadership	and	management	decisions.		This	information	
                 system	has	not	been	implemented.		OPSO	cancelled	the	contract	with	
                 the	provider	who	was	to	supply	a	new	JMS.		Development	of	a	JMS	
                 which	will	interface	with	any	new	court	systems	is	an	impediment	to	
                 progress.	
          h. 	Sanitation	and	Environment	Conditions	–	Challenges	remain	
             regarding	the	public	health	and	inmate/staff	safety	risks.		While	the	staff	
             working	on	these	issues	have	made	gains,	the	challenge	to	fill	support	
             positions	identified	in	OPSO’s	staffing	analysis	negatively	impacts	the	
             ability	of	OPSO	to	develop	and	sustain	the	requirements	of	the	Consent	
             Judgment	and	align	with	accepted	correctional	practice.		
     4.   Youthful	Prisoners	–	The	Monitors	acknowledge	and	commend	the	
          educational	program	established	in	OJC.		Provision	of	age	appropriate	mental	
          health	services	has	improved	with	the	addition	of	the	Tulane	University	
          resources;	and	remains	to	be	better	documented.		Adequate	housing	for	
          female	youth	has	still	not	been	addressed	and	is	difficult	to	implement	given	
          the	facility	design.	
     5.   Inmate	Sexual	Safety	–	OPSO	continues	to	prepare	for	its	required	audit	of	
          compliance	with	the	standards	of	the	Prison	Rape	Elimination	Act	of	2003	
          (PREA).		Continued	internal	collaboration	is	needed	regarding	assessments	
          of	inmates	as	potential	sexual	victims	and	potential	sexual	predators	in	
          coordination	with	the	contract	medical/mental	health	provider.		The	
          reassignment	of	the	responsibility	for	supervision	of	the	investigation	of	
          allegations	of	PREA	violations	to	its	most	experienced	ISB	supervisor	has	
          improved	the	quality	of	these	investigations.		
     6.   Compliance,	Quality	Reporting,	and	Quality	Improvement	–	An	essential	
          element	to	ensure	inmate	safety	is	OPSO’s	timely	review	of	serious	incidents	
          which	then	permits	assessment	of	root	cause(s)	and	then	to	develop,	
          implement	and	track	actions	plans	to	address	the	issue(s).		This	activity	
          focuses	on	repairing	systems.		OPSO	has	made	efforts	to	undertake	this	


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          function.		Director	Hodge	recognizes	that	systemic	issues,	which	remain	
          unaddressed,	will	continue	to	create	risks	to	institutional	safety	and	security.			
          While	progress	is	being	made,	the	Monitors	encourage	OPSO	to	dedicate	
          more	time	and	knowledgeable	resources	to	this	process	of	quality	
          improvement.			
     7.   Stipulated	Agreements	2015	–	OPSO	should	review	its	on-going	
          compliance	with	the	two	Stipulated	Agreements	from	2015.		As	noted	in	this	
          most	recent	tour,	the	status	of	compliance	within	these	Agreements	has	
          changed.	
     8.   Acknowledgement	of	Work	to	Date			
          a.     Youthful	Prisoners	–	OJC	is	commended	for	continuing	educational	
                 and	related	programming	for	the	youthful	prisoners.			
          b.     Investigations	–	Work	to	credibly	review	the	critical	incidents	and	
                 allegations	of	staff	misconduct	is	a	positive	for	OPSO.		What	remains	
                 to	be	done	is	to	integrate	the	findings	of	these	investigations	with	
                 Quality	Improvement	initiatives	(root	cause	analysis	and	critical	
                 incident	reviews)	to	improve	safety	for	staff	and	inmates.		
          c.     Fire	and	Life	Safety	–	OPSO	has	provided	documentation	of	important	
                 fire	and	life	safety	requirements.		Work	remains	on	internal	
                 collaboration	and	development	and	training	regarding	emergency	
                 operations.	
          d.     The	Docks	–	Construction	of	the	renovations	on	the	Docks,	providing	
                 court-holding,	has	begun.	
          e.     Phase	III	-	A	contract	for	architectural	services	and	project	manager	
                 for	Phase	III	has	been	awarded	by	the	City.		The	Monitors	are	hopeful	
                 that	the	City	will	make	the	design	and	building	of	this	additional	
                 facility	a	priority	as	it	is	critical	to	the	provision	of	mental	and	medical	
                 health	services.		In	the	meantime,	the	renovation	of	the	Temporary	
                 Detention	Center	(TDC)	to	house	and	provide	programming	for	both	
                 female	and	male	inmates	is	critical.	
          f.     Human	Resources	–	The	recruiting,	screening,	on-boarding,	and	


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                    performance	appraisals	of	employees	is	critical	to	achieving	sustained	
                    compliance	with	the	Consent	Judgment,	and	keeping	staff	and	inmate	
                    safe.		The	Monitors	urge	the	Director	to	invest	resources	to	reform	
                    and	finalize	these	processes.		With	the	churn	in	hires/terminations,	
                    there	are	tangible	costs	of	time	and	fiscal	resources,	as	well	as	
                    undermining	morale.	
C.    Review	Process	of	Monitors’	Compliance	Report	#10	
             A	draft	of	this	report	was	provided	to	OPSO,	Counsel	for	the	Plaintiff	Class,	
      and	the	Department	of	Justice	(DOJ)	on	February	26,	2019.		Comments	were	
      provided	by	OPSO	and	Counsel	for	the	Plaintiff	Class	and	DOJ	on	March	13,	2019.		
      OPSO’s	medical	contractor,	Wellpath	(formerly	known	as	CCS),	provided	
      comments	regarding	the	relevant	paragraphs	of	the	Consent	Judgment	on	March	
      13,	2019.	
D.    Communication	with	Stakeholders	
             The	Monitors	are	committed	to	providing	as	much	information	as	possible	
      regarding	the	status	of	OPSO’s	efforts	to	comply	with	all	orders	of	the	Court.		The	
      www.nolajailmonitors.org	website	came	on-line	in	September	2014.	As	of	late	
      February	2019,	there	have	been	more	than	90,400	“hits”.		Joining	all	other	reports,	
      the	finalized	version	of	Compliance	Report	#10	will	be	posted	on	that	site	and	a	
      summary	of	compliance	for	each	paragraph.			
E.    Recommendations			
             This	report	includes	only	“new”	recommendations	within	the	body	of	the	
      report.	
F.    Conclusions	and	Path	Forward	
             OPSO	has	been	operating	under	the	provisions	of	the	Consent	Judgment	since	
      June	2013,	with	monitoring	beginning	in	the	fall	of	2013.		During	the	past	year,	
      under	the	leadership	of	Director	Hodge,	significant	improvements	are	
      acknowledged	by	the	Monitors.		Vital	and	significant	work	remain	to	comply	with	
      the	provisions	of	the	Consent	Judgment	in	order	to	bring	and	sustain	constitutional	
      standards.		Director	Hodge	has	begun	to	prioritize	to	address	paragraphs	of	the	
      Consent	Judgment.		The	Monitors	note	that	detailed	action	plans	need	to	be	


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         developed	and	implemented;	providing	a	clear	path	to	compliance.			
                Serious	incidents	and	harm	to	inmates	frequently	occur.		There	continues	to	
         be	contraband	smuggled	into	the	facility	and	weapons	confiscated	from	inmates.		
         Only	by	elevating	security	operations	–	including	collecting	accurate	data,	analyzing	
         the	root	cause	of	the	issues,	and	engaging	in	problem	solving	will	a	sustainable	
         reduction	in	inmate	on	inmate	assaults,	inmate	on	staff	assaults,	uses	of	force,	
         contraband	and	property	damage	be	achieved.		OPSO	has	begun	to	collect	the	data	
         and	has	improved	its	accuracy.		However,	the	skills	for	the	analysis	of	the	data	and	
         conduct	of	root	cause	reviews	required	additional	subject	matter	expertise.	
                As	staffing	for	the	housing	units,	as	well	as	employees	to	provide	escort	for	
         other	necessary	functions	(medical,	mental	health,	court)	is	critically	inadequate,	a	
         plan	to	recruit,	screen,	train,	and	mentor	qualified	staff	continues	to	be	viewed	by	
         the	Monitors	as	of	the	highest	priority.		For	the	training	to	be	meaningful,	the	
         policies,	procedures,	and	post-orders	must	be	finalized,	and	appropriate	lesson	
         plans	prepared.			
                Medical	and	mental	health	care	initiatives	continue	to	work	to	meet	the	
         requirements	of	the	Consent	Judgment.		Wellpath	has	improved	in	the	development	
         and	implementation	of	a	clear	path	forward	with	measurable	benchmarks.	
                The	Monitors	remain	committed	to	the	Court,	and	the	parties	to	provide	
         assistance,	where	requested.		As	Director	Hodge	and	OPSO	leadership	prioritize	
         areas	to	be	addressed,	the	Monitors	will	continue	to	collaborate	on	solutions	that	
         will	result	in	significant	improvement	towards	compliance	with	the	provisions	of	
         the	Consent	Judgment	and	achievement	of	constitutional	conditions.			
                                          	
                                          	
                                          	
                                          	
                                          	
                                          	
    The	Monitors	again	thank	and	acknowledge	the	leadership,	guidance	and	support	of	
          The	Honorable	Lance	M.	Africk	and	The	Honorable	Michael	B.	North.	
                                                 	
                                                 	
                                                 	
                                                 	


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II.	A.			 Protection	from	Harm	
Introduction	
	      This	section	of	the	Consent	Judgment	addresses	core	correctional	functions	
including	the	use	of	force	(policies,	training,	and	reporting),	identification	of	staff	involved	
in	uses	of	force	through	an	early	intervention	system,	safety	and	supervision	of	inmates,	
staffing,	incidents	and	referrals,	investigations,	pre-trial	placement	of	inmates	in	the	
facility,	classification,	the	inmate	grievance	process,	sexual	safety	of	inmates,	and	inmates’	
access	to	information.			
	      The	Consent	Judgment	requires	that	OPSO	operate	the	facility	to	assure	inmates	are	
“reasonably	safe	and	secure.”		Based	on	objective	review	of	data,	the	facility	has	shown	
improvement	in	inmate	and	staff	safety,	but	there	are	still	significant	incidents	occurring	
which	result	in	serious	injury	to	inmates	and	staff.				
	      Reaching	and	sustaining	compliance	with	provisions	of	the	Consent	Judgment,	
particularly	this	section,	relies	on	the	collection,	analysis,	and	corrective	action	planning	
using	available	data.		The	Monitors	are	encouraged	by	OPSO’s	efforts	to	develop	the	
capacity	to	collect	relevant	accurate	data,	analyze	that	data,	draw	supportable	conclusions	
to	inform	decisions	throughout	the	organization	and	develop	corrective	action	plans,	as	
indicated.			As	OPSO’s	capacity	to	collect,	analyze,	and	plan	is	enhanced,	the	ability	to	
achieve	sustainable	compliance	will	be	strengthened.	
       The	Monitors	reported	in	Compliance	Report	#9	that	OPSO	was	much	more	
transparent	about	reporting	incidents.			A	sergeant	in	the	Administrative	Warden’s	office	is	
now	assigned	to		review	the	medical	logs	recording	the	names	of	those	inmates	who	have	
been	brought	into	the	clinic	for	treatment	for	treatment	subsequent	to	an	altercation	or	a	
use	of	force	and/or	the	names	of	those	inmates	routed	to	the	hospital	with	trauma	related	
injuries	and	cross	check	them	against	reported	incidents.		The	sergeant	also	compares	the	
Watch	Commander’s	Log	(which	lists	significant	events	and	incidents	occurring	during	the	
shift)	to	the	incident	reports	to	detect	if	reports	are	missing.		What	still	appears	to	be	
lacking	is	consequence	to	supervisors	who	are	consistently	not	following	the	various	
reporting	policies	resulting	in	late	reports	or	unreported	incidents	and	incomplete	reports	
on	the	use	of	force.	



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           A	review	of	reported	incidents	for	2018	was	conducted	by	the	Monitors.	
                                         Table	3	-	All	OJC	Reported	Incidents	CY	2018

                                           OJC	Reported	Incidents	Jan	- Dec	2018
    160

    140

    120

    100

     80

     60

     40

     20

      0
           January February March             April     May      June           July          Aug         Sept         Oct          Nov        Dec
                                                                                                                                                       	
	
                       Table	4	–	CY	2018	All	OJC	Reported	Incidents	by	Type	by	Month	
                                                                        		

                                     OJC	Reported	Incidents	by	Type	Jan	- Dec	2018
                     Use	of	Force	

     Inmate	Staff	Altercation

     Motor	Vehicle	Accident

          Inmate	Misconduct

                              Fire

                      Disturbance

            Criminal	Damage

    Attempt	Suicide/ideation
                                     0       50       100      150       200           250          300          350         400         450     500

                    January    February      March     April    May          June      July     Aug        Sept        Oct         Nov     Dec
                                                                                                                                                       	


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During	a	review	of	the	more	than	1,300	incidents	reportable	to	the	Monitors	for	calendar	
year	2018	(which	is	a	smaller	subset	of	all	incidents),	the	following	examples	of	serious	
incidents	during	the	last	six	months	of	2018	were	noted:	
    •    Disturbances	–	incidents	involving	more	than	two	inmates	included:	
              o In	December,	inmates	were	able	to	retrieve	a	sharpened	object	and	a	fight	
                 occurred,	including	a	stabbing,	during	which	a	deputy	was	not	working	on	
                 the	unit.		A	total	of	five	inmates	were	involved.	
              o In	December,	five	inmates	were	involved	in	an	altercation	in	a	unit	with	no	
                 deputy	working.	
              o In	November,	five	inmates	were	involved	in	a	fight	inside	a	cell,	with	no	
                 deputy	working	in	the	housing	unit.	
              o In	November,	seven	inmates	were	involved	in	an	attack/altercation,	which	
                 resulted	in	one	inmate	being	routed	to	an	outside	emergency	room	to	assess	
                 head	trauma.	
              o In	November,	eight	inmates	were	involved	with	a	disturbance	while	OPSO	
                 indicates	staff	was	present,	resulting	in	an	inmate	being	sent	out	to	
                 emergency	treatment.		Also,	during	this	incident,	staff	was	also	assaulted.	
              o In	October,	five	inmates	were	involved	in	a	disturbance	on	an	unstaffed	unit	
                 in	which	one	inmate	required	outside	medical	care	for	a	head	laceration,	in	a	
                 fight	the	inmates	reported	was	due	to	stolen	commissary	and	threats.	
    •    Contraband	–	numerous	incidents	were	reported	involving	unknown	substances	
         and	suspected	illegal	substances:	
              o In	December,	an	inmate	died,	and	an	overdose	of	drugs	smuggled	into	the	
                 facility	is	suspected	to	be	the	cause	of	death.		
              o In	December,	there	were	a	reported	14	incidents	involving	outside	food,	a	
                 cellphone,	medication,	scissors,	three	shanks,	two	unidentified	smoking	
                 substance,	two	suspected	marijuana,	and	a	“white	powdery”	substance.	
              o In	November,	there	were	seven	contraband	incidents	reported,	with	four	
                 incident	descriptions	not	identifying	the	contraband,	one	involving	a	lighter,	



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                 one	involving	suspected	marijuana,	and	one	involving	outside	individuals	
                 trying	to	introduce	contraband.	
              o In	October,	the	seven	reported	contraband	incidents	involved	tobacco	and	
                 lighters,	suspected	marijuana,	and	an	unidentified	substance	in	a	small	
                 brown	bag.	
              o In	September,	contraband	incidents	were	reported	to	have	involved	a	
                 “foreign”	metal	object,	a	shank,	tobacco,	suspected	marijuana,	pills,	a	white	
                 powdery	substance,	and	an	unidentified	find.	
              o In	August,	contraband	incidents	involved	a	cell	phones,	suspected	marijuana	
                 (x2),	a	shank,	tobacco,	and	a	white	powdery	substance.	
              o In	July,	the	13	incidents	reported	involved	contraband	included	glass,	
                 clothing,	lighter	(x4),	tobacco	(x3),	pills	(x2),	a	wire,	and	a	white	powdery	
                 substance.	
    •    Inmate/Inmate	altercations:	
              o In	November,	an	inmate	was	routed	to	the	off-site	emergency	room	when	
                 attacked	by	two	other	inmates,	reportedly	over	marijuana,	in	a	unit	where	it	
                 was	unspecified	if	a	deputy	was	working.	
              o In	November,	two	inmates	were	fighting	in	a	unit	with	no	deputy	working	in	
                 it,	in	which	one	inmate	was	routed	to	an	outside	emergency	room	due	to	
                 lacerations	on	his	head,	face,	arms	and	stomach.		The	source	of	the	any	
                 cutting	instrument	was	not	identified.	
              o In	November,	an	inmate	involved	in	an	inmate/inmate	altercation	and	a	
                 subsequent	use	of	force,	was	transported	to	the	outside	emergency	room	to	
                 evaluate	facial	trauma.	
              o In	September,	in	two	separate	incidents,	inmates	were	routed	to	the	
                 emergency	room	for	an	eye	injury,	with	no	additional	information	as	to	how	
                 or	when	the	inmate	was	injured.	
              o In	September,	three	inmates	were	involved	in	an	altercation,	in	which	one	
                 inmate	was	sent	to	the	emergency	room	to	receive	stitches;	and	no	deputy	
                 was	reported	working	in	that	housing	unit.	



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              o In	August,	an	inmate	was	routed	to	the	outside	emergency	room	after	being	
                 involved	in	an	altercation,	initially	claiming	to	be	a	fall	down	the	stairs,	but	
                 determined	to	be	the	result	of	an	altercation.		It	was	unknown	if	a	deputy	was	
                 working	in	the	unit	at	the	time.	
              o In	August,	an	inmate	involved	in	an	altercation	was	routed	to	the	outside	
                 emergency	room	for	a	closed	displaced	fracture,	and	orbital	hematoma	for	a	
                 fight	that	took	place	in	the	inmate’s	assigned	cell	with	a	deputy	reported	as	
                 present	in	the	unit	at	the	time.	
              o In	August,	an	inmate	was	sent	the	outside	emergency	room	for	an	evaluation	
                 of	blunt	force	trauma	obtained	in	an	inmate/inmate	altercation,	involving	an	
                 inmate	with	a	knife.	
              o In	July,	an	inmate	was	transported	to	the	outside	emergency	room	to	
                 evaluate	a	bilateral	mandible	fracture	for	an	altercation	with	a	deputy	
                 reported	as	present	in	the	unit	at	the	time.	
    •    Suspected	Overdoses/Unresponsive	Inmate	–	There	are	approximately	20	incidents	
         reported	involving	unresponsive	inmates,	and	inmates	who	are	suspected	of	
         overdosing.		This	number	does	not	include	suspected	“seizures”	or	other	medical	
         emergencies	that	resulted	in	reports	of	“slip	and	falls”	(see	below):	
              o In	December,	an	inmate	died,	and	an	overdose	of	drugs	smuggled	into	the	
                 facility	is	suspected	to	be	the	cause	of	death.	
              o In	October,	an	inmate	was	sent	out	to	the	emergency	room,	with	a	possible	
                 attribution	to	pain	killers	found	in	his	pocket.	
              o In	September,	an	inmate	was	found	unresponsive,	and	routed	to	an	outside	
                 emergency	room	after	two	doses	of	Naloxone	(Narcan)	were	administered;	
                 no	deputy	was	reported	working	on	the	unit.	
              o In	September,	an	inmate	was	found	unresponsive,	and	reported	to	have	been	
                 smoking	an	unknown	substance,	ultimately	routed	to	an	outside	emergency	
                 room	for	treatment.	
              o In	August,	an	inmate	suspected	of	an	overdose	was	administered	Naloxone,	
                 and	routed	to	the	outside	emergency	room;	deputy	reported	as	working	in	
                 the	unit	at	the	time	the	inmate	was	found.	


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              o In	July,	an	inmate	was	found	staggering	and	“out	of	it”	and	unresponsive.		He	
                 was	routed	to	an	outside	emergency	room.	
              o In	July,	two	inmates	were	found	unresponsive	(on	different	days	and	
                 different	units),	and	both	routed	to	an	outside	emergency	room.	
              o In	July,	an	inmate	is	suspected	to	have	overdosed,	and	was	taken	to	outside	
                 medical	care	for	evaluation.	
    •    Inmate	“Slip	and	Falls”	–	OPSO	reported	more	than	260	incidents	where	inmates	
         were	injured	and	the	specific	cause	was	not	identified,	hence	the	“slip	and	fall”	
         designation.		Most	often	the	inmates	(those	directly	involved	and	those	who	were	
         reporters)	attributed	the	injuries	to	a	fall	from	their	bunk,	a	basketball	injury,	or	a	
         fall	in	the	shower.		However,	the	prevalence	and	severity	of	these	injuries	warrants	
         further	review,	to	rule	in,	or	rule	out,	inmate/inmate	altercations,	medication	
         complications,	or	self-harm.	
              o In	September,	an	inmate	was	routed	to	the	emergency	room	for	a	possible	
                 fractured	elbow.	
              o In	September,	an	inmate	required	a	gurney	to	be	moved	from	his	housing	
                 unit	to	medical,	and	ultimately	to	the	emergency	room	for	a	“fall	from	his	
                 bunk”.	
              o In	August,	an	inmate	was	routed	to	the	outside	emergency	room	for	a	
                 reported	fall	from	her	bunk	resulting	in	large	abrasions	on	her	forehead	and	
                 blood	on	her	face.	
              o Although	identified	by	OPSO	as	a	“slip	and	fall”,	in	August	an	inmate	was	sent	
                 to	the	outside	emergency	room	just	after	his	admission	into	the	jail.	
    •    Uses	of	Force	–Of	the	260	reported	use	of	force	incidents,	some	resulted	in	the	
         inmate	involved	being	transported	to	an	outside	emergency	room,	either	as	a	result	
         of	the	precipitating	event	(generally	inmate/inmate	altercation),	or	the	result	of	the	
         application	of	force.	
              o In	July,	an	inmate	was	taken	to	the	outside	emergency	room	after	a	use	of	
                 force	to	evaluate	blunt	force	trauma.	
    •    Sexual	Assault/Misconduct/Harassment	–	OPSO	reported	there	were	a	total	of	66	
         incidents	categorized	as	“PREA”	in	the	last	six	months	of	the	year.		These	involved	


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         allegations	of	“consensual”	sexual	activity	between	inmates,	inmate/inmate	sexual	
         assault	(15%),	and	sexual	harassment	(48%).	
              o In	November,	an	inmate	was	taken	to	outside	care	due	to	an	allegation	of	
                 sexual	assault	by	his	cellmate.	
    •    Emergency	Room	Transports	–	for	the	period	July	–	November	2018,	OPSO	reported	
         34	transports	for	injuries	involving	inmate/inmate	altercations,	and	an	additional	
         29	transports	for	trauma	related	needed	care.	
                 Staff	filed	3,136	disciplinary	reports	against	an	inmate	in	CY	2018,	with	2,291	
         resulting	in	a	finding	of	guilty	in	the	administrative	disciplinary	process.			Of	these	
         guilty	findings,	392	were	for	inmate	fights,	72	for	inmate	batteries	or	assaults,	48	for	
         inmate	assault	on	staff,	and	4	involving	an	inmate	on	the	mental	health	caseload.		
         Three	hundred	and	eight-seven	(387)	inmates	were	found	not	guilty	via	the	
         disciplinary	process.			
                 In	addition	to	record-keeping,	analyses	and	corrective	action	planning	using	
         operational	data,	it	is	important	that	OPSO	develop	the	timely	capacity	for	self-
         critical	analysis	of	major	events.			These	two	strategies	will	assist	OPSO	in	gaining	
         and	sustaining	compliance.			
    Assessment	Methodology	
    •    Dates	of	tours:	
            o August	27-28,	2018	
            o November	13-16,	2018	
            o December	10-12,	2018	
            o January	14-17,	2019	
	
    •    Interim	Tours	–	Various	monitors	worked	in	OPSO	between	the	time	of	the	June	
         2018	tour	and	January	2019	tour.		This	was	to	assist	the	Court	and	the	Independent	
         Compliance	Director.	
    •    Materials	reviewed:	
              o Materials	reviewed	include	the	Consent	Judgment,	OPSO	policies	and	
                 procedures,	use	of	force	reports,	incident	reports,	investigations	conducted	
                 by	Investigative	Services	Bureau-Internal	Affairs	Division	(ISB-IAD),	
                 investigations	conducted	by	ISB-Criminal	Division	(ISB-Criminal),	



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                  investigations	conducted	by	ISB-Inmate	Division,	training	materials,	
                  shakedown	logs,	and	post	logs.		
    •    Interviews:	
              o Interviews	included	command	staff,	jail	supervisors,	commander	of	ISB,	
                  commander	of	IAD-Administrative,	chief	of	investigations,	director	of	
                  training,	various	supervisors	of	units	within	ISB,	and	inmates.		
IV.	A.	1.	Use	of	Force	Policies	and	Procedures			
        	
A.	1.a.	OPSO	shall	develop,	implement,	and	maintain	comprehensive	policies	and	procedures	(in	accordance	
with	generally	accepted	correctional	standards)	relating	to	the	use	of	force	with	particular	emphasis	
regarding	permissible	and	impermissible	uses	of	force.	
A.	1.b.	OPSO	shall	develop	and	implement	a	single,	uniform	reporting	system	under	a	Use	of	Force	Reporting	
policy.		OPSO	reportable	force	shall	be	divided	into	two	levels,	as	further	specified	in	policy:		Level	1	uses	of	
force	will	include	all	serious	uses	of	force	(i.e.,	the	use	of	force	leads	to	injuries	that	are	extensive,	serious	or	
visible	in	nature,	including	black	eyes,	lacerations,	injuries	to	the	mouth	or	head,	multiple	bruises,	injuries	to	
the	genitals,	etc.),	injuries	requiring	hospitalization,	staff	misconduct,	and	occasions	when	use	of	force	reports	
are	inconsistent,	conflicting,	or	otherwise	suspicious.		Level	2	uses	of	force	will	include	all	escort	or	control	
holds	used	to	overcome	resistance	that	are	not	covered	by	the	definition	of	Level	1	uses	of	force.	
A.	1.c.	OPSO	shall	assess,	annually,	all	data	collected	regarding	uses	of	force	and	make	any	necessary	changes	
to	use	of	force	policies	or	procedures	to	ensure	that	unnecessary	or	excessive	use	of	force	is	not	used	in	OPP.		
The	review	and	recommendations	will	be	documented	and	provided	to	the	Monitor,	DOJ,	and	SPLC.	
	
       Findings:	
       A.	1.	a.	–			Substantial	Compliance	
       A.	1.	b.	–			Substantial	Compliance	
       A.	1.	c.		–		Substantial	Compliance	
       	
    Observations:	
                  The	current	OPSO	use	of	force	policy	was	effective	as	of	May	2016.		OPSO	has	
         conducted	the	annual	review	of	the	policy	for	2018.		Concerns	regarding	timeliness	
         of	training	and	submission	of	use	of	force	report	and	reviews	are	addressed	in	those	
         sections.	
IV.	A.	2.		       Use	of	Force	Training			
	
A.	2.	a.	OPSO	shall	ensure	that	all	correctional	officers	are	knowledgeable	of	and	have	the	knowledge,	skills,	
and	abilities	to	comply	with	use	of	force	policies	and	procedures.			At	a	minimum,	OPSO	shall	provide	
correctional	officers	with								pre-service	and	annual	in-service	training	in	use	of	force,	defensive	tactics,	and	
use	of	force	policies	and	procedures.		The	training	will	include	the	following:	
         (1) instruction	on	what	constitutes	excessive	force;	
         (2) de-escalation	tactics;	and	
         (3) management	of	prisoners	with	mental	illness	to	limit	the	need	for	using	force.	




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A.	2.	b.	OPSO	shall	ensure	that	officers	are	aware	of	any	change	to	policies	and	practices	throughout	their	
employment	with	OPP.		At	a	minimum,	OPSO	shall	provide	pre-service	and	annual	in-service	use	of	force	
training	that	prohibits:	
          (1) use	of	force	as	a	response	to	verbal	insults	or	prisoner	threats	where	there	is	no	immediate	
              threat	to	the	safety	or	security	of	the	institution,	prisoners,	staff,	or	visitors;			
          (2) use	of	force	as	a	response	to	prisoners’	failure	to	follow	instructions	where	there	is	no	immediate	
              threat	to	the	safety	or	security	of	the	institution,	prisoners,	staff,	or	visitors;	
          (3) use	of	force	against	a	prisoner	after	the	prisoner	has	ceased	to	offer	resistance	and	is	under	
              control;	
          (4) use	of	force	as	punishment	or	retaliation;	and	
          (5) use	of	force	involving	kicking,	striking,	hitting,	or	punching	a		non-combative	prisoner.	
A.	2.	c.	OPSO	shall	randomly	test	five	percent	of	the	correctional	officer	staff	on	an	annual	basis	to	determine	
their	knowledge	of	the	use	of	force	policies	and	procedures.		The	testing	instrument	and	policies	shall	be	
approved	by	the	Monitor.			The	results	of	these	assessments	shall	be	evaluated	to	determine	the	need	for	
changes	in	training	practices.		The	review	and	conclusions	will	be	documented	and	provided	to	the	Monitor.	
	
        Findings:	
        A.	2.	a.		–		Partial	Compliance	
        A.	2.	b.	–			Partial	Compliance	
        A.	2.	c.	–				Partial	Compliance	
                       	
        Observations:	
	
                 The	Monitors	acknowledge	that	there	has	been	significant	improvement	in	
        the	use	of	force	training	provided	by	the	training	academy.		The	training	academy	
        staff	has	been	very	receptive	to	recommendations	on	how	to	improve	the	quality	of	
        training	provided	to	both	new	and	current	staff.	
                 New	corrections	staff	receive	use	of	force	training	as	part	of	the	pre-service	
        academy	which	meets	the	requirements	of	A.	2.	a.	and	A.	2.	b.		The	annual	training	
        has	not	been	provided	timely	and	on	a	consistent	basis.		OPSO	developed	a	plan	
        which	was	approved	by	the	Monitors	to	provide	the	required	training	by	the	end	of	
        2018.		Review	of	training	records	indicates	that	OPSO	did	not	fully	implement	the	
        plan	and	that	a	significant	percent	of	staff	did	not	receive	their	annual	use	of	force	
        training.	This	results	in	IV.	A.	2.	a.	continuing	to	be	in	partial	compliance.	
                 The	Consent	Judgment	requires	annual	random	testing	of	5%	of	the	
        corrections	officer	staff	(deputies)	on	use	of	force	policies	and	procedures.	The	
        academy	staff	worked	with	Monitor	Frasier	to	develop	an	approved	test	which	was	
        given	to	50	corrections	staff	members	which	included	10	supervisors	as	had	been	
        recommended	by	the	Monitor.		None	of	the	supervisors	failed	the	test.		Thirteen	of	
        the	40	deputies	tested	did	fail	the	test.		A	passage	rate	of	less	than	68%	of	the	


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         deputies	indicates	that	there	is	a	need	for	remedial	training	of	deputies.		As	the	test	
         had	been	developed,	approved,	implemented,	and	the	results	analyzed,	during	2018,	
         IV.	A.	2.	c.	was	found	to	be	in	partial	compliance.		The	review	for	changes	in	training	
         practices	has	still	not	taken	place	despite	the	test	having	been	given	over	six	months	
         ago.	
IV. A.	3.	Use	of	Force	Reporting	
	
A.3	a.	Failure	to	report	a	use	of	force	incident	by	any	staff	member	engaging	in	the	use	of	force	or	witnessing	the	use	of	
force	shall	be	grounds	for	discipline,	up	to	and	including	termination.	
A.3	b.	OPSO	shall	ensure	that	sufficient	information	is	collected	on	uses	of	force	to	assess	whether	staff	members	complied	
with	policy;	whether	corrective	action	is	necessary	including	training	or	discipline;	the	effectiveness	of	training	and	
policies;	and	whether	the	conditions	in	OPP	comply	with	this	Agreement.		At	a	minimum,	OPSO	will	ensure	that	officers	
using	or	observing	a	Level	1	use	of	force	shall	complete	a	use	of	force	report	that	will:	
           (1)       include	the	names	of	all	staff,	prisoner(s),	or	other	visual	or	oral	witness(es);	
           (2)       contain	an	accurate	and	specific	account	of	the	events	leading	to	the	use	of	force;	
           (3)       describe	the	level	of	resistance	and	the	type	and	level	of	force	used,	consistent	with	OPP	use	of	force	
                     policy	and	procedure,	as	well	as	the	precise	actions	taken	by	OPSO	staff	in	response	to	the	incident;		
           (4)       describe	the	weapon	or	instrument(s)	of	restraint,	if	any,	and	the	manner	of	such	use;	
           (5)       be	accompanied	by	a	prisoner	disciplinary	report,	if	it	exists,	pertaining	to	the	events	or	prisoner	
                     activity	that	prompted	the	use	of	force	incident;	
           (6)       describe	the	nature	and	extent	of	injuries	sustained	by	anyone	involved	in	the	incident;	
           (7)       contain	the	date	and	time	when	medical	attention,	if	any,	was	requested	and	actually	provided;		
           (8)       describe	any	attempts	the	staff	took	to	de-escalate	prior	to	the		use	of	force;	
           (9)       include	an	individual	written	account	of	the	use	of	force	from	every	staff	member	who	witnessed	the	
                     use	of	force;	
           (10)      include	photographs	taken	promptly,	but	no	later	than	two	hours	after	a	use	of	force	incident,	of	all	
                     injuries	sustained,	or	as	evidence	that	no	injuries	were	sustained,	by	prisoners	and	staff	involved	in	the	
                     use	of	force	incident;		
           (11)      document	whether	the	use	of	force	was	digitally	or	otherwise	recorded.		If	the	use	of	force	is	not	
                     digitally	or	otherwise	recorded,	the	reporting	officer	and/or	watch	commander	will	provide	an	
                     explanation	as	to	why	it	was	not	recorded;	and	
           (12)      include	a	statement	about	the	incident	from	the	prisoner(s)	against	whom	force	was	used.	
A.3	c.	All	officers	using	a	Level	2	use	of	force	shall	complete	a	use	of	force	report	that	will:	
           (1)       include	the	names	of	staff,	prisoner(s),	or	other	visual	or	oral	witness(es);	
           (2)       contain	an	accurate	and	specific	account	of	the	events	leading	to	the	use	of	force;	
           (3)       describe	the	level	of	resistance	and	the	type	and	level	of	force	used,	consistent	with	OPP	use	of	force	
                     policy	and	procedure,	as	well	as	the	precise	actions	taken	by	OPSO	staff	in	response	to	the	incident;		
           (4)       describe	the	weapon	or	instrument(s)	of	restraint,	if	any,	and	the	manner	of	such	use;	
           (5)       be	accompanied	by	a	prisoner	disciplinary	report,	if	it	exists,	pertaining	to	the	events	or	prisoner	
                     activity	that	prompted	the	use	of	force	incident;	
           (6)       describe	the	nature	and	extent	of	injuries	sustained	by	anyone	involved	in	the	incident;	
           (7)       contain	the	date	and	time	when	medical	attention,	if	any,	was	requested	and	actually	provided;	and	
           (8)       describe	any	attempts	the	staff	took	to	de-escalate	prior	to	the	use	of	force.	
A.3	d.	OPSO	shall	require	correctional	officers	to	notify	the	watch	commander	as	soon	as	practical	of	any	use	of	force	
incident	or	allegation	of	use	of	force.		When	notified,	the	watch	commander	will	respond	to	the	scene	of	all	Level	1	uses	of	
force.		When	arriving	on	the	scene,	the	watch	commander	shall:	
           (1)       ensure	the	safety	of	everyone	involved	in	or	proximate	to	the	incident;	
           (2)       determine	if	any	prisoner	or	correctional	officer	is	injured	and	ensure	that	necessary	medical	care	is	
                     provided;	
           (3)       ensure	that	personnel	and	witnesses	are	identified,	separated,	and	advised	that	communications	with	
                     other	witnesses	or	correctional	officers	regarding	the	incident	are	prohibited;	
           (4)       ensure	that	witness	and	subject	statements	are	taken	from	both	staff	and	prisoner(s)	outside	of	the	
                     presence	of	other	prisoners	and	staff;	
           (5)       ensure	that	the	supervisor’s	use	of	force	report	is	forwarded	to	IAD	for	investigation	if,	upon	the	
                     supervisor’s	review,	a	violation	of	law	or	policy	is	suspected.		The	determination	of	what	type	of	



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                    investigation	is	needed	will	be	based	on	the	degree	of	the	force	used	consistent	with	the	terms	of	this	
                    Agreement;	
          (6)       If	the	watch	commander	is	not	involved	in	the	use	of	force	incident,	the	watch	commander		shall	review	
                    all	submitted	use	of	force	reports	within	36	hours	of	the	end	of	the	incident,	and	shall	specify	his	
                    findings	as	to	completeness	and	procedural	errors.		If	the	watch	commander	believes	that	the	use	of	
                    force	may	have	been	unnecessary	or	excessive,	he	shall	immediately	contact	IAD	for	investigation	
                    consideration	and	shall	notify	the	warden	or	assistant	warden;	and	
          (7)       All	Level	1	use	of	force	reports,	whether	or	not	the	force	is	believed	by	any	party	to	be	unnecessary	or	
                    excessive,	shall	be	sent	to	IAD	for	review.		IAD	shall	develop	and	submit	to	the	Monitor	within	90	days	
                    of	the	Effective	Date	clear	criteria	to	identify	use	of	force	incidents	that	warrant	a	full	investigation,	
                    including	injuries	that	are	extensive	or	serious,	visible	in	nature	(including	black	eyes,	injuries	to	the	
                    mouth,	injuries	to	the	genitals,	etc.),	injuries	requiring	hospitalization,	staff	misconduct	(including	
                    inappropriate	relationships	with	prisoners),	and	occasions	when	use	of	force	reports	are	inconsistent,	
                    conflicting,	or	otherwise	suspicious.	
A.3	e.	Ensure	that	a	first-line	supervisor	is	present	during	all	pre-planned	uses	of	force,	such	as	cell	extractions.	
A.3	f.	Within	36	hours,	exclusive	of	weekends	and	holidays,	of	receiving	the	report	and	review	from	the	shift	commander,	
in	order	to	determine	the	appropriateness	of	the	force	used	and	whether	policy	was	followed,	the	Warden	or	Assistant	
Warden	shall	review	all	use	of	force	reports	and	supervisory	reviews	including:			
          (1)       the	incident	report	associated	with	the	use	of	force;	
          (2)       any	medical	documentation	of	injuries	and	any	further	medical	care;	
          (3)       the	prisoner	disciplinary	report	associated	with	the	use	of	force;	and	
          (4)       the	Warden	or	Assistant	Warden	shall	complete	a	written	report	or	written	statement	of	specific	
                    findings	and	determinations	of	the	appropriateness	of	force.	
A.3	g.	Provide	the	Monitor	a	periodic	report	detailing	use	of	force	by	staff.		These	periodic	reports	shall	be	provided	to	the	
Monitor	within	four	months	of	the	Effective	Date;	and	every	six	months	thereafter	until	termination	of	this	Agreement.		
Each	report	will	include	the	following	information:	
          (1)       a	brief	summary	of	all	uses	of	force,	by	type;	
          (2)       date	that	force	was	used;	
          (3)       identity	of	staff	members	involved	in	using	force;	
          (4)       identity	of	prisoners	against	whom	force	was	used;	
          (5)       a	brief	summary	of	all	uses	of	force	resulting	in	injuries;	
          (6)       number	of	planned	and	unplanned	uses	of	force;	
          (7)       a	summary	of	all	in-custody	deaths	related	to	use	of	force,	including	the	identity	of	the	decedent	and	
                    the	circumstances	of	the	death;	and	
          (8)       a	listing	of	serious	injuries	requiring	hospitalization.	
A.3	h.	OPSO	shall	conduct,	annually,	a	review	of	the	use	of	force	reporting	system	to	ensure	that	it	has	been	effective	in	
reducing	unnecessary	or	excessive	uses	of	force.		OPSO	will	document	its	review	and	conclusions	and	provide	them	to	the	
Monitor,	SPLC,	and	DOJ.	


               Findings:	
                     	A.	3.	a.	–		Partial	Compliance	
                     	A.	3.	b.	–		Partial	Compliance	
                     	A.	3.	c.	–		Partial	Compliance	
                     	A.	3.	d.	–		Partial	Compliance	
                     	A.	3.	e.	–		Substantial	Compliance	
                     	A.	3.	f.	–			Partial	Compliance	
                     	A.	3.	g.	–		Substantial	Compliance	
                     	A.	3.	h.	–		Substantial	Compliance	
	
         Observations:	
	
                   The	use	of	force	policy	requires	all	uses	of	force	to	be	reported	timely	and	
         completely	and	sets	out	the	potential	discipline	if	the	policy	is	not	followed	
         However,	for	the	period	April	–	December	2018,	the	Monitors	noted	that	there	were	


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     110	“late”	reports,	those	submitted	by	supervisors/staff	outside	the	time	provisions	
     of	the	Consent	Judgment.		Of	these,	52	involved	uses	of	force,	the	largest	percentage	
     (followed	by	inmate/inmate	altercations,	and	inmate	“slip/falls”).			The	vast	
     majority	of		these	late	use	of	force	reports	were	written	after	the	failure	to	report	
     the	use	of	force	was	discovered	by	the	review	of	medical	records	or	grievances.		
     OPSO	did	not	implement	disciplinary	measures	in	these	cases.		Having	a	policy	
     which	states	that	uses	of	force	are	be	reported,	while	not	holding	deputies	and	
     supervisors	accountable	when	uses	of	force	are,	at	the	least,	not	timely	reported,	
     results	in	partial	compliance	with	A.	3.	a,				
            Provisions	A.	3.	b.	and	c.	remain	in	partial	compliance	due	to	the	significant	
     number	of	use	of	force	reports	not	including	the	required	information.		The	use	of	
     force	policy	includes	the	provisions	required	by	the	Consent	Judgment,	but	it	is	not	
     being	followed	on	a	consistent	basis.		A	checklist	was	provided	by	the	Monitor	to	
     assist	supervisors	in	making	sure	reports	included	all	necessary	items.		A	review	of	
     those	checklists	and	accompanying	reports	frequently	indicates	that	the	information	
     is	not	contained	in	the	use	of	force	report.		As	with	the	failure	to	timely	report	uses	
     of	force,	deputies	and	supervisors	are	not	being	held	accountable	for	failure	to	
     include	required	information.		
            The	unit	managers,	watch	commanders,	and	wardens	are		not	consistently	
     compliant	with	the	requirements	of	the	Consent	Judgment	(IV.	A.	3.	d.	and	3.	f.)	as	to	
     their	specific	duties	and	the	time	requirement	for	performance	of	these	duties	under	
     the	policies.		As	a	result,	the	use	of	force	packets	are	forwarded	to	FIT	without	the	
     required	information	upon	which	any	meaningful	review	should	be	based.		This	
     places	FIT	in	the	position	of	screening	the	packets	for	completeness	and	having	to	
     return	the	majority	of	them	to	the	Warden	due	to	incompleteness	along	with	a	list	of	
     missing	items.		It	also	renders	any	previous	review	by	the	Warden	to	be	suspect.	FIT	
     issues	a	quarterly	report	which	contains	all	the	information	required	by	IV.	A.	3.	g.		
     Thus,	this	section	is	in	substantial	compliance.		The	annual	review	of	use	of	force	
     incidents	as	required	by	IV.	A.	3.	h.	has	been	provided	to	the	Monitors	or	parties.		
     While	the	rating	of	substantial	compliance	has	been	noted,	the	annual	review	
     requires	improvement	to	provide	the	necessary	guidance	to	OPSO	to	achieve	and	


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        sustain	compliance	in	the	area	of	use	of	force.	Further	examining	the	uses	of	force,	
        OPSO	reports	detail	that	the	precipitating	incident	for	the	use	of	force	was:	
                 •    54	-	to	intervene	in	an	inmate/inmate	altercation;	
                 •    42	–	an	inmate’s	refusal	to	obey	an	order	by	staff;	
                 •    37	–	an	inmates’	refusal	to	obey	staff’s	order	to	lockdown;	
                 •    18	–	to	intervene	in	an	inmate’s	attempt	at	self-harm;	
                 •    17	–	an	inmate’s	refusal	to	obey	a	staff	order	and	refusal	to	lockdown;	
                 •    15	–	an	inmate’s	refusal	to	be	restrained;	and	
                 •    9	–	to	intervene	in	a	disturbance.	
IV.	A.	4.	Early	Intervention	System	(“EIS”)	
	
A.4.a.	OPSO	shall	develop,	within	120	days	of	the	Effective	Date,	a	computerized	relational	database	(“EIS”)	
that	will	document	and	track	staff	members	who	are	involved	in	use	of	force	incidents	and	any	complaints	
related	to	the	inappropriate	or	excessive	use	of	force,	in	order	to	alert	OPSO	management	to	any	potential	
problematic	policies	or	supervision	lapses	or	need	for	retraining	or	discipline.		The	Chief	of	Operations	
Deputy,	supervisors,	and	investigative	staff	shall	have	access	to	this	information	and	shall	review	on	a	regular	
basis,	but	not	less	than	quarterly,	system	reports	to	evaluate	individual	staff,	supervisor,	and	housing	area	
activity.		OPSO	will	use	the	EIS	as	a	tool	for	correcting	inappropriate	staff	behavior	before	it	escalates	to	more	
serious	misconduct.	
A.4.b.	Within	120	days	of	the	Effective	Date,	OPSO	senior	management	shall	use	EIS	information	to	improve	
quality	management	practices,	identify	patterns	and	trends,	and	take	necessary	corrective	action	both	on	an	
individual	and	systemic	level.		IAD	will	manage	and	administer	EIS	systems.		The	Special	Operations	Division	
(“SOD”)	will	have	access	to	the	EIS.		IAD	will	conduct	quarterly	audits	of	the	EIS	to	ensure	that	analysis	and	
intervention	is	taken	according	to	the	process	described	below.		Command	staff	shall	review	the	data	
collected	by	the	EIS	on	at	least	a	quarterly	basis	to	identify	potential	patterns	or	trends	resulting	in	harm	to	
prisoners.		The	Use	of	Force	Review	Board	will	periodically	review	information	collected	regarding	uses	of	
force	in	order	to	identify	the	need	for	corrective	action,	including	changes	to	training	protocols	and	policy	or	
retraining	or	disciplining	individual	staff	or	staff	members.		Through	comparison	of	the	operation	of	this	
system	to	changes	in	the	conditions	in	OPP,	OPSO	will	assess	whether	the	mechanism	is	effective	at	
addressing	the	requirements	of	this	Agreement.	
A.4.c.	OPSO	shall	provide,	within	180	days	of	the	implementation	date	of	its	EIS,	to	SPLC,	DOJ,	and	the	
Monitor,	a	list	of	all	staff	members	identified	through	the	EIS	and	corrective	action	taken.	
A.4.d.	The	EIS	protocol	shall	include	the	following	components:		data	storage,	data	retrieval,	reporting,	data	
analysis,	pattern	identification,	supervisory	assessment,	supervisory	intervention,	documentation,	and	audit.	
A.4.e.	On	an	annual	basis,	OPSO	shall	review	the	EIS	to	ensure	that	it	has	been	effective	in	identifying	concerns	
regarding	policy,	training,	or	the	need	for	discipline.		This	assessment	will	be	based	in	part	on	the	number	and	
severity	of	harm	and	injury	identified	through	data	collected	pursuant	to	this	Agreement.		OPSO	will	
document	its	review	and	conclusions	and	provide	them	to	the	Monitor,	who	shall	forward	this	document	to	
DOJ	and	SPLC.	
	
        Findings:	
        		A.	4.	a.	–		Partial	Compliance	
        		A.	4.	b.	–		Substantial	Compliance	
        		A.	4.	c.	–		Substantial	Compliance	
        		A.	4.	d.	–			Partial	Compliance		


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        		A.	4.	e.	–			Substantial	Compliance	
	
        Observations:	
                 Since	the	inception	of	the	Consent	Judgment,	the	electronic	EIS	has	not	
        performed	appropriately	on	a	consistent	basis.		OPSO	has	finally	abandoned	the	
        original	system	and	is	attempting	to	fashion	an	alternative	version	by	use	of	the	
        AS400.	In	the	meantime,	OPSO	has	assigned	a	staff	member	to	FIT	to	maintain	a	
        data-base	manually	regarding	uses	of	force	to	alert	FIT	to	review	a	staff	member.				
        Therefore,	IV	A.	4.	a.	and	d.	are	in	partial	compliance.	
                 OPSO	has	improved	its	documentation	to	the	Monitors	as	to	the	names	of	the	
        staff	members	who	are	flagged	for	uses	of	force,	if	a	review	is	conducted,	and	any	
        retraining	received,	if	required.		IV.	A.	4.	c.	is	now	in	substantial	compliance.	
                 The	Use	of	Force	Review	Board	has	met	regularly	and	performed		the	
        evaluation	necessary	for	substantial	compliance	with	IV.	A	.4.	e.	for	the	2018	data.		
IV. 5.			Safety	and	Supervision				
	
A.5.a.	Maintain	security	policies,	procedures,	and	practices	to	provide	a	reasonably	safe	and	secure	
environment	for	prisoners	and	staff	in	accordance	with	this	Agreement.	
A.5.b.	Maintain	policies,	procedures,	and	practices	to	ensure	the	adequate	supervision	of	prisoner	work	areas	
and	trustees.			
A.5.c.	Maintain	policies	and	procedures	regarding	care	for	and	housing	of	protective	custody	prisoners	and	
prisoners	requesting	protection	from	harm.	
A.5.d.	Continue	to	ensure	that	correctional	officers	conduct	appropriate	rounds	at	least	once	during	every	30-
minute	period,	at	irregular	times,	inside	each	general	population	housing	unit	and	at	least	once	during	every	
15-minute	period	of	special	management	prisoners,	or	more	often	if	necessary.		All	security	rounds	shall	be	
documented	on	forms	or	logs	that	do	not	contain	pre-printed	rounding	times.		In	the	alternative,	OPSO	may	
provide	direct	supervision	of	prisoners	by	posting	a	correctional	officer	inside	the	day	room	area	of	a	housing	
unit	to	conduct	surveillance.	
A.5.e.	Staff	shall	provide	direct	supervision	in	housing	units	that	are	designed	for	this	type	of	supervision.		
Video	surveillance	may	be	used	to	supplement,	but	must	not	be	used	to	replace,	rounds	by	correctional	
officers.	
A.5.f.	Increase	the	use	of	overhead	video	surveillance	and	recording	cameras	to	provide	adequate	coverage	
throughout	the	common	areas	of	the	Jail,	including	the	Intake	Processing	Center,	all	divisions’	intake	areas,	
mental	health	units,	special	management	units,	prisoner	housing	units,	and	in	the	divisions’	common	areas.	
A.5.g.	Continue	to	ensure	that	correctional	officers,	who	are	transferred	from	one	division	to	another,	are	
required	to	attend	training	on	division-specific	post	orders	before	working	on	the	unit.	
A.5.h.	Continue	to	ensure	that	correctional	officers	assigned	to	special	management	units,	which	include	
youth	tiers,	mental	health	tiers,	disciplinary	segregation,	and	protective	custody,	receive	eight	hours	of	
specialized	training	regarding	such	units	on	prisoner	safety	and	security	on	at	least	an	annual	basis.			
A.5.i.	Continue	to	ensure	that	supervisors	conduct	daily	rounds	on	each	shift	in	the	prisoner	housing	units,	
and	document	the	results	of	their	rounds.	
A.5.j.	Continue	to	ensure	that	staff	conduct	daily	inspections	of	cells	and	common	areas	of	the	housing	units	to	
protect	prisoners	from	unreasonable	harm	or	unreasonable	risk	of	harm.	




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A.5.k.	Continue	to	ensure	that	staff	conduct	random	monthly	shakedowns	of	cells	and	common	areas	so	that	
prisoners	do	not	possess	or	have	access	to	dangerous	contraband.	
A.5.l.	Provide	the	Monitor	a	periodic	report	of	safety	and	supervision	at	the	Facility.		These	periodic	reports	
shall	be	provided	to	the	monitor	within	four	months	of	the	Effective	Date;	and	every	six	months	thereafter	
until	termination	of	this	Agreement.		Each	report	will	provide	the	following	information:	
          (1)     a	listing	of	special	management	prisoners,	their	housing	assignments,	the	basis	for	them	
                  being	placed	in	the	specialized	housing	unit,	and	the	date	placed	in	the	unit;	and	
          (2)     a	listing	of	all	contraband,	including	weapons	seized,		the	type	of	contraband,	date	of	seizure,	
                  location,	and	shift	of	seizure.	
	
        Findings:				
        A.	5.	a.	-			Partial	Compliance			
        A.	5.	b.	-			Partial	Compliance	
        A.	5.	c.	–			Partial	Compliance	
        A.	5.	d.	-			Partial	Compliance	
        A.	5.	e.	-			Partial	Compliance	
        A.	5.	f.	-				Partial	Compliance	
        A.	5.	g.	-			Partial	Compliance	
        A.	5.	h.	-			Partial	Compliance	
        A.	5.	i.	–			Partial	Compliance	
        A.	5.	j.	–			Partial	Compliance		
        A.	5.	k.	-			Partial	Compliance	
        A.	5.	l.	-				Partial	Compliance	
	       		
        Observations:	
                 OPSO	has	worked	very	hard	to	finalize	policies,	procedures,	and	post	orders.		
        However,	the	challenge	of	developing	credible	training	lesson	plans,	recruiting	staff,	
        training	staff,	remediating	staff	who	do	not	have	the	required	level	of	proficiency,	
        and	supervising	employees	to	hold	them	accountable	for	not	following	policy	
        remains.	
                 OPSO	has	made	significant	progress	under	the	leadership	of	the	current	
        Independent	Compliance	Director	and	his	initiation	of	unit	management	to	assist	in	
        the	daily	supervision	of	housing	units	and	increase	accountability.	Thus,	IV.	A.	5.	a.	is	
        in	partial	compliance.		Significant	incidents	occurred	in	CY	2018.		The	lack	of	staff	in	
        the	housing	units	on	a	consistent	basis	is	the	largest	impediment	to	effective	
        supervision	of	the	inmates.	
                                                             	
                                                             	
                                                             	
                                                             	
                                                             	


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                                          Table	5	CY	2018	OJC	Reported	Incidents		
                                                                	




                                                                                                                            Total	
                                                                  June	




                                                                                         Sept	
                                                           May	
                                            Mar		




                                                                                                        Nov	
                                                                                  Aug	
                                                                          July	




                                                                                                               Dec	
                                  Feb		




                                                                                                 Oct	
                                                    Apl	
                          Jan		
           		



        Attempt	
                          6	      14	       4	      4	     0	     6	      9	      13	    7	      3	     5	     7	      78	
    Suicide/ideation	
      Contraband	         9	      15	       5	      5	     10	    9	      13	     6	     6	      7	     7	     14	    106	
       Criminal	
                          3	      10	       11	     12	    8	     3	      3	      6	     4	      2	     3	     4	      69	
       Damage	
        Death	             		      		        		      		    1	      		      		      		     		      		     		    1	      2	
      Disturbance	        2	        		       		      		     		     		      		     0	      		     0	     0	     3	      5	
    Internal	Escape	      2	       2	       3	      3	     5	     7	      3	      2	     5	      0	     8	     8	      48	
          Fire	           1	        		       		      		     		    2	       		     3	      		     0	      		    0	      6	
         Inmate	
     Injury/Inmate	
                          9	       5	       18	     22	    19	    32	     30	     30	    35	     26	    18	    18	    262	
     Medical	(AKA	
        slip/falls)	
       Inmate	
                           		       		      1	      1	      		     		      		     0	      		     0	      		     		     2	
      Misconduct	
    Inmate/Inmate	
                         38	      28	       37	     39	    52	    46	     30	     39	    33	     32	    31	    37	    442	
       Assault	
     Motor	Vehicle	
                           		      		        		      		     		     		      		      		     		     1	     1	     0	      2	
       Accident	
         Staff	
                           		      2	        		      		     		    1	       		     0	      		     0	      		    0	      3	
      Misconduct	
     Inmate	Staff	
                          7	       6	       7	      9	      		    7	      4	      3	     6	      9	     6	      		     64	
      Altercation	
         PREA	            2	       4	       5	      4	     5	     5	      4	      3	     2	      5	     5	     3	      47	
     Use	of	Force		      13	      10	       21	     22	    24	    26	     20	     27	    14	     28	    21	    34	    260	
         Total	          92	      96	      112	 121	 124	 144	 116	 132	 112	 113	 105	 129	                          1396	
	
                       	The	policy	regarding	inmate	workers	has	not	been	finalized	but	is	in	the	
           review	process	which	places	section	IV	A.	5.	b.	is	in	partial	compliance.	
                       While	the	policy	on	protective	custody	inmates	has	been	finalized,	those	
           inmates	continued	to	be	housed	with,	and	exposed	to,	non-protective	custody	
           inmates	including	inmates	who	are	segregated	due	to	significant	incidents	of	
           misconduct.		Additionally,	inmates	in	protective	custody	status	are	scattered	in	
           other	units,	such	as	the	mental	health	unit,	for	reasons	not	articulable	to	the	


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     Monitors.		There	have	been	numerous	incidents	where	protective	custody	inmates	
     have	been	targeted	for	violence.	Completion	of	the	policy	warrants	a	partial	
     compliance	of	IV.	A.	5.	c.			
             The	remaining	21	reported	uses	of	force	included	incidents	involving	
     contraband,	escape	attempts,	searches,	and	court-room	actions.	
             In	reviewing	this	data	it	is	critical	to	acknowledge	the	average	daily	
     population.			Because	of	“Operation	Rewind”	in	2017,	OJC’s	average	daily	population	
     was	895.		For	2018	(through	November	2018)	the	average	daily	population	is	1,119.		
     There	were	a	total	of	831	incidents	reported	to	the	Monitors	in	2017.		Computation	
     of	rates	is	not	included	here	as	the	reliability	of	the	data	is	in	question,	and	
     establishing	rates	contributes	to	more	misunderstanding	rather	than	to	problem-
     solving.	To	develop	strategies	to	address	incidents	in	OJC,	having	the	accurate	data	
     and	analyzing	the	data	(e.g.	by	housing	unit,	time	of	day,	day	of	week,	type	of	
     incident,	inmate	involved,	staff	involved)	is	essential.	This	data	is	the	foundation	of	
     meaningful	corrective	action	plans.	
             OPSO	has	shown	significant	improvement	under	unit	management	in	the	
     conducting	and	documenting	of	security	rounds	(30	minutes	or	15	minutes	
     depending	on	the	unit).	However,	it	is	clear	from	the	review	of	records,	
     observations,	and	investigations	that	timely	rounds	and	direct	supervision	
     surveillance	are	still	not	being	consistently	conducted	as	per	OPSO	policy.		Direct	
     supervision	requires	surveillance	of	all	of	the	inmates	and	cannot	be	properly	
     performed	by	sitting	behind	a	desk	and	not	walking	around	the	unit	and	looking	
     into	the	individual	cells.		OPSO’s	use	of		designated	mandatory	assignments	has	
     resulted	in	those	units	being	staffed	in	a	more	consistent	manner,	but	some	units	
     are	routinely	not	adequately	staffed,	or	staff	is	absent	from	the	unit	for	over	an	hour	
     at	a	time.		During	the	tour,	it	was	noted	that	there	were	units	which	were	unstaffed,	
     including	mandatory	posts.		If	staff	are	not	present,	it	impossible	to	make	the	
     required	rounds.		The	improvement	has	resulted	in	OPSO	being	found	in	partial	
     compliance	with	IV.	A.	5.	d.	
             Due	to	unreliability	of	the	TourWatch	system,	OPSO	reverted	to	paper	logs.		
     While	there	is	now	a	policy	in	place	which	requires	supervisors,	up	to	the	level	of	


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     Watch	Commander	to	review	the	paper	logs	to	ensure	rounds	are	being	conducted,	
     OPSO	has	not	audited	compliance	with	this	policy	and	review	of	the	paper	logs	
     during	the	tour	revealed	that	rounds	are	not	being	timely	performed.			
             All	twenty-four	(24)	of	the	housing	units	are	designed	for	direct	supervision.		
     OPSO	reported	in	its	Compliance	Matrix	that	it	has	twelve	mandatory	posts.	Six	of	
     these	mandatory	posts	are	the	control	pods	and	six	are	housing	units.		That	results	
     in	twenty-five	percent	of	the	housing	units	being	staffed	as		direct	supervision.		In	
     addition,	there	are	times	that	the	deputies	are	not	in	those	housing	units.		Thus,	IV.	
     A.	5.	e.	is	in	partial	compliance.			
             Regarding	overhead	video	surveillance	and	recording	cameras	for	OJC	
     (A.5.f.),	there	are	on-going	issues	as	some	of	the	900	cameras	are	not	recording.		
     This	is	most	often	discovered	when	investigators	try	to	retrieve	the	videos.	The	
     system	is	unreliable	as	at	times	the	videos	are	missing,	but	at	other	times	a	video	is	
     available.		More	energy	and	expertise	should	be	devoted	to	finding	a	solution	to	this	
     technical	issue,	as	the	presence	of	recording	cameras	is	necessary	for	compliance	as	
     well	as	inmate	and	staff	safety.		As	such,	this	paragraph	is	found	to	be	in	partial	
     compliance.			
             All	staff	transferred	from	other	divisions	to	work	in	the	OJC	and/or	assigned	
     to	work	in	the	specialty	units	do	not	receive	the	required	training.		Proof	of	training	
     for	the	juvenile	unit	and	mental	health	units	and	use	of	a	training	mentor	for	
     individual	transferred	from	other	divisions	allows		A.	5.	g.	and	h.	to	be	in	partial	
     compliance.				
             IV.	A.	5.	i.	was	in	substantial	compliance	at	the	time	of	Report	No.	9	as	there	
     was	proof	that	supervisors	are	conducting	daily	rounds	and	noting	their	findings	in	
     the	paper	logs.		However,	while	supervisors	claim	to	conduct	rounds,	
     documentation	is	lacking	for	this	compliance	period;	thus,	IV.	A.	5.	i.	is	now	in	partial	
     compliance.	
             The	daily	inspections	of	housing	units	required	by	VI.	A.	5.	j.	is	in	partial	
     compliance.		With	the	introduction	of	unit	management,	unit	managers	and	deputies	
     are	required	to	conduct	daily	inspections.		However,	simple	observation	of	the	
     conditions	of	the	living	units	provides	evidence	that,	while	daily	inspections	may	be	


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        conducted,	consistent	inspection	standards	need	to	be	communicated	to	the	line	
        staff	and	inmates,	and	corrective	action	taken	as	a	result	of	the	inspection	findings.				
        [See	also	IV.D.	Sanitation	and	Environmental	Conditions	for	additional	findings.]	
                 Monthly	shakedowns	are	conducted.	But	as	evidenced	the	amount	of	
        contraband	discovered	during	each	time	shakedowns,	the	number	and	type	of	
        weapons	used	in	the	inmate-on-inmate	assaults,	and	the	drug	use/overdoses	in	the	
        facility,	the	shakedowns	do	not	occur	at	sufficient	regularity	and	are	not	sufficiently	
        thorough	to	prevent	inmates	from	having	frequent	access	to	dangerous	contraband.				
        Thus,	VI.	A.	5.	k.	continues	to	be	in	partial	compliance.	
                 The	Independent	Compliance	Director	continues	to	devote	significant	
        resources	and	effort	to	the	address	the	issue	of	contraband.		The	courts,	intake,	and	
        inmate	workers	appear	to	be	a	common	source	of	contraband.		There	continue	to	be	
        circumstances	where	staff	are	responsible	for	smuggling	contraband	into	the	
        facility.			
                 OPSO	has	continued	to		conduct	an	analysis	of	the	shakedown	reports	from	
        the	monthly	unit	shakedown	as	to	the	location	of	findings,	linkages	to	previous	
        shakedowns,	specific	items	found,	and/or	the	inmates	involved.			OPSO	provides	a	
        list	of	special	management	unit,	but	the	contraband	reports	provided	to	the	
        Monitors	do	not	list	the	contraband	found	as	a	result	of	a	non-routine	shakedown	
        such	as	those	conducted	by	ISB.		It	is	clear	from	the	ISB	reports	that	additional	
        stashes	of	drugs,	cell	phones,	and/or	weapons	were	uncovered	though	the	non-
        random	shakedowns.		Therefore,	IV	A.	5.	l.		continues	to	be	in	partial	compliance.	
IV.		A.		6.		Security	Staffing	
	
A.6.a.	OPSO	shall	ensure	that	correctional	staffing	and	supervision	is	sufficient	to	adequately	supervise	
prisoners,	fulfill	the	terms	of	this	Agreement,	and	allow	for	the	safe	operation	of	the	Facility,	consistent	with	
constitutional	standards.	
         (1)        OPSO	shall	achieve	adequate	correctional	officer	staffing	in	the	following	manner:	
                    Within	90	days	of	the	Effective	Date,	develop	a	staffing	plan	that	will	identify	all	posts	and	
                    positions,	the	adequate	number	and	qualification	of	staff	to	cover	each	post	and	position,	
                    adequate	shift	relief,	and	coverage	for	vacations.		The	staffing	plan	will	ensure	that	there	is	
                    adequate	coverage	inside	each	housing	and	specialized	housing	areas	and	to	accompany	
                    prisoners	for	court,	visits	and	legal	visits,	and	other	operations	of	OPP	and	to	comply	with	all	
                    provisions	of	this	Agreement.		OPSO	will	provide	its	plan	to	the	Monitor,	SPLC,	and	DOJ	for	
                    approval.		The	Monitor,	SPLC,	or	DOJ	will	have	60	days	to	raise	any	objections	and	
                    recommend	revisions	to	the	staffing	plan.	




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     (2)    Within	120	days	before	the	opening	of	any	new	facility,	submit	a	staffing	plan	consistent	
            with	subsection	(1)	above.	
     (3)    Within	90	days	after	completion	of	the	staffing	study,	OPSO	shall	recruit	and	hire	a	full-time	
            professional	corrections	administrator	to	analyze	and	review	OPP	operations.			The	
            professional	corrections	administrator	shall	report	directly	to	the	Sheriff	and	shall	have	
            responsibilities	to	be	determined	by	the	Sheriff.		The	professional	corrections	administrator	
            shall	have	at	least	the	following	qualifications:	(a)	a	bachelor’s	degree	in	criminal	justice	or	
            other	closely	related	field;	(b)	five	years	of	experience	in	supervising	a	large	correctional	
            facility;	and	(c)	knowledge	of	and	experience	in	applying	modern	correctional	standards,	
            maintained	through	regular	participation	in	corrections-related	conferences	or	other	
            continuing	education.	
     (4)    Provide	the	Monitor	a	periodic	report	on	staffing	levels	at	the	Facility.		These	periodic	
            reports	shall	be	provided	to	the	Monitor	within	four	months	of	the	Effective	Date;	and	every	
            six	months	thereafter	until	termination	of	this	Agreement.			Each	report	will	include	the	
            following	information:		
                     i.    a	listing	of	each	post	and	position	needed;	
                    ii.    the	number	of	hours	needed	for	each	post	and	position;			
                   iii.    a	listing	of	staff	hired	and	positions	filled;		
                   iv.     a	listing	of	staff	working	overtime	and	the	amount	of	overtime	worked	by	each	
                           staff	member;	
                    v.     a	listing	of	supervisors	working	overtime;	and	
                   vi.     a	listing	of	and	types	of	critical	incidents	reported.	
	
     Findings:		
     		A.	6.	–	Non-Compliance	
              		A.	6.	a.		(1)	–	Substantial	Compliance	
              		A.	6.	a.	(2)	–		Substantial	Compliance	
              		A.	6.	a.	(3)	–	Substantial	Compliance	
              		A.	6.	a.	(4)	–	Partial	Compliance	
     	
     Observations:		(See	also	Appendix	B)	
            The	finding	of	compliance	for	this	section	of	the	Consent	Judgment	is	guided	
     by	this	language	(IV.A.6):	
            “OPSO	shall	ensure	that	correctional	staffing	and	supervision	is	
            sufficient	to	adequately	supervise	prisoners,	fulfill	the	terms	of	this	
            Agreement,	and	allow	for	the	safe	operation	of	the	Facility,	
            consistent	with	constitutional	standards.	.	.”	
                    	
            As	the	governing	section	of	this	paragraph	is	non-compliant,	the	entire	
     section	is	non-compliance.		The	sub-paragraphs	have	been	given	a	compliance	
     rating	to	provide	guidance	to	OPSO.					
            There	continues	to	be	is	insufficient	staffing	of	posts	in	OJC	as	evidenced	by	
     the	Monitors’	evaluation	of	staffing	rosters	provided	for	June	–	November	2018.			
     These	rosters	indicate	the	individuals	assigned	to	posts;	not	whether	or	not	the	
     person	worked	in	that	post,	or	worked	at	all.		The	reporting	provided	by	OPSO	does	


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     not	address	all	the	requirements	of	IV.	A.6.	(4),	specifically	sections	iv.,	and	v.			Even	
     with	the	use	of	overtime,	units	are	left	unstaffed	(see	below).		The	work	required	by	
     different	paragraphs	of	the	Consent	Judgment	are	not	being	met	because	of	the	lack	
     of	staffing	(e.g.	sanitation).		
             The	Monitors	reviewed	a	sample	from	the	OPSO	OJC	Staff	on	Duty	reports.		
     The	documents	list	the	staff	who	are	assigned	to	specific	posts	on	shifts,	also	
     identifying	posts	for	which	there	is	no	staff	assigned,	not	including	IPC	operations.		
     The	staffing	for	IPC	was	not	provided.		The	sample	included	10	days	in	June	2018	
     and	10	days	in	November	2018,	covering	20	total	shifts,	both	day	and	night.		The	
     findings	of	this	review	are:	
             •       100%	of	shifts	has	a	watch	commander	recorded	as	working.	
             •       None	of	the	20	shifts	had	all	posts	filled.			
             •       The	Unit	Managers	for	day	shifts	are	frequently	recorded	as	not	
                     working	on	the	day	shifts;	rarely	are	Unit	Managers	recorded	as	
                     working	night	shifts,	leaving	a	watch	commander	to	oversee	all	floors,	
                     and	a	sergeant	for	each	floor.	
             •       Reports	from	nights	shifts	frequently	use	the	phases	“remote	
                     observation”,	“rotating	deputy”,	“in	rotation”,	“in	rotation/remote	
                     observation”	although	it	is	not	clear	from	where	this	staff	is	pulled.				
                     There	also	does	not	appear	to	be	a	commonly	shared	definition	of	the	
                     terms	used.		There	is	no	indication	what	staff	are	available	to	relieve	
                     deputies	working	in	the	housing	units;	including	if	there	is	staff	in	IPC	
                     that	can	be/are	pulled	to	provide	this	coverage.			
             •       The	unit	pod	controls	are	shown	as	staffed	on	all	shifts,	except	in	one	
                     instance	where	the	information	was	not	provided.		Where	there	is	
                     “remote	observation”,	there	are	not	corresponding	resources	in	
                     central	control,	raising	the	question	of	the	location	of	the	“remote	
                     observation.”	
             •       The	sanitation	deputy	post,	when	staffed,	is	the	same	person	for	all	
                     four	floors.		The	June	reports	do	not	indicate	a	sanitation	deputy	was	



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                assigned;	for	November	there	are	12/20	shifts	in	which	a	sanitation	
                deputy	was	reported;	generally,	the	same	person	for	all	floors.	
          •     There	is	no	laundry	deputy	in	these	posts,	except	one	day	where	
                Tracie	Jefferson,	the	sanitarian,	is	listed.	
          •     Rover	posts	are	infrequently	filled;	and	in	some	cases,	filled	by	CMTs.		
                For	the	November	sample,	the	160	shifts	for	which	rovers	could	be	
                assigned	(2	x	shift	x	4	floors	x	2	shifts),	19	rovers	were	assigned	
                (12%)	–	and	of	those,	4	were	CMTs,	who	cannot	be	assigned	as	relief	
                inside	inmate	housing	units.		For	the	June	sample,	rovers	are	noted	in	
                16	shifts	(10%),	in	about	half	the	days,	the	report	provided	no	note	as	
                to	whether	the	posts	were	filled	or	no	(e.g.	it	was	blank).	
          •     The	scanner	posts	on	the	first	and	second	floor;	for	the	40	posts	(20	
                shifts	x	2	posts)	–	it	was	filled	16	times	(40%),	with	one	filled	by	a	
                CMT	and	one	“in	rotation.”		This	assignment	pattern	appears	to	impact	
                both	day	and	night	shifts.	
          •     For	the	night	shift	on	November	30,	2018,	there	only	28	staff	were	in	
                the	jail	(recall	IPC	information	not	available	for	review)–	there	is	only	
                one	person	assigned	to	the	central	control	or	communications	posts;	
                16	units	were	not	staffed;		
          •     For	the	night	shift	on	November	4,	2018,	24	staff	were	assigned	in	the	
                jail;	18	units	were	not	staffed;	four	communications	posts	were	filled.	
          •     The	youth	tier	-2C	-	is	filled	on	all	shifts	of	the	day/night	examined	for	
                all	shifts	reviewed.	
          •     For	the	20	shifts	-	cross-checking	revealed	reported	incidents	for	
                those	dates/times	found	in	79%	of	the	incidents,	staff	was	assigned	to	
                the	unit.		Six	of	29	(21%)	incidents	occurred	in	a	unit	were	no	staff	
                were	assigned.			
          •     There	is	a	pattern	as	to	what	units	are	not	staffed,	or	are	overseen	
                with	“remote	or	rotating	deputies”.		These	are:	
                   •   4-B,	4-D,	4E,	4-F	



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                     •   3-B,	3-E,	3-F	
                     •   1-B			
                     •   1-D	-	this	unit	with	a	deputy	assigned	of	4/20	shifts	(20%)	
                     •   1-F	–	this	unit	with	a	deputy	assigned	6/20	shifts	(30%)	
                     •   There	are	24	housing	units	in	OJC;	the	nine	unit	are	37%	of	the	
                         total	units.	These	nine	units	accounted	for	33%	of	the	reported	
                         incidents	in	OJC	for	the	entire	month	of	November;	and	38%	of	
                         the	incidents	for	the	sample	period.			
                     •   The	types	of	incidents	which	occurred	in	these	specific	units	
                         when	unstaffed,	according	to	OJC	reporting,	during	the	two	
                         months	of	the	sample	included:	
                             o 12	inmate/inmate	altercations;	
                             o 2	criminal	damage	to	property;	
                             o 1	seizure;	
                             o 1	attempted	suicide;	
                             o 7	unobserved	inmate	injuries;	and	
                             o 2	internal	escapes	(inmates	breaching	or	attempting	to	
                                  breach	internal	doors).	
          •   It	is	unclear	how	the	staffing	is	pulled	for	hospital	details.		These	
              assignments	are	noted	in	the	report.		This	is	important	as	the	20	shifts	
              reviewed	for	November	noted	46	staff	assigned	to	the	hospital	(unable	to	
              determine	if	for	an	entire	or	partial	shift).	
          •   There	are	shifts	when	deputies	are	not	listed	as	assigned	to	the	medical	
              clinic,	including	5	consecutive	shifts	in	the	November	sample.	
          •   The	report	does	not	identify	if	staff	are	pulled	for/assigned	training	from	
              the	shifts,	whether	on	overtime,	or	staff	pulled	from	OJC	posts.	
          •   The	Monitors	were	unable	to	determine	from	the	reporting	which	posts	
              were	filled	with	overtime,	except	for	a	very	few	notes.			
          •   In	the	sample	for	the	20	shifts	in	November,	76	staff	were	noted	as	calling	
              in	sick,	59	on	annual	leave,	and	30	reporting	tardy	for	work.	



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            Updated	data	from	OPSO	for	CY2018	indicates	that	126	jail	security	and	
     support-related	positions	were	hired	(e.g.	not	including	Sheriff’s	staff,	Young	
     Marines,	civil	district	court,	Council	Drivers);	and	during	this	same	period,	data	
     provided	in	January	2019	indicates	201	individuals	were	terminated,	with	a	net	loss	
     of	75	individuals.	This	data	may	be	contrasted	to	OPSO	reported	data	for	CY2017,	
     315	hired	and	299	terminated,	a	net	gain	of	16	employees.			For	CY	2018,	42	of	the	
     126	were	hired	and	terminated	in	CY2018.		Of	the	126	positions	OPSO	reported	
     hiring,	27	were	Corrections	Monitoring	Technicians	(CMTs)	(staffing	the	pod	control	
     centers	and	other	duties	as	assigned),	and	67	“recruit”	staff.		For	CY	2018,	of	the	27	
     CMTs	hired,	42	were	terminated;	of	the	67	recruits	hired,	107	deputies/recruits	
     were	terminated.		The	reasons	OPSO	provided	for	departures	from	employment	of	
     the	recruits:	
            •   19	no-shows/abandoned	job	
            •   5	for	“advancement”	
            •   16	for	misconduct;	
            •   9	for	personal	reasons	(health,	relocation,	“other);	
            •   7	resigned	while	under	investigation;	and		
            •   1	resigned	while	under	suspension.	
     The	remaining	number	(9)	were	reported	as	terminated	for	attendance,	unable	to	
     perform	duties,	and	1,	no	reason	given.			
            OPSO	updated	its	staffing	plan	on	October	1,	2018.		Although	the	nexus	
     between	the	staffing	plan	and	the	monthly	reports	provided	by	Human	Resources	
     remains	to	be	completed,	it	can	be	concluded	that	an	additional	30%	staff	is	needed,	
     provided	the	retention	rate	is	improved.		As	noted	in	previous	compliance	report,	
     neither	the	Monitors,	nor	OPSO	can	track	vacancies	by	posts/positions.			
            Sub-paragraph	IV.6.a.	(2)	–	This	provision	is	in	substantial	compliance	at	this	
     time.		With	the	planning	for	Phase	III,	the	Monitors	look	forward	to	reviewing	the	
     staffing	plan.	




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                  Sub-paragraph	IV.6.a.	(3)	–	The	chief	of	corrections	position	has	been	vacant	
         since	March	2018.		OPSO	has	extended	an	offer	to	a	qualified	individual	who	will	
         begin	work	on	February	19,	2019.	
                  Sub-paragraph	IV.6.a.	(4)	–	This	paragraph	is	in	partial	compliance,	as	
         monthly	reports	have	not	been	produced	regarding	hiring	and	termination	of	
         employees.		The	Stipulated	Agreement	also	provides	for	bi-monthly	reports	
         regarding	hiring.				Paragraph	7.a.	of	the	Stipulated	Agreement	of	February	11,	2015	
         requires	monthly	reporting.2	
A.6.b.	Review	the	periodic	report	to	determine	whether	staffing	is	adequate	to	meet	the	requirements	of	this	
Agreement.		OPSO	shall	make	recommendations	regarding	staffing	based	on	this	review.		The	review	and	
recommendations	will	be	documented	and	provided	to	the	Monitor.	
	
                  Finding:		Substantial	Compliance	
                  The	staffing	plan	indicates	what	staff	are	required;	the	issue	is	that	the	staff	
         have	not	been	hired/retained.				
IV.	7.		Incidents	and	Referrals					
	
A.7.a.	OPSO	shall	develop	and	implement	policies	that	ensure	that	Facility	watch	commanders	have	
knowledge	of	reportable	incidents	in	OPP	to	take	action	in	a	timely	manner	to	prevent	harm	to	prisoners	or	
take	other	corrective	action.			At	a	minimum,	OPSO	shall	do	the	following:	
A.7.b.	Continue	to	ensure	that	Facility	watch	commanders	document	all	reportable	incidents	by	the	end	of	
their	shift,	but	no	later	than	24	hours	after	the	incident,	including	prisoner	fights,	rule	violations,	prisoner	
injuries,	suicide	attempts,	cell	extractions,	medical	emergencies,	found	contraband,	vandalism,	escapes	and	
escape	attempts,	and	fires.	
A.7.c.	Continue	to	ensure	that	Facility	watch	commanders	report	all	suicides	and	deaths	no	later	than	one	
hour	after	the	incident,	to	a	supervisor,	IAD,	the	Special	Operations	Division,	and	medical	and	mental	health	
staff.	
A.7.d.	Provide	formal	pre-service	and	annual	in-service	training	on	proper	incident	reporting	policies	and	
procedures.	
A.7.e.	Implement	a	policy	providing	that	it	is	a	disciplinary	infraction	for	staff	to	fail	to	report	any	reportable	
incident	that	occurred	on	his	or	her	shift.		Failure	to	formally	report	any	observed	prisoner	injury	may	result	
in	staff	discipline,	up	to	and	including	termination.	
A.7.f.	Maintain	a	system	to	track	all	reportable	incidents	that,	at	a	minimum,	includes	the	following	
information:	
          (1)      tracking	number;		
          (2)      the	prisoner(s)	name;		
          (3)      housing	classification	and	location;	
          (4)      date	and	time;		
          (5)      type	of	incident;	
																																																								
2	OPSO	shall	provide	a	monthly	report	to	the	Monitors,	identifying	the	number	of	deputies	hired	the	previous	
month;	the	number	of	deputies	who	resigned,	if	known,	the	reason	for	resignation,	and	the	date	the	deputy	
entered	service;	and	the	number	of	deputies	who	were	terminated,	the	reason	for	termination,	and	the	date	
the	deputy	entered	service.		The	same	report	shall	be	provided	for	non-sworn	(civilian	staff).		A	cumulative	
annual	total	will	also	be	included	as	part	of	this	report.	


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        (6)       injuries	to	staff	or	prisoner;		
        (7)       medical	care;		
        (8)       primary	and	secondary	staff	involved;		
        (9)       reviewing	supervisor;		
        (10)      external	reviews	and	results;		
        (11)      corrective	action	taken;	and	
        (12)      administrative	sign-off.	
A.7.g.	Ensure	that	incident	reports	and	prisoner	grievances	are	screened	for	allegations	of	staff	misconduct,	
and,	if	the	incident	or	allegation	meets	established	criteria	in	accordance	with	this	Agreement,	it	is	referred	
for	investigation.	
A.7.h.	Provide	the	Monitor	a	periodic	data	report	of	incidents	at	the	Facility.		These	periodic	reports	shall	be	
provided	to	the	Monitor	within	four	months	of	the	Effective	Date;	and	every	six	months	thereafter	until	
termination	of	this	Agreement.			
A.7.i.	The	report	will	include	the	following	information:	
          (1)     a	brief	summary	of	all	reportable	incidents,	by	type	and	date;	
          (2)     a	description	of	all	suicides	and	in-custody	deaths,	including	the	date,	name	of	prisoner,	and	
                  housing	unit;	
          (3)     number	of	prisoner	grievances	screened	for	allegations	of	misconduct;	and	
          (4)     number	of	grievances	referred	to	IAD	or	SOD	for	investigation.	
A.7.j.	Conduct	internal	reviews	of	the	periodic	reports	to	determine	whether	the	incident	reporting	system	is	
ensuring	that	the	constitutional	rights	of	prisoners	are	respected.		Review	the	quarterly	report	to	determine	
whether	the	incident	reporting	system	is	meeting	the	requirements	of	this	Agreement.		OPSO	shall	make	
recommendations	regarding	the	reporting	system	or	other	necessary	changes	in	policy	or	staffing	based	on	
this	review.		The	review	and	recommendations	will	be	documented	and	provided	to	the	Monitor.	
	
        Findings:	
        		A.	7.		a.	-		Partial	Compliance	
        		A.	7.		b.	–	Partial	Compliance					
        		A.	7.		c.	–		Substantial	Compliance			
        		A.	7.		d.	–		Partial	Compliance	
        		A.	7.		e.	–		Partial	Compliance	
        		A.	7.		f.	–			Partial	Compliance	
        		A.	7.		g.	–		Substantial	Compliance				
        		A.	7.		h.	–		Partial	Compliance			
        		A.	7.		i.	-				Partial	Compliance	
        		A.	7.		j.	-				Substantial	Compliance	
	
        Observations:	
                 OPSO	has	long	had	a	policy	on	incidents	and	referrals	that	sets	out	the	
        process	for	documenting	and	referring	incidents.		What	has	been	lacking	is	a	
        sufficient	process	to	ensure	all	reportable	incidents	are	being	documented	and	that	
        the	incidents	are	being	recorded	adequately,	timely,	and	accurately.		OPSO	has	
        shown	improvement	in	the	reporting	of	incidents,	but	there	are	still	incidents	which	
        are	not	timely	reported	to	OPSO	and/or	the	Monitors.		
                 As	noted	earlier	in	this	report,	the	Monitors	identified	110	late	reports	for	
        the	period	April	–	December	2018.		The	incidents	were:	


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            o 7—attempted	suicide;	
            o 3	–	contraband;	
            o 6	–	criminal	damage	to	property;	
            o 15	–	inmate	“slip/falls”;	
            o 1	–	inmate	misconduct;	
            o 24	–	inmate/inmate	altercations;	
            o 52	–	uses	of	force/including	inmate/staff	altercations;	and	
            o 3	–	sexual	assault/misconduct.	
     The	majority	of	these	incidents	occurred	in	unit	3C,	(N=22)	(disciplinary	housing)	
     and	in	male	mental	health	housing	2A	(N=12).		OPSO	reports	note	that	of	these	
     “late”	incidents,	12	occurred	in	units	with	no	staff	present;	91	in	units	where	staff	
     was	present,	and	8	in	which	staff	was	unknown/unspecified.	
            One	of	the	methods	for	determining	whether	incidents	are	being	reported	is	
     to	review	‘routes’	–	inmates	with	serious	medical	or	trauma	injuries	((e.g.	serious	
     injuries	that	the	medical	provider	referred	to	the	emergency	department	for	events	
     such	altercations,	attempt	suicides,	uses	of	force,	ingestions)that	they	are	
     transferred	to	the	emergency	room,	and	clinic	walk-in	logs.		This	function	used	to	be	
     performed	by	the	Monitors.		OPSO	has	implemented	a	process	where	a	sergeant	
     performs	this	function	and	follow	up	on	missing	reports.		This	is	an	example	of	OPSO	
     incorporating	processes	which	allow	OPSO	to	audit	its	compliance.		What	continues	
     to	be	lacking	is	holding	the	supervisors	accountable	for	the	late	reports.		Sections	A.	
     7.	a.	and	b.	remain	in	partial	compliance.	
            Suicides	and	deaths	are	reported	within	an	hour	to	the	proper	persons	which	
     results	in	A.	7.	c.	being	in	substantial	compliance.		Annual	training	was	provided	on	
     incident	reporting,	but	a	significant	number	of	staff	did	not	attend	as	schedule	which	
     results	in	partial	compliance	for	A.	7.	d.		There	is	a	policy	which	requires	the	
     reporting	of	incidents	and	that	it	be	timely,	but,	as	highlighted	above,	in	at	least	110	
     instances,	incidents	were	not	reported	timely	and	no		corrective	action	was	taken	
     which	results	in	partial	compliance	for	A.	7.	e.	There	is	not	a	system	to	track	the	
     information	required	in	A.	7.	f.,	but	partial	compliance	is	given	due	to	the	
     information	being	gathered	by	the	administrative	sergeant.		Incidents	and	


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        grievances	are	being	reviewed	for	misconduct	and	referred	for	investigation	where	
        appropriate	in	substantial	compliance	with	A.	7.	g.			The	Monitors	are	provided	a	
        semi-annual	report	of	incidents,	but	it	does	not	contain	all	of	the	required	
        information	and,	thus,	A.	7.	h.	and	i.	are	in	partial	compliance.		OPSO	performed	an	
        assessment	of	whether	the	reporting	system	is	meeting	the	requirements	of	the	
        Consent	Judgment	and	is	given	substantial	compliance	for	A.	7.	j.	even	though	the	
        assessment	did	not	address	the	lack	of	timeliness.		Future	assessments	of	the	
        reporting	system	will	need	to	be	more	robust	and	refined	to	maintain	substantial	
        compliance.	
IV.	A.	8.		Investigations					
	
A.8.a.	Maintain	implementation	of	comprehensive	policies,	procedures,	and	practices	for	the	timely	and	
thorough	investigation	of	alleged	staff	misconduct,	sexual	assaults,	and	physical	assaults	of	prisoners	
resulting	in	serious	injury,	in	accordance	with	this	Agreement.		Investigations	shall:	
         (1)      be	conducted	by	persons	who	do	not	have	conflicts	of	interest	that	bear	on	the	partiality	of	
                  the	investigation;	
         (2)      include	timely,	thorough,	and	documented	interviews	of	all	relevant	staff	and	prisoners	who	
                  were	involved	in	or	who	witnessed	the	incident	in	question,	to	the	extent	practicable;	and	
         (3)      include	all	supporting	evidence,	including	logs,	witness	and	participant	statements,	
                  references	to	policies	and	procedures	relevant	to	the	incident,	physical	evidence,	and	video	
                  or	audio	recordings.	
A.8.b.	Continue	to	provide	SOD	and	IAD	staff	with	pre-service	and	annual	in-service	training	on	appropriate	
investigation	policies	and	procedures,	the	investigation	tracking	process,	investigatory	interviewing	
techniques,	and	confidentiality	requirements.	
A.8.c.	Ensure	that	any	investigative	report	indicating	possible	criminal	behavior	will	be	referred	to	IAD/SOD	
and	then	referred	to	the	Orleans	Parish	District	Attorney’s	Office,	if	appropriate.	
A.8.d.	Provide	the	Monitor	a	periodic	report	of	investigations	conducted	at	the	Facility.		These	periodic	
reports	shall	be	provided	to	the	Monitor	within	four	months	of	the	Effective	Date;	and	every	six	months	
thereafter	until	termination	of	this	Agreement.	
A.8.e.	The	report	will	include	the	following	information:	
         (1)      a	brief	summary	of	all	completed	investigations,	by	type	and	date;	
         (2)      a	listing	of	investigations	referred	for	administrative	investigation;		
         (3)      a	listing	of	all	investigations	referred	to	an	appropriate	law	enforcement	agency	and	the	
                  name	of	the	agency;	and		
         (4)      a	listing	of	all	staff	suspended,	terminated,	arrested,	or	reassigned	because	of	misconduct	or	
                  violations	of	policy	and	procedures.		This	list	must	also	contain	the	specific	misconduct	
                  and/or	violation.	
A.8.f.	OPSO	shall	review	the	periodic	report	to	determine	whether	the	investigation	system	is	meeting	the	
requirements	of	this	Agreement	and	make	recommendations	regarding	the	investigation	system	or	other	
necessary	changes	in	policy	based	on	this	review.		The	review	and	recommendations	will	be	documented	and	
provided	to	the	Monitor.	
	
        Findings:	
        A.	8.	a.	–	Substantial	Compliance	
        A.	8.	b.	–	Substantial	Compliance	
        A.	8.	c.	-		Substantial	Compliance	


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     A.	8.	d.	-		Substantial	Compliance	
     A.	8.	e.	-		Substantial	Compliance	
     A.	8.	f.	-			Substantial	Compliance	
	
     Observations:	
     	       The	Investigative	Services	Division	(ISB)	is	responsible	for:		the	Criminal	
     Investigation	Division	(investigates	possible	criminal	activity	by	inmates),	Internal	
     Affairs	Division-Criminal	(investigates	possible	criminal	activity	by	staff),	the	FIT	
     (investigates	use	of	force	by	staff),	the	Internal	Affairs	Division-Administrative	
     (investigates	possible	violation	of	policies	by	staff),	and	the	Intelligence	Unit	
     (provides	information	and	intelligence	regarding	activities	that	have	taken	place	or	
     may	take	place	in	the	jail	or	support	activities).			
             Significant	evidence	of	substantial	compliance	was	provided	for	IV.	A.	8.	a.		
     The	Monitors	are	concerned	about	the	time	investigations	are	taking,	but	part	of	
     that	reflects	the	quality	of	the	reports	providing	the	basis	for	the	investigations	as	
     well	as	the	sheer	volume	of	incidents	requiring	the	attention	of	ISB.		Improvements	
     in	all	other	areas	from	hiring,	training,	supervision,	and	adequate	staffing	will	
     enhance	the	safety	of	staff	and	inmates	–	and	ultimately	decrease	the	workload	of	
     ISB.	
             	The	Monitors	acknowledge	that	investigating	incidents	of	inmate	on	inmate	
     assaults,	sexual	assaults,	staff	on	inmate	assaults,	etc.	with	a	goal	of	seeking	
     indictments	is	appropriate;	but	the	overall	goal	is	to	create	a	safe	jail.		In	a	jail	
     setting,	investigations	play	just	as	critical	a	role	in	terms	of	protecting	inmates	from	
     inappropriate	or	illegal	staff	actions,	protecting	inmates	from	each	other,	and	
     correcting	policy,	practice,	supervision	and	training.		Continued	emphasis	needs	to	
     be	placed	on	having	as	one	of	goals	of	investigations	being	the	prevention	of	future	
     incidents	through	analysis	of	the	policy,	procedures,	training,	supervision,	and	
     physical	plant	contributors	to	the	incident.		This	function	cannot	and	should	not	be	
     performed	by	ISB	alone.		This	level	of	assessment	requires	input	from	individuals	
     who	have	a	high	level	of	experience	in	jail/corrections	work.	In	short,	it	requires	
     collaboration	between	ISB	and	OJC	which	continues	to	be	wanting.		The	OJC	staff	




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        should	take	the	lead	in	the	root	cause	analysis	with	ISB	providing	information	
        gathered	during	the	investigation.	
        	        The	quality	of	sexual	assault	investigations	has	improved	since	those	
        investigations	were	moved	under	the	supervision	of	the	Lieutenant	responsible	for	
        IAD-Criminal	investigations.			
        	        ISB	continues	to	receive	significant	additional	training	in	substantial	
        compliance	with	A.	8.	b.		During	the	monitoring	period,	ISB	contracted	with	an	
        expert	on	sexual	assault	and	PREA	investigations	who	provided	training.				
        	        Investigations	which	reveal	potential	criminal	activity	are	referred	to	the	
        Orleans	Parish	District	Attorney’s	Office	in	substantial	compliance	with	A.	8.	c.		ISB	
        provides	reports	in	substantial	compliance	with	IV.	A.	8.	d.	and	e.				ISB	performs		the	
        review	of	the	investigation	system	to	determine	whether	the	investigation	system	is	
        meeting	the	requirements	of	the	Consent	Judgment	and	forward	any	
        recommendations	to	the	Monitors.		ISB’s	substantial	compliance	is	evidenced	not	
        only	by	their	analysis,	but	also	the	movement	of	PREA	investigations	under	IAD-
        Criminal,	additional	sexual	assault	investigation	training,	and	the	formalization	of	a	
        call	out	policy	for	the	collection	of	forensic	evidence	in	serious	incidents.	
IV.	A.	9.						Pretrial	Placement	in	Alternative	Settings	
	
A.9.a.	OPSO	shall	maintain	its	role	of	providing	space	and	security	to	facilitate	interviews	conducted	pursuant	
to	the	City’s	pretrial	release	program,	which	is	intended	to	ensure	placement	in	the	least	restrictive	
appropriate	placement	consistent	with	public	safety.		
A.9.b.	OPSO	shall	create	a	system	to	ensure	that	it	does	not	unlawfully	confine	prisoners	whose	sole	detainer	
is	by	Immigration	and	Customs	Enforcement	(“ICE”),	where	the	detainer	has	expired.	
	
        Findings:		    	
        A.9.a.	–	Substantial	Compliance	
        A.9.b.	-	Substantial	Compliance	
	
        Observations:		
                 OPSO	provided	a	memorandum	noting	that	the	pretrial	program	is	no	longer	
        managed	by	VERA,	but	rather	Criminal	District	Court,	and	that	the	same	space	is	
        provided.		OPSO	also	provided	a	memorandum	that	ICE	detainers	are	only	accepted	
        for	a	specified	list	of	offenses;	and	that	OPSO	has	not	detained	any	individuals	under	
        an	ICE	detained	during	2018.		



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IV.	A.	10.	Custodial	Placement	within	OPP	
Introduction	
          OPSO	has	designed,	validated,	and	implemented	an	objective	classification	system	to	
assess	and	house	each	OSPO	inmate	according	to	the	risks	he/she	poses	to	institutional	
safety	and	security.		The	automated	classification	system	was	rolled	out	in	the	Jail	
Management	System	(JMS)	on	January	15,	2015.3		The	OPSO	staffing	plan	set	the	
classification	staff	FTEs	at	18.		As	of	January	14,	2019,	the	classification	“unit”	staffing	was	
reported	as	13	individuals	–	12	civilian	classification	specialists	and	a	classification	
manager.4	This	creates	challenges	for	the	24/7	coverage	at	the	OJC	to	ensure	that	the	
custody	assessments,	housing	assignments,	classification-related	grievances,	and	audits	are	
completed	in	accordance	with	OPSO	policies.		As	of	April	2018,	the	single	deputy	assigned	
to	the	Classification	Unit	resigned	and	OPSO	has	decided	not	to	fill	this	position.		These	
duties	have	been	re-assigned	to	the	lead	classification	specialist.		
	         Two	classification	specialists	were	hired	during	this	compliance	period.		Staff	
reported	that	“hands-on”	training	for	the	custody	and	PREA	assessment	instruments	and	
the	OPSO	housing	matrix	was	provided.		A	memo	outlining	the	training	was	provided.	No	
post-test	competency	tests	were	available.		During	this	compliance	reporting	period,	no	in-
service	training	for	the	classification	specialists	was	provided.	
	         To	assign	inmates	to	a	housing	unit	and	bed,	OPSO	has	developed	an	automated	
housing	assignment	process	that	considers	the	inmate’s	custody	level,	gender,	special	
population	status,	PREA	designations,	enemies,	and	associates	as	well	as	bed	availability	to	
recommend	an	appropriate	bed	for	the	inmate.		The	JMS	generates	a	list	of	appropriate	
housing	locations	for	each	inmate	according	to	his/her	custody	level,	PREA	designations,	
reported	enemies	and/or	associates,	gender,	age,	medical,	and	mental	health	needs	from	
which	the	classification	specialist	must	select	a	housing	assignment/bed.		Separations	for	
special	populations	have	been	incorporated	into	the	automated	Housing	Unit	Assignment	
Plan	(HUAP).		Identification	tags	have	been	created	to	identify	inmates	on	suicide	

																																																								
3	 Hardyman,	Patricia	L.	(2015).	“Design	and	Validation	of	an	Objective	Classification	System	for	the	Orleans	
    Parish	Sheriff’s	Office:	Final	Report.”	Hagerstown,	MD:	Criminal	Justice	Institute,	Inc.	
4		The	current	staffing	roster	was	not	included	in	the	documents	provided	for	this	compliance	report,	thus	the	
classification	unit	numbers	and	assignments	could	not	be	verified.			


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observation	vs.	suicide	watch,	those	undergoing	detoxification	protocol	for	alcohol	and/or	
controlled	substances,	and	those	participating	in	the	Travis	Hill	High	School.	The	OJC	and	
TDC	dormitory-style	units	have	been	cataloged	in	the	automated	system	to	enable	the	
classification	specialists	to	assign	inmates	to	specific	beds.	Although	Classification	and	JMS	
staff	worked	together	to	develop	an	Inmate	Separation	Instrument	(ISI)	to	maintain	out-of-
cell	separations,	the	ISI	is	used	only	within	the	special	management	pods.			
        A	positive	point	of	this	compliance	tour	was	that	housing	audits	to	verify	the	
placement	of	the	inmates	within	the	assigned	beds	were	restarted	as	of	July	2018.		Random	
housing	audits	were	conducted	by	a	classification	specialist	and	corrections	security	staff.			
On	the	other	hand,	of	concern	was	the	observation	that	the	classification	specialists	use	
discretionary	overrides	of	the	scored	custody	levels	when	assigning	inmates	to	a	housing	
unit/bed	in	order	to	expand	the	housing/bed	options.		These	overrides	appeared	to	be	
initiated	in	order	to	transfer	low	custody	inmates	from	the	“Booking”	area	to	the	new	
intake	housing	unit,	1-F.			It	appeared	at	least	in	some	incidences,	the	override	of	the	scored	
custody	level	was	continued	when	the	inmate	was	transferred	from	1-F	(intake	housing)	to	
a	general	population	housing	unit	and	bed.	The	monthly	classification	indicated	that	while	
the	rate	of	discretionary	overrides	increased	for	November	and	December	over	previous	
months	of	2018,	the	rates	were	well	within	the	recommended	override	rates	of	5	to	15	
percent.5		The	most	troubling	point	is	that	“housing,	i.e.,	bed	availability”	is	NOT	a	
legitimate	reason	for	a	discretionary	override.		
        OPSO	modified	its	document	submittal	process	to	exclude	standardized	monthly	
statistical	reports	as	to	the	timeliness	of	the	initial	custodial	assessments;	the	custody	
distributions;	housing	monitor	lists	(i.e.,	a	log	of	cases	due	for	a	custody	re-assessment);	
the	prevalence	of	special	populations;	as	well	as	the	rates	and	types	of	disciplinary	
infractions.		However,	the	JMS	reports	were	reviewed	as	part	of	the	onsite	tour.		While	this	
change	hampers	the	Monitor’s	ability	to	track	the	ongoing	process	and	shifts	within	the	
system,	it	appears	that	both	the	initial	and	reclassification	assessments	were	completed	
within	a	timely	basis.				


																																																								
5	Austin,	James	and	Hardyman,	Patricia	L.	(2004)	“Objective	Prison	Classification:	A	Guide	for	Correctional	
Agencies.”	pp.	19.	Washington,	D.C:	National	Institute	of	Corrections.	


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Summary:		In	sum,	the	OPSO	is	in	partial	compliance	with	the	paragraphs	of	the	Consent	
Judgment	related	to	Custodial	Placement	within	OPP	(IV.	A.10).		During	this	six-month	
period,	the	OPSO	moved	from	Non-Compliance	to	Substantial-Compliance	on	Section	f	
(Conduct	internal	and	external	review	and	validation	of	the	classification	and	prisoner	
tracking	system	on	at	least	an	annual	basis)	and	from	Partial-Compliance	to	Substantial	
Compliance	on	Sections	d	(Continue	to	update	the	classification	system	to	include	
information	on	each	prisoner’s	history)	and	Section	g	(Provide	the	Monitor	a	periodic	
report	on	classification	at	the	Facility.		The	compliance	rating	for	the	remaining	five	
sections	did	not	change.			OPSO	is	in	substantial	compliance	with	five	of	the	ten	elements	of	
the	Consent	Judgment	regarding	Custodial	Placement.		
Assessment	Methodology	
This	report	was	based	on	observation	of	the	initial	classification	and	housing	assignment	
processes;	onsite	meetings	with	OPSO	and	JMS	staff;	and	review	of	monthly	custodial,	
disciplinary,	training,	and	housing	audit	data	for	June	2018	–	December	2018,	and	review	
of	documents	provided	prior	to	and	during	the	compliance	visit.	
IV.A.10.	a.		OPP	shall	implement	an	objective	and	validated	classification	system	that	assigns	prisoners	to	
             housing	units	by	security	levels,	among	other	valid	factors,	in	order	to	protect	prisoners	from	
             unreasonable	risk	of	harm.		The	system	shall	include	consideration	of	a	prisoner's	security	needs,	
             the	severity	of	the	current	charge,	types	of	prior	commitments,	suicide	risk,	history	of	escape	
             attempts,	history	of	violence,	gang	affiliations,	and	special	needs,	including	mental	illness,	gender	
             identity,	age,	and	education	requirements.		OPSO	shall	anticipate	periods	of	unusual	intake	volume	
             and	schedule	sufficient	classification	staff	to	classify	prisoners	within	24	hours	of	booking	and	
             perform	prisoner	reclassifications,	assist	eligible	DOC	prisoners	with	re-entry	assistance	(release	
             preparation),	among	other	duties	related	to	case	management.	
	
             Finding:	                   Partial	Compliance	
             Observations:	
             As	of	January	14th,	the	Classification	Unit	roster	lists	13	individuals	--	a	classification	
manager	and	12	civilian	classification	specialists	--	for	the	18	positions	assigned	to	the	
Classification	Unit	as	per	the	OPSO	2018	staffing	analysis	plan.6		As	per	the	OSPO	October	
2018	staffing	plan,	"All	posts	were	civilianized.”		The	lead	classification	specialist	has	been	


																																																								
6
 Hodge,	Darnley	(October	1,	2018).	“Updated	Coverage	Plans	for	the	OPSO	(Civil	Division	excluded).”	Orleans	
Parish	Sheriff’s	Office,	Independent	Compliance	Director.	pp.	12.	


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assigned	the	tasks	of	completing	housing	audits,	responding	to	grievances,	and	conducting	
interviews	regarding	protective	custody	and	housing	re-assignments	in	addition	to	
responsibilities	for	supervising	the	classification	specialists,	processing	housing	transfers,	
and	conducting	custody	re-assessments.			The	classification	shift	leaders	and	specialists	
work	overtime	to	keep	up	with	the	workload,	some	working	on	average	40+	hours	of	
overtime	per	month.		
         The	classification	manager	oversees	the	Classification	Unit	who	in	turn	reports	to	
the	Captain	of	the	Intake	Processing	Center	(IPC).		A	strong	voice	for	the	Classification	Unit	
is	important	for	ensuring	that	the	Unit	controls	all	housing	transfers	and	assignments	and	
is	actively	integrated	into	the	all	OPSO	classification	and	housing-related	decisions.			
         The	classification	specialist	did	not	have	a	complete	copy	of	the	current	
classification	or	PREA	handbooks	readily	available	in	their	work	areas	as	reference	tools	
for	checking	offense	severity,	codes	for	disciplinary	infractions,	and	the	like.		The	offense	
and	disciplinary	severity	indexes,	for	example,	were	missing	every	other	page.		The	new	
specialists	reported	that	“hands-on”	training	for	the	custody	and	PREA	assessment	
instruments	and	the	OPSO	housing	matrix	was	provided.		A	memo	outlining	the	training	
was	provided,	but	no	post-test	competency	tests	were	available.		Staff	reported	reviewing	
the	handbooks	as	part	of	their	initial	training	but	did	not	have	individual	copies	available	
within	their	work	areas	or	even	a	link	via	the	shared	drive.	The	OPSO	Offense	Severity	
Index	is	critical,	for	example,	to	accurately	code	out-of-parish	crimes	within	the	custody	
attachments.	During	this	compliance	reporting	period,	no	in-service	training	for	the	
classification	specialists	was	provided.	
IV.A.10.b.	Prohibit	classifications	based	solely	on	race,	color,	national	origin,	or	ethnicity	
         Finding:		Substantial	Compliance	
         Observations:	
         Custody	assessments	are	based	on	objective	risk	factors	that	have	been	validated	for	
OPSO	males	and	female	inmates.	The	inmate's	race	is	not	one	of	the	objective	risk	factors.		
Observation	of	the	housing	assignments	by	the	classification	specialists	revealed	that	
custody	level,	PREA	designation,	age,	and	charges	were	considered	when	selecting	among	
the	potential	beds	identified	by	the	automated	housing	module	when	assigning	an	inmate	
to	a	specific	bed.		To	track	this	element	of	the	Consent	Judgment,	OPSO	has	a	created	


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monthly	statistical	report	to	track	classifications	by	race	and	housing	location.		The	
monthly	reports	were	provided	to	the	Monitor	as	part	of	the	onsite	tour.		Analyses	of	these	
reports	by	the	Monitor	suggested	that	the	OJC	housing	assignments	were	not	by	race	as	the	
housing	distributions	across	the	OJC	housing	units	were	generally	consistent	with	the	
overall	distributions	of	inmates	by	race	within	the	facility.		However,	as	shown	in	Figure	1,	
the	percentage	of	white	inmates	within	the	TDC	housing	units	exceeded	their	proportions	
within	the	overall	inmate	population	for	each	of	the	population	reports	provided	for	this	
compliance	period	–	July	through	November	2018.		As	shown	in	Figure	1,	in	July	91.1	
percent	of	the	inmates	housed	by	OPSO	were	Black,	however,	only	80.0	percent	of	the	
inmates	housed	in	TDC	were	Black.	There	appeared	to	be	about	a	10	percent	discrepancy	
between	the	percentage	of	Blacks	housed	in	TDC	and	the	percentage	of	Black	inmates	
within	the	OPSO	facilities	for	each	of	the	months	--	July	–	December	2018.	
    Figure	1:	Distribution	by	Race	of	Inmates	Housed	at	TDC	Versus	Racial	Distribution	within	
                           the	OJC	&	TDC	Units	–	July	–	November	2018	
	
    100.0%        91.1%             90.2%              91.1%               90.3%                90.1%
                          80.0%             82.6%              80.5%               81.5%                79.3%
     80.0%

     60.0%

     40.0%
                            22.7%                                                                         19.5%
                                               15.9%             18.2%                  17.3%
     20.0%           8.5%               9.6%              8.5%                 9.4%               10.5%

      0.0%
                       July               Aug             Sept                    Oct               Nov
                     OJC&TDC	Black- M       OJC&TDC	White-M            TDC-Black-M       TDC-White-M

          	
          As	during	this	compliance	period,	the	kitchen/maintenance	and	off-site	workers	
were	housed	at	TDC,	these	data	might	raise	questions	or	concerns	about	the	worker	
selection/assignment	process	rather	than	“classification	by	race.”			
              	




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IV.A.10.c	Ensure	that	the	classification	staff	has	sufficient	access	to	current	information	regarding	cell	
availability	in	each	division	
        	
        Finding:	Substantial	Compliance	
        Observations:	
        OPSO	has	developed	an	automated	housing	assignment	process	that	considers	the	
inmate’s	custody	level,	gender,	special	population	status,	PREA	designations,	enemies,	and	
associates	as	well	as	bed	availability	to	recommend	an	appropriate	bed	for	the	inmate.		
Separations	for	special	populations	have	fully	identified	and	incorporated	into	the	
automated	HUAP.		Identification	tags	are	used	to	identify	inmates	on	suicide	observation	
vs.	suicide	watch,	alcohol/drug	detoxification	protocol,	and	school	participation.		
Classification	specialists	are	provided	a	listing	of	potential	beds	for	each	inmate	to	facilitate	
selection	of	the	"best"	bed	from	among	those	identified	by	the	JMS	as	compatible	based	on	
the	inmate’s	custody,	PREA	designations,	separations,	medical,	and	mental	health	needs.		
Previous	problems	of	Security/Operations	moving	inmates	without	going	through	the	
Classification	Unit	for	housing	unit	transfers	appear	to	have	been	addressed.			
        Housing	units	closed	due	to	staff	and/or	fluctuations	on	the	average	daily	OPSO	
population	as	well	as	cells/beds	taken	off-line	for	repairs	are	printed	on	the	daily	population	
sheets	generated	by	the	JMS	did	not	appear	to	be	a	full	listing	of	the	cells	closed	for	
maintenance.		A	listing	of	cells	with	maintenance	problems	with	the	warning,	“DO	NOT	USE	
THE	FOLLOWING	CELLS”	was	posted	on	the	wall	in	the	work	area	for	the	classification	
specialists.	The	list	did	not	have	any	dates	to	indicate	when	the	various	cells	were	taken	off-
line.		Further,	only	one	of	the	cells	on	the	posted	list	was	on	the	JMS	daily	list	of	cells	off-line	
for	that	day	or	any	of	the	days	of	the	previous	week	or	for	the	days	following	the	tour.				It	
appeared	that	the	classification	specialists	are	given	a	separate	inventory	of	cells/	beds	that	
are	off-line	for	maintenance	as	well	as	a	list	of	cell	restrictions	for	medical	isolations.		While	
this	manual	process	does	not	appear	to	hamper	the	classification	specialists’	ability	to	
identify	an	appropriate	bed	for	an	inmate,	it	suggests	inefficiencies	between	the	automated	
Jail	Management	System,	and	the	classification,	housing,	and	facility	maintenance	processes.		
        Classification	specialists	also	maintain	a	current	inventory	of	bed	assignments	to	
avoid	duplications	due	to	delays	between	the	housing	assignments	and	physical	transfer	of	



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the	inmate	to	the	designated	housing	unit.		Thus,	as	required	by	the	Consent	Judgment,	the	
classification	specialists	appear	to	have	access	to	current	information	regarding	bed	
availability	throughout	the	OJC,	however,	the	current	process	entails	maintaining	multiple	
manual	lists	creating	the	risk	of	housing	errors	and	backlogs	for	moving	inmates	from	
booking	to	the	appropriate	housing	pod.	
IV. A.	10.	d.	Continue	to	update	the	classification	system	to	include	information	on	each	
    prisoner’s	history	at	OPSO.			
        	
        Finding:				Substantial	Compliance	
        Observations:	
        As	shown	in	Figure	1,	the	monthly	custodial	reports,	as	provided	by	OPSO,	have	
indicated	a	significant	decrease	in	the	lag-time	between	booking	and	the	initial	
classification.		Further	when	the	percentage	of	inmates	for	whom	initial	custody	and	
housing	assessments	were	completed	improved.	For	example:	
        o Percent	Initial	Custody	Assessments:	As	of	June	2018,	initial	custody	
             assessments	were	completed	for	only	82.0	percent	of	the	inmates	booked	into	
             OJC.7		Over	the	last	six	months	–	June	–	December	2018,	this	rate	has	averaged	at	
             about	83.9	percent.			However,	this	rate	is	still	below	the	January	2017	rate	of	
             92.9	percent.			
        o Percent	Within	8	Hours:	As	of	June	2018,	initial	custody	assessments	were	
             completed	within	the	first	eight	hours	of	booking	for	69	percent	(68.8%)	of	the	
             OPSO	inmates.		By	December	2018,	the	initial	custody	assessment	was	
             completed	within	eight	hours	of	booking	was	up	to	82.1	percent	of	the	inmates.						
        o Percent	Greater	Than	24	Hours:		As	of	June	2018,	the	lag	time	between	booking	
             and	the	initial	custody	assessment	was	more	than	24	hours	was	1.3	percent	of	
             the	inmates,	but	by	December	2018,	only	.5	percent	of	the	inmates	remained	in	
             booking	for	more	than	24	hours	prior	to	their	initial	classification.		



																																																								
7	 Custody	and	PREA	assessments	WERE	completed	for	all	inmates	prior	to	their	transfers	from	the	booking	
    area	to	OPSO	housing	units.		
	

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         Thus,	the	data	clearly	indicated	that	the	percentage	of	inmates	for	whom	an	initial	
classification	was	completed	has	stabilized	and	the	lag	time	between	booking	and	
classification	improved	significantly	during	this	compliance	period.		
             Figure	2:	2018	Rates	and	Completion	Time	for	Initial	Custody	Assessments	

    100.0%

    90.0%

    80.0%                                                                                             82.1%

    70.0%        67.9%
    60.0%

    50.0%
                 46.7%
                 43.3%
    40.0%

    30.0%

    20.0%
                                                                                                      17.4%
    10.0%        10.0%

     0.0%                                                                                             0.5%
         Jan-18     Feb-18 Mar-18 Apr-18 May-18 Jun-18        Jul-18   Aug-18 Sep-18 Oct-18 Nov-18 Dec-18

                 %	Initial	Classifications	       %	- 8	hrs            %	- 24	hrs       %	- 24+	hrs
                                                                                                              	
         	
         OPSO	has	created	a	new	initial	classification/housing	process	in	which	male	inmates	
are	housed	on	OJC	1-F	for	the	first	72	hours	of	their	incarceration.		The	classification	
specialist	completes	an	initial	classification	to	identify	the	custody	level,	PREA	
vulnerabilities,	separation	requirements,	etc.	prior	to	the	inmate’s	transfer	from	the	IPC	
booking	area	to	1-F.		This	process	was	created	to	facilitate	movement	of	the	inmates	(from	
the	booking	area	to	a	“general	population	bed,”	to	and	from	the	court	hearings,	releases,	
and	the	like)	thereby	reducing	the	workload	for	the	transfer	deputies.		From	a	classification	
perspective,	the	intake	housing	process	creates	greater	demands	as	two	initial	
classification	assessments	and	housing	transfer	forms	must	be	generated	for	each	inmate	
that	remains	in	OPSO	custody	for	more	than	72	hours.		The	classification	shift	supervisors,	
for	example,	have	the	added	duties	of	reviewing	the	housing	list	for	1-F,	generating	



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appropriate	housing	transfers,	and	providing	an	“orientation”	for	the	pod.		In	addition	to	
the	workload	demands,	the	new	process	creates	concerns	about	the	additional	risks	from	
the	assignment	of	Low,	Medium,	and	High	custody	inmates	with	different	PREA	
designations	to	the	same	housing	unit.	It	is	critical	that	the	pod	deputy	fully	adheres	to	the	
ISI	for	this	housing	unit	to	maintain	appropriate	separations	of	inmates	during	their	out-of-
cell	times.		
         Of	concern	was	the	observation	that	when	pressed	for	bed-space,	the	classification	
specialists	use	a	discretionary	override	of	the	scored	custody	level	in	order	to	assign	the	
inmate	to	a	bed.		These	overrides	appeared	to	be	initiated	in	order	to	transfer	low	custody	
inmates	from	“Booking”	to	the	new	intake	housing	unit,	1-F.		However,	at	least	in	some	
incidences,	the	overrides	of	the	scored	custody	level	were	continued	when	the	inmates	
were	transferred	from	1-F	(intake	housing)	to	a	general	population	housing	unit	and	bed.		
The	monthly	classification	indicated	that	while	the	rate	of	discretionary	overrides	
increased	for	November	and	December	over	previous	months	of	2018,	the	rates	were	well	
within	the	recommended	override	rates	of	5	to	15	percent.8		The	most	troubling	point	is	
that	“bed	availability”	is	NOT	a	legitimate	reason	for	a	discretionary	override	as	this	type	of	
override	is	not	an	adjustment	of	the	custody	level	according	to	the	risk	posed	by	the	
inmate.		Rather	than	overriding	the	inmates’	custody	levels	“to	fit	the	beds,”	there	may	need	
to	be	adjustments	to	the	housing	matrix	within	the	JMS	to	better	fit	the	custody	distribution	
of	the	OPSO	population.		
         The	Classification	Monitor	List	(List)	is	an	ad	hoc	report	that	identifies	all	inmates	for	
whom	a	custody	review	is	due	for	a	regular	90-day	re-assessment	or	because	of	some	
change	or	event	within	their	jail	records,	i.e.,	change	in	their	charge(s),	bail	amount,	
disciplinary	record,	detainer	lodged/lifted,	and/or	sentence.	The	number	of	inmates	on	the	
list	varies	throughout	a	day	according	to	the	flow	of	inmates	back	from	court,	through	the	
booking	process,	etc.	At	least	one	classification	specialist	is	assigned	to	the	task	of	
completing	the	custody	reviews	on	each	of	the	shifts.			The	average	number	of	inmates	
pending	a	custody	review	on	the	July	–	December	2018	Lists	was	only	18.04.		Further,	the	


																																																								
8	Austin,	James	and	Hardyman,	Patricia	L.	(2004)	“Objective	Prison	Classification:	A	Guide	for	Correctional	
Agencies.”	pp.	19.	Washington,	D.C:	National	Institute	of	Corrections.	


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majority	of	the	inmates	on	the	list	were	"New	Inmates"	in	some	stage	of	the	intake	
processing	rather	than	awaiting	a	custody	reclassification.		The	average	number	of	“New	
Inmates”	was	11.08	while	the	average	number	of	inmates	awaiting	reclassification	was	
6.96.				
            Following	Compliance	Report	#8,	OSPO	took	immediate	steps	to	work	with	CCS	to	
rebuild	the	linkages	between	the	medical/mental	health	records	and	JMS.			These	data	are	
important	for	seven	of	the	PREA	victimization	and	predation	risk	factors.		In	addition,	the	
medical/mental	health	information	is	critical	for	the	housing	assignments	for	the	inmates	
with	medical	and/or	mental	health	needs.		While	the	linkage	between	the	electronic	medical	
records	(ERMA)	and	the	JMS	to	provide	the	intake	data	has	been	completed,	the	
programming	to	generate	the	updates	throughout	the	inmate's	incarceration	is	still	
problematic.	Reliable	electronic	updates	to	the	JMS	re:	medic.al/mental	health	needs	data	
are	now	projected	to	be	available	by	early	Spring.	
            Observation	of	the	custody	assessments	completed	by	the	classification	specialists	
as	part	of	this	compliance	tour	visit	revealed	that	the	classification	specialists	are	correctly	
inputting	the	prior	criminal	history	data	into	the	JMS.		The	new	classification	specialists	
were	not	familiar	with	the	offense	and	disciplinary	severity	indexes	created	for	the	OPSO	
classification	system,	however	as	they	work	side-by-side	with	another	classification	
specialist	they	will	become	more	familiar	with	the	system.		Nonetheless,	it	is	critical	that	
both	electronic	and	hardcopy	versions	of	the	handbook	are	readily	available	for	all	of	the	
classification	specialists.	
            Observation	of	the	reclassification	process	indicated	that	the	classification	
specialists	are	reviewing	the	criminal	rap	sheets	for	the	custody	reviews.		Thus,	the	
reclassification	process	does	not	merely	rubber-stamp	the	initial	custody	assessments.		As	
previously	noted	that	the	discretionary	overrides	of	the	initial	custody	level	to	facilitate	the	
inmates’	move	to	1-F	from	the	Booking	area	were	not	corrected,	but	rather	continued	when	
the	inmate’s	custody	level	was	reviewed	for	his	transfer	from	1-F	to	a	general	population	
housing	unit.			The	classification	specialist	considered	closely	with	whom	the	"low	custody"	
inmate	with	the	custody	override	to	medium	custody	was	housed	but	disregarded	the	
scored	custody	level	and	left	the	custody	level	at	medium.		
	                                 	


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IV.A.10.e.	Continue	competency-based	training	and	access	to	all	supervisors	on	the	full	capabilities	of	the	
OPSO	classification	and	prisoner	tracking	system.			
	       	
        Finding:				Partial	Compliance	
        Observations:	
	       During	this	compliance	period,	the	two	new	classification	specialists	were	hired.		
Staff	reported	that	training	on	the	custody	and	PREA	assessment	instruments,	and	the	
OPSO	housing	matrix	were	provided.		However,	documentation	of	this	training	or	post-test	
competency	tests	were	not	available.		During	this	compliance	reporting	period,	no	in-
service	training	for	the	classification	specialists	was	provided.		The	quality	of	instruction	
provided	by	the	shift	supervisors/classification	manager	was	questionable	as	the	
classification	specialists	were	still	struggling	with	attachment	screens	and	were	not	
familiar	with	the	OPSO	offense	severity	and	disciplinary	indexes.		Again,	the	importance	of	
both	electronic	and	hardcopy	versions	of	the	handbook	are	readily	available	for	all	of	the	
classification	specialists	was	apparent.	While	the	system	is	highly	automated	within	the	
JMS,	the	automation	should	not	be	expected	to	replace	the	staff’s	understanding	of	the	
underlying	risk	factor	scoring.			
IV.A.10.f.	Conduct	internal	and	external	review	and	validation	of	the	classification	and	prisoner	tracking	
system	on	at	least	an	annual	basis.	
	
        Finding:			Substantial	Compliance	
        Observations:	
        OPSO	population	sheet	that	tracks	the	number	of	inmates	by	location	were	received	
daily.		Custodial	statistical	reports	for	June	–	September	2018	as	to	the	number	of	custody	
assessments	by	type,	gender	and	population	were	submitted.	These	reports	enable	the	
Monitors	to	monitor	the	timeliness	of	the	initial	custodial	assessments;	the	custody	
distributions;	housing	monitor	lists	(i.e.,	the	log	of	cases	due	for	a	custody	re-assessment);	
the	prevalence	of	special	populations;	as	well	as	the	rates	and	types	of	disciplinary	
infractions.	OPSO	modified	its’	document	submittal	process	to	exclude	standardized	
monthly	statistical	reports	for	October	–	December.		Although	the	custodial	and	
disciplinary	reports	were	collected	as	part	of	the	compliance	tour,	this	new	submittal	



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process	hampers	the	ongoing	ability	to	track	the	system	and	diverts	attention	onsite	from	
actual	observation	of	the	classification	processes.		
        Housing	audit	score	sheets	were	submitted	for	July	–	November	2018	documenting	
that	the	housing	audit	process	has	been	re-started.			The	audits	suggested	that	the	inmates	
are	housed	according	to	bed	assignments	generated	by	the	classification	unit.		The	audit	
sheets	indicated	only	one,	perhaps	two	incidents,	in	which	inmates	were	not	in	their	
assigned	beds.	Audits	were	conducted	of	the	open	dormitories	as	well	as	the	pods	with	
cells.		OPSO	has	expanded	the	audit	process	to	include	audits	by	the	corrections	security	
staff9	on	the	night	shifts	as	well	as	by	a	classification	specialist.		While	the	audits	conducted	
by	the	classification	specialist	were	complete,	the	audits	by	the	corrections	security	staff	
were	not.		No	summary	or	analyses	of	the	audits	was	generated	by	OPSO;	nor	were	the	
supervisors	aware	of	the	missing	data/incomplete	audits.		
        Regardless	of	who	is	assigned	responsibility	for	conducting	the	housing	audits,	
written	procedures	for	the	housing	audit	process	based	on	the	updated	the	audit	score-
sheets	should	be	developed	and	provided	to	all	staff	participating	in	the	audit	process.		The	
written	procedures	for	the	housing	audit	process	as	to	the	schedule,	time	of	day,	staff	
responsible,	audit	worksheet	instructions,	OPSO	housing	units	to	be	audited,	and	summary	
analyses.	
        As	part	of	the	ongoing	classification	and	housing	processes,	the	classification	shift	
supervisor	reviews	the	JMS	reports	to	identify	placement	errors	and	ISI	separation	
conflicts.		Errors	are	corrected	immediately.		Thus,	the	housing	separation	errors	detected	
by	the	JMS	are	resolved	quickly	to	prevent	conflicts	and	enhance	staff	and	inmate	safety.		
However,	reliance	on	automated	housing	violation	reports	to	detect	housing	and	custody	
assessment	errors	is	insufficient	to	ensure	institutional	safety	and	security.			
        Documentation	of	the	internal	 auditing/quality	control	 process	was	provided	for	
July	-	December	2018.		The	logs	indicate	67	custody	assessments	were	randomly	selected	
for	auditing;	this	represented	about	.54%	of	the	12,455	custody	assessments	completed	

																																																								
9	OPSO	has	assigned	partial	responsibility	for	the	housing	audits	to	the	Unit	Managers	as	part	of	their	role	of	
maintaining	the	integrity	of	housing	and	separations	within	the	pods.	This	idea	has	merit	as	ensuring	inmates	
are	in	their	assigned	cells	and	bunks	are	fundamental	tasks	for	the	Unit	Managers.		However,	the	
Classification	Unit	maintains	overall	responsibility	for	the	housing	assignment	and	audit	processes.	


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during	this	six-month	period.	This	low	rate	of	audits	is	troubling	as	the	October	audit	log	
listed	a	total	of	14	custody	assessments	audited	(10	were	“errors	discovered”	and	4	
“randomly	selected”	for	audit.	No	“errors	discovered”	were	reported	for	the	other	months.				
         OPSO	contracted	with	Dr.	Edward	Latessa	and	Dr.	Brian	Lovins	(University	of	
Cincinnati)	for	revalidation	of	the	classification	system	as	required	by	the	Consent	
Judgment.		The	final	report	was	submitted	to	the	OPSO	on	April	30,	2018.10		This	validation	
study	serves	as	documentation	of	the	CJ	requirement	for	“external	review	and	validation	of	
the	classification	and	prisoner	tracking	system	on	at	least	an	annual	basis.”	Although	
statistical	validation	of	an	objective	classification	system	is	generally	recommended	every	
three	to	five	years,11	continuous	monitoring	and	process	evaluation	are	essential	for	
ensuring	the	integrity	of	the	system	for	the	OPSO	current	inmate	population.	
         	
IV.A.10.g.	Provide	the	Monitor	a	periodic	report	on	classification	at	the	Facility.		These	periodic	reports	shall	
be	provided	to	the	Monitor	within	four	months	of	the	Effective	Date	and	every	six	months,	thereafter,	until	
termination	of	this	Agreement.		Each	report	will	include	the	following	information:	
         (1)     number	of	prisoner-on-prisoner	assaults;				
         (2)     number	of	assaults	against	prisoners	with	mental	illness;	
         (3)     number	of	prisoners	who	report	having	gang	affiliations;	
         (4)     most	serious	offense	leading	to	incarceration;	
         (5)     number	of	prisoners	classified	in	each	security	level;	
         (6)     number	of	prisoners	placed	in	protective	custody;	and		
         (7)     number	of	misconduct	complaints.		
         	
         Finding:			Substantial	compliance	
         Observations:		
         Monthly	custodial,	discipline	and	inmate	statistical	reports	were	reviewed	for	June	–	
December	2018.		OPSO	has	developed	reports	to	track	the	statistics	as	required	under	
section	IV.A.10.g.	The	only	exception	is	the	rates	of	victimization	of	inmates	on	the	mental	
health	caseload.		As	noted	earlier,	these	data	are	dependent	upon	timely	information	from	
the	mental	health	provider.		
         Updated	data	for	the	inmates	with	gang	affiliations	were	input	to	the	JMS	
throughout	the	compliance	period.		OPSO,	NOPD,	and	the	Orleans	Parish	Office	of	the	
																																																								
10	Lovins,	Brian	K.	and	Edward	Latessa	(April	30,	2018).	“Revalidation	of	the	Orleans	Parish	Classification	

   System.”	Cincinnati,	Ohio:	University	of	Cincinnati	Corrections	Institute.	
11	Austin,	James	and	Hardyman,	Patricia	L.	(2004)	“Objective	Prison	Classification:	A	Guide	for	Correctional	
Agencies.”	Washington,	D.C.:	National	Institute	of	Corrections.	pp.	iv.	


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District	Attorney	have	created	an	ongoing	process	for	notifying	the	OPSO	of	offenders	
identified	as	members	of	a	“gang.”	Thus,	these	data	are	available	to	track	the	prevalence	of	
inmates	per	“gang”	among	OPSO	populations	as	well	as	by	location	(i.e.,	tier,	side,	and	bed).		
            Figure	3	provides	the	OPSO	monthly	disciplinary	data	as	recorded	in	the	JMS.		The	
number	of	disciplinary	reports	has	fluctuated	over	the	last	12	months	--	January	-	
December	2018.		These	fluctuations	appear	to	mirror	the	fluctuations	in	the	OPSO	average	
daily	population	(ADP).		Overall,	the	trend-line	for	the	number	of	formal	disciplinary	
reports	written	per	month	indicates	a	decline	in	the	number	of	disciplinary	reports.		On	the	
other	hand,	the	rate	of	infractions	with	a	finding	of	guilt	held	steady	at	about	88	percent	
throughout	the	year.		
                      Figure	3:	Numbers	of	Total	and	Guilty	Disciplinary	Infractions:	2018	


    350

    300

    250
          231
    200 188                                                                                                         209

    150                                                                                                             147

    100

     50

      0
      Jan-18        Feb-18   Mar-18     Apr-18     May-18    Jun-18   Jul-18   Aug-18   Sep-18   Oct-18   Nov-18   Dec-18

                                                 Findings	of	Guilt       N	of	Dispositions
                                                                                                                            	
            	
            Figure	4	illustrates	the	rate	of	disciplinary	infractions	among	the	OSPO	inmate	
population	during	2018.	The	rates	of	predatory	(e.g.,	assaults	or	battery)	and	aggressive	
behaviors	(e.g.,	fights	or	threats)	based	on	the	OSPO	ADP	were	fairly	constant	over	the	12-
month	period.		In	January	2018,	for	example,	2.6	percent	of	the	inmates	were	found	guilty	
of	a	predatory	infraction;	2.0	percent	were	found	guilty	of	an	aggressive	infraction,	in	
December	2018,	2.2	percent	were	found	guilty	of	a	predatory	infraction	and	2.5	percent	of	
an	aggressive	infraction.		Overall,	although	the	rates	changed	little	over	this	12-month	



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period.		On	average	17.2	percent	of	the	inmates	were	written	up	for	a	disciplinary	
infraction	per	month;	14.7	were	found	guilty	of	a	disciplinary	infraction.		For	this	
compliance	period	(July	-	December,	there	was	a	decrease	in	the	percentage	of	inmates	
with	a	predatory	infraction,	1.8	percent	from	2.3	for	January	–	June.		The	rate	of	aggressive	
infractions	was	2.5	percent	for	July	–	December	compared	to	2.6	percent	for	January	–	June	
2018.	
    Figure	4:	Rate	of	Disciplinary	Infractions	Among	OPSO	Average	Daily	Population	–	2018	
	

    25.0%



    20.0%
                                                                                                                          17.8%
                    15.9%
    15.0%
                    13.0%                                                                                                 12.5%

    10.0%



    5.0%

                    2.6%                                                                                                  2.5%
                                                                                                                          2.2%
                    2.0%
    0.0%
        Jan-18         Feb-18   Mar-18    Apr-18   May-18      Jun-18   Jul-18   Aug-18        Sep-18   Oct-18   Nov-18   Dec-18

                     Rate	of	DR	in	OPSO            Rate	of	Guilt           Rate	of	Predatory              Rate	of	Aggrn

                                                                                                                                   	
            	
            Figure	5	provides	a	breakdown	of	the	most	serious	type	of	infraction	of	which	the	
inmate	was	found	guilty	during	2018.	The	numbers	of	predatory	(assaults	or	battery)	and	
aggressive	behaviors	(i.e.,	fights	or	threats)	dropped	during	the	last	six	months	of	2018.	For	
example,	the	average	number	of	predatory	infractions	for	July	–	December	was	
22.3/month;	for	January	–	June,	the	average	number	of	predatory	infractions	per	month	
was	31.			A	similar	pattern	was	observed	for	the	aggressive	infractions,	the	average	number	
of	aggressive	infractions	for	July	–	December	was	30.7/month;	for	January	–	June,	the	
average	number	of	predatory	infractions	per	month	was	35.3.		Clearly,	the	numbers	of	



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management	problem	and	disruptive	behaviors	fluctuated	throughout	the	12-month	
period	--	January	-	December	2018.	
     Figure	5:	Types	of	Disciplinary	Infractions	of	which	OPSO	Inmates	were	Found	Guilty		-	
                                               2018	

    300


    250
                                                         79            44
    200                                                         46
                                  38
                       28                  30
            34
    150                                            19
                                                                                27                   15
                                                                       126             43    17
                              102          84            124   120
            84        102                          70
    100                                                                                              77
                                                                                89     56    70

    50      29                    35       48      37                  42
                       30                                33     34                           28      29
                                                                                16     35
            38         30         30       30      32    26     24     26                    23      26
                                                                                19     16
     0
                1       2         3            4   5      6     7       8       9      10    11      12

                    #	Predatory         #	Aggressive    #	Management    #	Disruptive    #	Nuisance
                                                                                                          	
	
	
IV.A.10.h.	OPSO	shall	review	the	periodic	data	report	and	make	recommendations	regarding	proper	
placement	consistent	with	this	Agreement	or	other	necessary	changes	in	policy	based	on	this	review.		The	
review	and	recommendations	will	be	documented	and	provided	to	the	Monitor.	
	
           Finding:	Partial	Compliance	
           	
           Observations:		
           The	Monitor	receives	the	daily	“Active	Inmates	by	Location”	report.			During	this	
compliance	period,	there	was	little	dialogue	between	the	Monitor	and	OPSO.		The	Monitor	
no	longer	receives	the	monthly	statistical	reports	and	as	previously	indicted	this	creates	
challenges	for	monitoring	the	system.	Further,	there	appeared	to	be	little	independent	
analyses	of	the	data.			
	                                          	




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IV.	A.	11.		     Prisoner	Grievance	Process	
	
A.	11.a.	OPSO	shall	ensure	that	prisoners	have	a	mechanism	to	express	their	grievances,	resolve	disputes,	and	
ensure	that	concerns	regarding	their	constitutional	rights	are	addressed.		OPSO	shall,	at	a	minimum,	do	the	
following:	
         (1)	    Continue	to	maintain	policies	and	procedures	to	ensure	that	prisoners	have	access	to	an	
                 adequate	grievance	process	and	to	ensure	that	grievances	may	be	reported	and	filed	
                 confidentially,	without	requiring	the	intervention	of	a	correctional	officer.		The	policies	and	
                 procedures	should	be	applicable	and	standardized	across	all	the	Facility	divisions.	
         (2)	    Ensure	that	each	grievance	receives	appropriate	follow-up,	including	providing	a	timely	
                 written	response	and	tracking	implementation	of	resolutions.	
         (3)	    Ensure	that	grievance	forms	are	available	on	all	units	and	are	available	in	Spanish	and	
                 Vietnamese	and	that	there	is	adequate	opportunity	for	illiterate	prisoners	and	prisoners	who	
                 have	physical	or	cognitive	disabilities	or	language	barriers	to	access	the	grievance	system.	
         (4)	    Separate	the	process	of	“requests	to	staff”	from	the	grievance	process	and	prioritize	
                 grievances	that	raise	issues	regarding	prisoner	safety	or	health.	
         (5)	    Ensure	that	prisoner	grievances	are	screened	for	allegations	of	staff	misconduct	and,	if	an	
                 incident	or	allegation	warrants	per	this	Agreement,	that	it	is	referred	for	investigation.			
         (6)	    A	member	of	the	management	staff	shall	review	the	grievance	tracking	system	quarterly	to	
                 identify	areas	of	concerns.		These	reviews	and	any	recommendations	will	be	documented	
                 and	provided	to	the	Monitor.	
	
        Finding:			Partial	Compliance	
        	
        Observations:		
                 Inmates	have	access	to	the	grievance	process	via	electronic	kiosks	located	in	
        housing	units.		In	the	four	units	in	which	the	kiosks	are	inoperable,	and	beyond	
        repair,	(4E,	4F,	2F,	and	3E),	staff	are	required	to	visit	the	units	daily	to	retrieve	
        grievances	written	forms.		This	strategy	compromises	the	confidentiality	of	the	
        process.	OPSO	is	negotiating	a	new	contract	to	provide	upgraded	kiosks	in	the	
        housing	units.		Grievance	forms	are	available	on	all	units,	as	determined	by	
        observation,	interviews	with	inmates,	and	interviews	with	staff.			
                 The	staff	assigned	to	grievance	section	are	commended	for	the	files	and	data	
        they	manage,	and	the	trending	of	data	they	conduct.		The	information	includes	the	
        number	and	type	of	grievances	received,	staff	who	are	behind	in	their	responses,	
        and	trends	for	the	previous	three	months.			For	the	first	eleven	months	of	2018,	
        more	than	4,200	grievances	were	received.		The	largest	number	of	grievances,	25%,	
        are	a	category	named	“facility	grievable	(miscellaneous)”.			Medical	and	mental	
        health	grievances	accounted	for	24%	of	grievances.		(See	Sections	B.	and	C.	for	a	
        discussion	of	medical	grievances.)	Annualizing	the	2018	data,	it	appears	that	the	
        number	of	grievances	are	down	when	compared	to	2017.			


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            The	grievance	section	also	manages	inmate	“requests”,	which	totaled	27,109	
     for	June	–	November	2018.		The	categories	of	the	largest	number	of	these	requests	
     are:		medical,	classification,	environmental	conditions,	facility	grievances	
     (miscellaneous),	inmate	programs,	legal	and	records.				Grievances	and	requests	are	
     separated.		Inmates	appear	to	not	always	be	clear	about	what	constitutes	a	
     grievance	and	what	constitutes	a	request	(and	in	some	cases	a	medical	request	for	
     service).		There	are	grievances	which	may	be	classified	as	requests,	and	requests	
     that	are	actually	grievances.		With	the	implementation	of	an	upgraded	automated	
     system	(new	contractor)	perhaps	the	confusion	may	be	eliminated;	and	as	deputies	
     working	in	direct	supervision	units	are	equipped	with	information	and	access	to	
     things	such	as	uniforms,	bedding,	indigent	supplies,	etc.	to	manage	their	units,	the	
     numbers	of	requests/grievances,	will	decline.	
            The	staff	of	the	grievance	section	log	and	assign	grievances	to	staff	to	
     respond.			Each	grievance	receives	a	response.		Review	of	a	sample	of	grievances	
     shows	that	not	all	the	responses	are	directly	on-point	to	the	grievance,	not	solving	
     the	issue.			For	example,	reviewing	grievance	responses	identified	that	for	the	same	
     date,	one	unit	manager	responded	to	several	inmates’	grievances	about	getting	
     shorts,	that	OPSO	does	not	issue	shorts;	while	another	Unit	Manager	noted	that	the	
     shorts	have	been	issued.				Assessing	if	the	grievance	response	is	correct	and	
     assuring	a	correct	response	is	provided	is	not	the	responsibility	of	the	grievance	
     staff,	although	they	are	conducting	qualitative	reviews	of	responses	which	promise	
     future	improvements.		Other	responses	reviewed	did	not	address	the	inmate’s	
     grievance,	either	just	restating	the	response	or	just	not	answering	the	issue.		While	
     the	process	exists,	it	does	not	consistently	resolve	issues	or	track	implementation	of	
     resolutions.	
            Evidence	was	provided	that	grievances	alleging	misconduct	or	threats	are	
     referred	to	ISB	for	immediate	action.		
            Monthly	and	quarterly	reports	regarding	grievances	are	provided	to	OPSO	
     leadership,	as	evidenced	by	copies	of	email	transmissions.			Documentation	was	not	
     provided	–	that	being	memoranda,	minutes	of	meetings,	directives,	etc.	evidencing	
     that	“A	member	of	the	management	staff	shall	review	the	grievance	tracking	system	


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        quarterly	to	identify	areas	of	concerns.		These	reviews	and	any	recommendations	
        will	be	documented	and	provided	to	the	Monitor.”		
IV.	A.	12.		Sexual	Abuse		
    	
A.12.	OPSO	will	develop	and	implement	policies,	protocols,	trainings,	and	audits,	consistent	with	the	
requirements	of	the	Prison	Rape	Elimination	Act	of	2003,	42	U.S.C.	§	15601,	et	seq.,	and	its	implementation	of	
regulations,	including	but	not	limited	to,	preventing,	detecting,	reporting,	investigating,	and	collecting	sexual	
abuse	data,	including	prisoner-on-prisoner	and	staff-on-prisoner	sexual	abuse,	sexual	harassment,	and	sexual	
touching.	
    	
    Finding:		Partial	Compliance	
       	
       Observations:	
                 OPSO	reports	that	it	anticipates	having	the	PREA	audit	before	the	next	
        scheduled	Monitors’	tour	(https://www.prearesourcecenter.org/audit	)		When	the	
        audit	process	is	successfully	completed,	this	provision	will	gain	substantial	
        compliance.	
IV.	A.	13.		     Access	to	Information		
	
A.13.	OPSO	will	ensure	that	all	newly	admitted	prisoners	receive	information,	through	an	inmate	handbook	
and,	at	the	discretion	of	the	Jail,	an	orientation	video,	regarding	the	following	topics:		understanding	Facility	
disciplinary	process	and	rules	and	regulations;	reporting	misconduct;	reporting	sexual	abuse	or	assault;	
accessing	medical	and	mental	health	care;	emergency	procedures;	and	sending	and	receiving	mail;	
understanding	the	visitation	process;	and	accessing	the	grievance	process.	
        	
        Findings:		Substantial	Compliance	 		
	       	
        Observations:		
                 Materials	were	provided	indicating	the	requirements	of	this	paragraph	have	
        been	met.	
	
	                                  	




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IV.	B.	Mental	Health	Care	and	C.	Medical	Care	
	
Introduction	
	
      The	Monitors	have	consistently	reported	their	concerns	and	recommendations	
regarding	the	requirements	of	the	Consent	Judgment.		During	site	visits,	and	in	reports,	the	
Monitors	provided	recommendations	to	attain	and	maintain	Substantial	Compliance	with	
the	Consent	Judgment	and	Stipulated	Agreements.			The	Monitors	have	provided	technical	
assistance	via	conference	calls	and	on-site	visits	to	assist	and	support	necessary	
development	and	implementation.	The	Mental	Health	Monitor	has	had	conference	calls	
with	OPSO	and	CCS/Wellpath	since	the	last	monitor’s	tour	(June	2018),	including	an	on-site	
visit	in	December	2018.		
       to	participate	in	meetings	to	review	the	plans	and	discuss	options	for	the	temporary	
housing	of	mentally	ill	prisoners	considering	the	forthcoming	unavailability	of	Hunt	and	
before	Phase	III	is	completed.	
       As	with	past	reports,	the	Monitors	rate	compliance	levels	based	on	the	documents	
requested	and	reviewed,	observations	and	discussions	during	on-site	visits,	review	of	
medical	records,	and	any	additional	information	provided	by	the	parties.	
	      The	Monitors	are	pleased	to	report	significant	improvement	in	performance	in	
many	areas	of	the	Consent	Judgment.	The	contributing	factors	for	these	improvements	are	
the	current	leadership	by	the	Independent	Compliance	Director,	OPSO	executive	staff,	and	
Wellpath’s	local	and	regional	clinical	leadership	at	OJC	and	Hunt.		The	addition	of	the	
Tulane	Department	of	Psychiatry	staff	and	leadership	is	an	invaluable	asset	in	providing	
required	and	consistent	psychiatric	services	for	prisoners	at	OJC.		There	is	positive	
progress	with	Tulane’s	interface	with	Wellpath.		There	are	efforts	to	improve	the	real-time	
support	and	supervision	by	OPSO	to	provide	dedicated	deputies	and	space	for	the	mental	
health	and	medical	staff	to	be	able	to	perform	their	duties	and	responsibilities.	OPSO’s	
accommodations	are	essential	and	vital	to	provide	inmates	access	to	constitutionally	
adequate	care	and	treatment	and	to	attain	and	maintain	compliance.	
	      Several	paragraphs	remain	in	non-compliance	where	necessary	improvements	are	
required	by	the	Consent	Judgment	to	provide	the	full	range	and	quality	of	medical	care	and	
mental	health/counseling	services	for	inmates	incarcerated	in	OJC	and	Hunt.		These	


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concerns	are	deeply	impacted	by	the	lack	of	progress	in	developing	the	required	services	
and	programs	recommended	in	2014,	including	permanent	acute	care	and	step-down	
programing	and	services	for	mental	health	and	acute	medical	services.	
        General	recommendations:	
        1)       Continue	leadership,	initiatives,	and	direction	by	OPSO	and	Wellpath;	
        2)       Increase	correctional	security	staffing	to	provide	adequate	and	ongoing	
                 dedicated	support	for	mental	health	and	medical	services	consistently;	
        3)       Continue	to	develop	full	services	and	continuity	of	services	for	male	and	
                 female	prisoners	including	all	levels	of	care,	staffing	and	space;	and	
        4)       Continue	to	evaluate	and	pursue	full	services	for	mentally	ill	prisoners,	
                 including	medication	management,	and	acute,	residential,	and	outpatient	
                 care.	
Specific	findings	and	recommendations	regarding	mental	health	services	are	provided	
below.	
IV.	B.		Mental	Health	Care	
		
B.		OPSO	shall	ensure	constitutionally	adequate	intake,	assessment,	treatment,	and	monitoring	of	prisoners’	
mental	health	needs,	including	but	not	limited	to,	protecting	the	safety	of	and	giving	priority	access	to	
prisoners	at	risk	for	self-injurious	behavior	or	suicide.		OPSO	shall	assess,	on	an	annual	or	more	frequent	
basis,	whether	the	mental	health	services	at	OPP	comply	with	the	Constitution.		In	order	to	provide	mental	
health	services	to	prisoners,	OPSO,	at	a	minimum,	shall:	
	
B.1.a.	Develop	and	maintain	comprehensive	policies	and	procedures	for	appropriate	screening	and	
assessment	of	prisoners	with	mental	illness.		These	policies	should	include	definitions	of	emergent,	urgent,	
and	routine	mental	health	needs,	as	well	as	timeframes	for	the	provision	of	services	for	each	category	of	
mental	health	needs.	

        Finding:		Substantial	Compliance	
                 During	the	site	visit	Wellpath	demonstrated	improved	efforts	to	provide	
        consistent	response	timelines,	however	implementation	of	the	proposed	and	newly	
        initiated	timelines	has	not	been	measured.	
        Recommendation:		Wellpath	has	different	timeframes	for	timeliness	of	responses;	
        suggest	review	and	revise	for	consistency.	
B.1.b.	Develop	and	implement	an	appropriate	screening	instrument	that	identifies	mental	health	needs,	and	
ensures	timely	access	to	a	mental	health	professional	when	presenting	symptoms	require	such	care.		The	
screening	instrument	should	include	the	factors	described	in	Appendix	B.		The	screening	instrument	will	be	
validated	by	a	qualified	professional	approved	by	the	Monitor	within	180	days	of	the	Effective	Date	and	every	
12	months	thereafter,	if	necessary.	


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	       Finding:		Substantial	Compliance	
	
B.1.c.	Ensure	that	all	prisoners	are	screened	by	Qualified	Medical	Staff	upon	arrival	to	OPP,	but	no	later	than	
within	eight	hours,	to	identify	a	prisoner’s	risk	for	suicide	or	self-injurious	behavior.		No	prisoner	shall	be	
held	in	isolation	prior	to	an	evaluation	by	medical	staff.	

        Finding:		Substantial	Compliance	
	
                 The	annual	review	of	the	screening	instrument	has	been	implemented	and	
        Wellpath	appropriately	validated	on	March	6,	2019.	
        	
B.1.d.	Implement	a	triage	policy	that	utilizes	the	screening	and	assessment	procedures	to	ensure	that	
prisoners	with	emergent	and	urgent	mental	health	needs	are	prioritized	for	services.	
	
        Finding:		Substantial	Compliance	
        	
              The	triage	policy	has	been	implemented.	Inmates	in	IPC	are	seen	within	6	
        hours,	with	priorities	sooner.	Wellpath	has	provided	data.	
	
B.1.e.	Develop	and	implement	protocols,	commensurate	with	the	level	of	risk	of	suicide	or	self-harm,	to	
ensure	that	prisoners	are	protected	from	identified	risks	for	suicide	or	self-injurious	behavior.		The	protocols	
shall	also	require	that	a	Qualified	Mental	Health	Professional	perform	a	mental	health	assessment,	based	on	
the	prisoner’s	risk.		
	
        Finding:		Partial	Compliance	
        	
              The	Columbia	Suicide	Risk	Assessment	with	Wellpath	modifications	is	in	use.	
        Additional	changes	were	recommended	by	Tulane	during	the	site	visit.	
        Recommendation:	Provide	documentation	and	analysis	of	completion	and	
        consistent	use	of	the	Columbia	Suicide	Risk	Assessment	with	modifications.	
	
B.1.f.	For	prisoners	with	emergent	or	urgent	mental	health	needs,	search	the	prisoner	and	monitor	with	
constant	supervision	until	the	prisoner	is	transferred	to	a	Qualified	Mental	Health	Professional	for	
assessment.	
	
        Finding:		Partial	Compliance	
        	
              The	staff	and	inmates	report	the	practice	is	to	hold	inmates	in	front	of	the	
        deputies’	work	station	until	transported	to	medical	or	a	QMHP	arrives.	There	needs	
        to	be	better	documentation	of	constant	supervision	and	searches.	




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        Recommendation:	Provide	documentation	of	searches	and	constant	supervision	by	
        corrections	security	staff	until	mental	health	staff	arrives	and	conducts	assessment.	
	
B.1.g.	Ensure	that	a	Qualified	Mental	Health	Professional	conducts	appropriate	mental	health	assessments	
within	the	following	periods	from	the	initial	screen	or	other	identification	of	need:			
         (1)     14	days,	or	sooner,	if	medically	necessary,	for	prisoners	with	routine	mental	health	needs;		
         (2)     48	hours,	or	sooner,	if	medically	necessary,	for	prisoners	with	urgent	mental	health	needs;	
                 and		
         (3)     immediately,	but	no	later	than	two	hours,	for	prisoners	with	emergent	mental	health	needs.		
	
        Finding:		Partial	Compliance	
        	
        Recommendation:	Provide	documentation	that	inmates	in	population	(after	IPC)	
        receive	appropriate	assessments	within	these	required	timeframes.	
	
B.1.h.	Ensure	that	a	Qualified	Mental	Health	Professional	performs	a	mental	health	assessment	no	later	than	
the	next	working	day	following	any	adverse	triggering	event	(i.e.,	any	suicide	attempt,	any	suicide	ideation,	or	
any	aggression	to	self	,	resulting	in	serious	injury).	
	
        Finding:		Substantial	Compliance	
                 The	increased	staffing	and	coverage	by	Wellpath	and	Tulane	has	improved	
        the	timeliness	of	responses	to	adverse	triggering	events.	
        Recommendation:			
        Continue	the	process,	and	documentation	and	analysis	of	timeliness	of	responses	to	
        adverse	triggering	events	as	defined.		
B.1.i.	Ensure	that	a	Qualified	Mental	Health	Professional,	as	part	of	the	prisoner’s	interdisciplinary	treatment	
team,	maintains	a	risk	profile	for	each	prisoner	on	the	mental	health	case	load	based	on	the	Assessment	
Factors	identified	in	Appendix	B,	and	develops	and	implements	a	treatment	plan	to	minimize	the	risk	of	harm	
to	each	of	these	prisoners.	
	
        Finding:	Partial	Compliance	
	
        Recommendation:	Provide	documentation	of	timeliness	of	treatment	plans	for	all	
        inmates	on	the	mental	health	caseload	including	risk	profiles.	

B.1.j.	Ensure	adequate	and	timely	treatment	for	prisoners,	whose	assessments	reveal	mental	illness	and/or	
suicidal	ideation,	including	timely	and	appropriate	referrals	for	specialty	care	and	visits	with	Qualified	Mental	
Health	Professionals,	as	clinically	appropriate.	

        Finding:	Partial	Compliance	
	



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                 The	timeliness	and	adequacy	of	treatment	has	improved	for	inmates	in	the	
        area	of	psychiatric	services,	including	individual	counseling/treatment,	and	is	
        slowly	improving	for	group	therapies;	however,	the	services	are	not	yet	adequate	
        for	the	total	population	in	need,	particularly	female	inmates.	The	inadequate	
        security	staffing,	and	lack	of	adequate	space	for	programs	adversely	impacts	access	
        to	treatment	services.		
        Recommendation:	Provide	documentation	of	scheduled	and	completed	adequate	
        and	timely	treatment	for	inmates	including	individual	and	group	treatments,	and	
        referrals	for	specialty	services	for	male	and	female	inmates.	
        	
B.1.k.	Ensure	crisis	services	are	available	to	manage	psychiatric	emergencies.		Such	services	include	licensed	
in-patient	psychiatric	care,	when	clinically	appropriate.	

        Finding:	Non-Compliance	
        Recommendation:	OPSO	does	not	have	access	to	any	inpatient	services	for	female	
        inmates	and	access	to	non-licensed	acute	care	services	for	male	inmates	at	Hunt.	
        Provide	documentation	that	all	psychiatric	emergencies	are	sent	to	an	emergency	
        department	and	the	crisis	is	adequately	resolved.	Provide	documentation	that	all	
        inmates	have	access	to	licensed	inpatient	psychiatric	care,	when	clinically	
        appropriate.	
	
B.1.l.	On	an	annual	basis,	assess	the	process	for	screening	prisoners	for	mental	health	needs	to	determine	
whether	prisoners	are	being	appropriately	identified	for	care.		Based	on	this	assessment,	OPSO	shall	
recommend	changes	to	the	screening	system.		The	assessment	and	recommendations	will	be	documented	and	
provided	to	the	Monitor.	
	
        Finding:		Substantial	Compliance	
        	
              Annual	report	was	provided	by	Wellpath	on	March	6,	2019;	analysis	was	the	
        screening	process	is	working	well	and	inmates	are	being	appropriately	identified	for	
        care.		OPSO	in	its	annual	report	did	not	recommend	changes.	
        Recommendation:	Continue	to	provide	report	of	annual	assessment	and	
        recommendations	of	the	process	for	screening	inmates	for	mental	health	needs	to	
        determine	whether	inmates	are	being	appropriately	identified	for	care.		
	                                 	



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IV.	B.	2.	Treatment	
	
B.2.a.	Review,	revise,	and	supplement	its	existing	policies	in	order	to	implement	a	policy	for	the	delivery	of	
mental	health	services	that	includes	a	continuum	of	services,	provides	for	necessary	and	appropriate	mental	
health	staff,	includes	a	treatment	plan	for	prisoners	with	serious	mental	illness,	and	collects	data	and	contains	
mechanisms	sufficient	to	measure	whether	care	is	being	provided	in	a	manner	consistent	with	the	
Constitution.	
	
        Finding:	Partial	Compliance	
	
        Recommendation:	Wellpath	and	OPSO	have	completed	the	majority	of	necessary	
        policies.	Suggest	revision	and	completion	of	incomplete	policies/procedures	
        regarding	services	for	use	of	clinical	restraints,	continuum	of	services	for	female	
        inmates	and	counseling	services	for	specific	groups	identified	in	this	Consent	
        Judgment.	
	
B.2.b.	Ensure	that	treatment	plans	adequately	address	prisoners’	serious	mental	health	needs	and	that	the	
treatment	plans	contain	interventions	specifically	tailored	to	the	prisoner’s	diagnoses	and	problems.	
	
        Finding:	Partial	Compliance	
	
        Recommendation:	Continue	very	good	progress	on	documentation	in	treatment	
        plans	at	OJC.	Provide	documentation	of	additional	training	and	quality	management	
        review	of	treatment	plans	at	Hunt.	
	
B.2.c.	Provide	group	or	individual	therapy	services	by	an	appropriately	licensed	provider	where	necessary	for	
prisoners	with	mental	health	needs.	
	
        Finding:	Partial	Compliance	
                 Inmates	on	the	identified	mental	health	caseload	are	receiving	more	group	
        and	individual	services,	however	other	specific	populations	as	identified	in	this	
        Consent	Judgement	are	not	receiving	the	required	services,	The	staffing	and	space		 	
        deficiencies	continue	and	will	continue	to	adversely	impact	the	delivery	of	services		 	
        until	adequately	remedied.	
        Recommendation:	Provide	documentation	of	data	and	analysis	of	numbers	and	
        percentages	of	inmates	in	need	of	individual	and/or	group	therapies	and	counseling,	
        and	numbers	and	percentages	of	individual	and	group	services	offered	and	



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        received/completed	for	inmates	in	need.	Continue	and	expand	impressive	data	on	
        Disruption	of	Services	forms,	and	provide	analysis	of	that	data	and	corrective	action	
        plans.	
	
B.2.d.	Ensure	that	mental	health	evaluations	that	are	done	as	part	of	the	disciplinary	process	include	
recommendations	based	on	the	prisoner's	mental	health	status.	

        Finding:	Non-	Compliance	
	
        Recommendation:	Provide	documentation	that	ensures	mental	health	evaluations	
        are	done	as	part	of	the	disciplinary	process	and	include	recommendations	based	on	
        the	inmate’s	mental	health	status.	
	
B.2.e.	Ensure	that	prisoners	receive	psychotropic	medications	in	a	timely	manner	and	that	prisoners	have	
proper	diagnoses	and/or	indications	for	each	psychotropic	medication	they	receive.	
	
        Finding:	Partial	Compliance	
	
        Recommendation:	Continue	very	good	improvement	demonstrated	with	the	
        addition	of	Tulane	psychiatric	providers.	Provide	documentation	and	analysis	of	
        data	that	inmates	receive	psychotropic	medications	in	a	timely	manner	and	that	
        inmates	have	proper	diagnosis	and/or	indications	for	each	psychotropic	medication	
        they	receive.	
	
B.2.f.	Ensure	that	psychotropic	medications	are	administered	in	a	clinically	appropriate	manner	as	to	prevent	
misuse,	overdose,	theft,	or	violence	related	to	the	medication.		

        Finding: Partial Compliance	
                  There clearly remain serious challenges of medication/ substance misuse in OJC,
        however the medication administration process is for direct observation which
        appears to be consistent; more analysis is needed to determine the impact of other
        sources of medication misuse, overdose, theft, or violence.
	
B.2.g.	Ensure	that	prescriptions	for	psychotropic	medications	are	reviewed	by	a	Qualified	Mental	Health	
Professional	on	a	regular,	timely	basis	and	prisoners	are	properly	monitored.		

        Finding:	Substantial	Compliance	




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                 There	continue	to	be	instances	where	inmates	have	raised	concerns	or	
        questions	about	their	medications.	Wellpath	and	Tulane	have	improved	medication			
        management	practices.	Plaintiffs’	have	appropriately	raised	concerns	and	were	                             	
        present	during	review	of	their	reported	concerns	with	the	Monitor	during	the	
        site	visit.		Wellpath	acknowledged	and	corrected	errors/delays	in	appropriate	
        medication	and	other	issues.	That	does	not	excuse	errors	or	failures	but	the		 	
        landscape	has	changed	regarding	psychiatric	care	and	medication	management.	
        Recommendation:	Continue	to	provide	documentation	of	data	collection	and	
        analysis	of	psychotropic	medication	prescriptions.	

B.2.h.	Ensure	that	standards	are	established	for	the	frequency	of	review	and	associated	charting	of	
psychotropic	medication	monitoring,	including	monitoring	for	metabolic	effects	of	second	generation	
psychotropic	medications.	
	
        Finding:	Partial	Compliance	
                 Wellpath	and	Tulane	have	improved	in	appropriately	implementing	the	Tool	
        Kit	recommended	by	the	Monitors.		
        Recommendation:	Provide	documentation	of	data	collection	and	analysis	of	
        psychotropic	medication	monitoring	for	metabolic	effects	of	second	generation	
        psychotropic	medications.	Compliance	has	been	compromised	by	variability	in	
        availability	of	corrections	security	staff	and	timeliness	of	laboratory	services	with	
        associated	inmate	refusals.	
IV.	B.	3.	Counseling	
	
B.3.a.	OPSO	shall	develop	and	implement	policies	and	procedures	for	prisoner	counseling	in	the	areas	of	
general	mental	health/therapy,	sexual-abuse	counseling,	and	alcohol	and	drug	counseling.		This	should,	at	a	
minimum,	include	some	provision	for	individual	services.		
	
        Finding:	Partial	Compliance	                                                                               	
        Recommendation:	Provide	policies	and	procedures	specifically	for	inmate	
        counseling	in	the	areas	of	general	mental	health/therapy,	sexual	abuse	counseling,	
        and	alcohol	and	drug	counseling,	including	some	provisions	for	individual	services.	
	
B.3.b.	Within	180	days	of	the	Effective	Date,	and	quarterly	thereafter,	report	all	prisoner	counseling	services	
to	the	Monitor,	which	should	include:	
        (1) the	number	of	prisoners	who	report	having	participated	in	general	mental	health/therapy	
             counseling	at	OPP;	


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        (2) the	number	of	prisoners	who	report	having	participated	in	alcohol	and	drug	counseling	services	
            at	OPP;			
        (3) the	number	of	prisoners	who	report	having	participated	in	sexual-abuse	counseling	at	OPP;	and	
        (4) the	number	of	cases	with	an	appropriately	licensed	practitioner	and	related	one-to-one	
            counseling	at	OPP.	

        Finding:	Partial	Compliance	
	
        Recommendation:	Provide	data	and	analysis	for	the	numbers	and	percentages	for	
        inmates	with	needs	for	these	specific	services	and	numbers	and	percentages	of	
        inmates	who	receive	these	services.	Compliance	has	been	compromised	by	staffing	
        deficiencies	and	lack	of	adequate	space.	
IV.	B.	4.	Suicide	Prevention	Training	Program	
	
B.4.a.	OPSO	shall	ensure	that	all	staff	who	supervise	prisoners	have	the	adequate	knowledge,	skill,	and	ability	
to	address	the	needs	of	prisoners	at	risk	for	suicide.		Within	180	days	of	the	Effective	Date,	OPSO	shall	review	
and	revise	its	current	suicide	prevention	training	curriculum	to	include	the	following	topics:	
         (1) suicide	prevention	policies	and	procedures	(as	revised	consistent	with	this	Agreement);	
         (2) analysis	of	facility	environments	and	why	they	may	contribute	to	suicidal	behavior;		
         (3) potential	predisposing	factors	to	suicide;		
         (4) high-risk	suicide	periods;	
         (5) warning	signs	and	symptoms	of	suicidal	behavior;	
         (6) case	studies	of	recent	suicides	and	serious	suicide	attempts;	
         (7) mock	demonstrations	regarding	the	proper	response	to	a	suicide	attempt;	
         (8) differentiating		suicidal	and	self-injurious	behavior;	and		
         (9) the	proper	use	of	emergency	equipment.	


        Finding:	Partial	Compliance	
                 Wellpath	is	meeting	the	majority	of	these	curriculum	requirements.	
        Recommendation:	Provide	documentation	of	all	staff	who	supervise	inmates	have	
        the	adequate	knowledge,	skill,	and	ability	to	address	the	needs	of	inmates	at	risk	for	
        suicide.	Provide	documentation	the	suicide	prevention	training	curriculum	includes	
        all	of	the	elements	listed,	and	specifically	to	include	(in	addition	to	previously	
        submitted	documentation)	elements	(6)	case	studies	of	recent	suicides	and	serious	
        suicide	attempts,	(7)	mock	demonstrations	regarding	the	proper	response	to	a	
        suicide	attempt,	(8)	differentiating	suicidal	and	self-injurious	behavior,	and	(9)	the	
        proper	use	of	emergency	equipment.
B.4.b.	Ensure	that	all	correctional,	medical,	and	mental	health	staff	are	trained	on	the	suicide	screening	
instrument	and	the	medical	intake	tool.	
	
        Finding:	Partial	Compliance	
	


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        Recommendation:	Provide	documentation	that	all	current	correctional,	medical,	and	
        mental	health	staff	are	trained	on	the	suicide	screening	instrument	and	the	medical	
        intake	tool.	
	
B.4.c.	Ensure	that	multi-disciplinary	in-service	training	is	completed	annually	by	all	correctional,	medical,	and	
mental	health	staff,	to	include	training	on	updated	policies,	procedures,	and	techniques.		The	training	will	be	
reviewed	and	approved	by	the	Monitor.		

        Finding:	Partial	Compliance	
	
        Recommendation:	Provide	documentation	that	multidisciplinary	in-service	training	
        has	been	completed	annually	for	all	current	correctional,	medical,	and	mental	health	
        staff,	to	include	training	on	updated	policies,	procedures,	and	techniques.	

B.4.d.	Ensure	that	staff	are	trained	in	observing	prisoners	on	suicide	watch	and	step-down	unit	status.	
	
        Finding:	Partial	Compliance	
                 Wellpath	has	provided	additional	training	and	increased	supervision,	and	
        onsite	 interviews	of	CNA’s	confirm	improved	understanding	of	their	responsibilities	
        and	functions;	however	additional	training,	and	supervision,	including	possible		                            	
        restructuring	is	recommended.	
        Recommendation:	Provide	documentation	that	current	staff	are	trained,	specifically,	
        in	observing	prisoners	on	suicide	watch	and	step-down	status.	
	
B.4.e.	Ensure	that	all	staff	that	have	contact	with	prisoners	are	certified	in	cardiopulmonary	resuscitation	
(“CPR”).		
	
        Finding:	Partial	Compliance	
	
        Recommendation:	Provide	documentation	that	all	current	staff,	(including	OPSO	and	
        Wellpath)	are	certified	in	CPR.	
B.4.f.	Ensure	that	an	emergency	response	bag,	which	includes	a	first	aid	kit	and	emergency	rescue	tool,	is	in	
close	proximity	to	all	housing	units.		All		staff	that	has	contact	with	prisoners	shall	know	the	location	of	this	
emergency	response	bag	and	be	trained	to	use	its	contents.	
	
        Finding:	Substantial	Compliance	
        	




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                 Onsite	observations	across	visits	by	Monitors	and	documentation	by	OPSO	
        confirm	emergency	response	bags	are	in	place,	staff	are	trained	and	know	the	
        locations.	
	
B.4.g.	Randomly	test	five	percent	of	relevant	staff	on	an	annual	basis	to	determine	their	knowledge	of	suicide	
prevention	policies.		The	testing	instrument	and	policies	shall	be	approved	by	the	Monitor.		The	results	of	
these	assessments	shall	be	evaluated	to	determine	the	need	for	changes	in	training	practices.		The	review	and	
conclusions	will	be	documented	and	provided	to	the	Monitor.		

        Finding:	Partial	Compliance	
                 Documentation	of	testing	was	presented;	however	it	was	unclear	if	the	5%	
        tested	are	currently	on	staff.	
        Recommendation:	Provide	documentation	of	5%	of	current	relevant	staff	testing	to	
        determine	their	knowledge	of	suicide	prevention	policies,	and	evaluation	of	the	
        results,	review,	and	conclusions	of	the	assessments	to	determine	the	need	for	
        changes	in	training	practices.	
IV.	B.	5.	Suicide	Precautions	

B.5.a.	OPSO	shall	implement	a	policy	to	ensure	that	prisoners	at	risk	of	self-harm	are	identified,	protected,	
and	treated	in	a	manner	consistent	with	the	Constitution.	
	
        Finding:	Partial	Compliance	
	
        Recommendation:	Provide	documentation	of	utilization	of	suicide	resistant	cells	and	
        nonresistant	cells	(with	direct	observation),	and	treatment	services	provided	to	
        inmates	at	risk	for	self-harm.	
	
B.5.b.	Ensure	that	suicide	prevention	procedures	include	provisions	for	constant	direct	supervision	of	current	
suicidal	prisoners	and	close	supervision	of	special	needs	prisoners	with	lower	levels	of	risk	(at	a	minimum,	
15	minute	checks).		Correctional	officers	shall	document	their	checks	in	a	format	that	does	not	have	pre-
printed	times.		

        Finding:	Substantial	Compliance	
                 There	continue	to	be	instances	where	suicide	watches/precautions	have	
        been	very	concerning,	and	the	staffing,	training	and	supervision	issues	must	be	
        continuously	addressed,	however	the	current	leadership,	and	increase	mental	
        health	staffing,	including	Tulane	psychiatrists	have	very	positively	impacted	




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        implementation	of	these	provisions.	The	procedures	include	the	required	
        provisions.	
        Recommendation:	Provide	constant	direct	supervision	for	any	inmate	placed	in	a	
        non-resistant	cell	on	suicide	watch,	and	documentation.

B.5.c.	Ensure	that	prisoners	on	suicide	watch	are	immediately	searched	and	monitored	with	constant	direct	
supervision	until	a	Qualified	Mental	Health	Professional	conducts	a	suicide	risk	assessment,	determines	the	
degree	of	risk,	and	specifies	the	appropriate	degree	of	supervision.	

        Finding:	Partial	Compliance	
	
        Recommendation:	Provide	documentation	that	demonstrates	that	inmates	are	
        immediately	searched	and	monitored	with	constant	direct	supervision	until	a	QMHP	
        conducts	a	suicide	risk	assessment,	determines	the	degree	of	risk,	and	specifies	the	
        appropriate	degree	of	supervision.

B.5.d.	Ensure	that	all	prisoners	discharged	from	suicide	precautions	receive	a	follow-up	assessment	within	
three	to	eight	working	days	after	discharge,	as	clinically	appropriate,	in	accordance	with	a	treatment	plan	
developed	by	a	Qualified	Mental	Health	Care	Professional.		Upon	discharge,	the	Qualified	Mental	Health	Care	
Professional	shall	conduct	a	documented	in-person	assessment	regarding	the	clinically	appropriate	follow-up	
intervals.	

        Finding:	Partial	Compliance	
                Based	on	reports	by	mental	health	staff	of	being	denied	access	to	inmates	on		
        follow-up	from	suicide	precautions	during	lockdowns,	this	requirement	cannot	be	
        in	substantial	compliance.		
        Recommendation:	Wellpath	staff	report	they	have	been	denied	access	to	inmates	for	
        follow-up	during	lockdowns.	This	should	not	occur	and	recommend	corrective	
        action	to	assure	all	follow-up	appointments	are	completed.	

B.5.e.	Implement	a	step-down	program	providing	clinically	appropriate	transition	for	prisoners	discharged	
from	suicide	precautions.	

        Finding:	Partial	Compliance	
                There	have	been	some	improvements	in	the	step-down	unit	as	reported	by	
        inmates	and	staff,	including	the	removal	of	non-mentally	ill	inmates	and	more	
        on	unit	programming;	however	more	is	needed	for	a	consistent	therapeutic	milieu	
        and	programming.	Step-down	services	and	programming	remain	inadequate	for		


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        women.	
        Recommendation:	The	placements	for	male	inmates	in	a	true	step-down/residential	
        unit	and	program	have	begun,	with	the	necessary	exclusivity	of	an	identified	
        mentally	ill	population,	however	the	programming	is	not	yet	sufficient	although	
        improved.	Similar	services	and	housing	do	not	currently	exist	for	female	inmates.	
        Recommend	continued	vigilance	in	developing	these	programs.	
B.5.f.	Develop	and	implement	policies	and	procedures	for	suicide	precautions	that	set	forth	the	conditions	of	
the	watch,	incorporating	a	requirement	of	an	individualized	clinical	determination	of	allowable	clothing,	
property,	and	utensils.		These	conditions	shall	be	altered	only	on	the	written	instruction	of	a	Qualified	Mental	
Health	Professional,	except	under	emergency	circumstances	or	when	security	considerations	require.	
	
        Finding:	Partial	Compliance	
	
        Recommendation:	Policy	is	in	place.	Provide	documentation	of	implementation	of	
        policy	regarding	individualized	determinations	of	the	conditions	of	watch	at	OJC	
        (especially	for	suicide	watches/direct	observation	in	non-resistant	cells),	and	at	
        Hunt.	
B.5.g.	Ensure	that	cells	designated	by	OPSO	for	housing	suicidal	prisoners	are	retrofitted	to	render	them	
suicide-resistant	(e.g.,	eliminating	bed	frames/holes,	sprinkler	heads,	water	faucet	lips,	and	unshielded	
lighting	or	electrical	sockets).	

        Finding:	Partial	Compliance	

        Recommendation:	OPSO	reports	12	suicide	resistant	cells	for	OJC	and	3	suicide	
        resistant	cells	at	Hunt.	Facility	staff	utilize	non-suicide	resistant	cells	at	both	
        facilities	for	overflow.	When	overflow	cells	are	utilized,	it	is	strongly	recommended	
        the	inmates	in	those	cells	be	placed	on	direct	constant	observation	to	best	provide	
        for	their	safety.	

B.5.h.	Ensure	that	every	suicide	or	serious	suicide	attempt	is	investigated	by	appropriate	mental	health	and	
correctional	staff,	and	that	the	results	of	the	investigation	are	provided	to	the	Sheriff	and	the	Monitor.	

        Finding:	Partial	Compliance	
                 The	Morbidity	and	Mortality	reviews	have	expanded	to	begin	to	review	
        serious	suicide	attempts;	more	self-critical	analysis	of	findings	of	the	reviews	is	
        necessary.	




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        Recommendation:	Continue	to	expand	Morbidity	and	Mortality	reviews,	including	
        aggregation	of	data,	self-critical	analysis	and	corrective	action	plans.

B.5.i.	Direct	observation	orders	for	inmates	placed	on	suicide	watch	shall	be	individualized	by	the	ordering	
clinician	based	upon	the	clinical	needs	of	each	inmate,	and	shall	not	be	more	restrictive	than	is	deemed	
necessary	by	the	ordering	clinician	to	ensure	the	safety	and	well	being	of	the	inmate.	

        Finding:	Substantial	Compliance	
              The	addition	of	Tulane	psychiatrists	and	integration	with	Wellpath	staff	has		
        substantially	improved	this	process.	

B.5.j.	Provide	the	Monitor	a	periodic	report	on	suicide	and	self-harm	at	the	Facility.		These	periodic	reports	
shall	be	provided	to	the	monitor	within	four	months	of	the	Effective	Date;	and	every	six	months	thereafter	
until	termination	of	this	Agreement.		The	report	will	include	the	following:	
          (1) all	suicides;	
          (2) all	serious	suicide	or	self-harm	attempts;	and	
          (3) all	uses	of	restraints	to	respond	to	or	prevent	a	suicide	attempt.	


        Finding:	Partial	Compliance	
	
        Recommendation:	OPSO	and	Wellpath	provide	reports	on	suicides,	suicide	attempts	
        and	self	harm,	however	the	numbers	differ	significantly.	Provide	documentation	for	
        each	category,	with	resolution	of	inconsistencies	based	on	review	and	discussion	in	
        the	bi-annual	reports.
B.5.k.	Assess	the	periodic	report	to	determine	whether	prisoners	are	being	appropriately	identified	for	risk	of	
self-harm,	protected,	and	treated.		Based	on	this	assessment,	OPSO	shall	document	recommended	changes	to	
policies	and	procedures	and	provide	these	to	the	Monitor.	

        Finding:	Partial	Compliance	
                 The	reports	have	been	discussed	and	recently	provided,	however	
        documentation	of	analysis	of	the	findings	and	assessment	is	needed.	
        Recommendation:	Provide	an	assessment	of	the	periodic	reports	required	in	B.5.j.,	
        above.		

IV.	B.	6.	Use	of	Restraints	

B.6.a.	OPSO	shall	prevent	the	unnecessary	or	excessive	use	of	physical	or	chemical	restraints	on	prisoners	
with	mental	illness.		

        Finding:	Partial	Compliance	
	



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        Recommendation:	Provide	documentation/information	regarding	use	of	de-
        escalation	techniques	at	OJC	and	Hunt.		

B.6.b.	Maintain	comprehensive	policies	and	procedures	for	the	use	of	restraints	for	prisoners	with	mental	
illness	consistent	with	the	Constitution.	

        Finding:	Partial	Compliance	
                 There	has	been	significant	progress	in	resolving	differences	in	policies,		
        including	reviews	and	discussion	on	site.	Wellpath	and	OPSO	continue	to	report	
        no	use	of	clinical	restraints	for	inmates	in	OJC.	
        Recommendation:	Complete	comprehensive	policies	for	OPSO	compatible	with	
        Wellpath	policy.	

B.6.c.	Ensure	that	approval	by	a	Qualified	Medical	or	Mental	Health	Professional	is	received	and	documented	
prior	to	the	use	of	restraints	on	prisoners	living	with	mental	illness	or	requiring	suicide	precautions.	
	
        Finding:	Partial	Compliance	
	
        Recommendation:	Complete	comprehensive	policies.	Define	and	document	process	
        of	indications	and/or	notifications	from	OPSO	regarding	possible	need	or	use	of	
        restraints.	
        	
B.6.d.	Ensure	that	restrained	prisoners	with	mental	illnesses	are	monitored	at	least	every	15	minutes	by	
Custody	Staff	to	assess	their	physical	condition.	

        Finding:	Partial	Compliance	
	
        Recommendation:	Complete	comprehensive	policies.	Provide	documentation	of	
        monitoring	as	necessary;	very	strongly	suggest	monitoring	should	be	constant	
        rather	than	15	minutes.	

B.6.e.	Ensure	that	Qualified	Medical	or	Mental	Health	Staff	document	the	use	of	restraints,	including	the	basis	
for	and	duration	of	the	use	of	restraints	and	the	performance	and	results	of	welfare	checks	on	restrained	
prisoners.		

        Finding:	Partial	Compliance	
	
        Recommendation:	Complete	comprehensive	policies.	Provide	documentation	of	use	
        of	restraints	as	necessary.	



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B.6.f.	Provide	the	Monitor	a	periodic	report	of	restraint	use	at	the	Facility.		These	periodic	reports	shall	be	
provided	to	the	monitor	within	four	months	of	the	Effective	Date;	and	every	six	months	thereafter	until	
termination	of	this	Agreement.		Each	report	shall	include:	
          (1) A	list	of	prisoners	whom	were	restrained;	
          (2) A	list	of	any	self-injurious	behavior	observed	or	discovered	while	restrained;	and	
          (3) A	list	of	any	prisoners	whom	were	placed	in	restraints	on	three	or	more	occasions	in	a	thirty	(30)	
              day	period	or	whom	were	kept	in	restraints	for	a	period	exceeding	twenty-four	(24)	hours.	

        Finding:	Partial	Compliance	
        	
        Recommendation:	OPSO	and	Wellpath	report	no	use	of	clinical	or	therapeutic	
        restraints.	Provide	supporting	documentation,	based	on	incident	reports	and	
        transports	to	outside	hospitals	where	acute	mental	illness	and/or	agitation	based	on	
        mental	health	dysfunction	is	causation.
	
B.6.g.	Assess	the	periodic	report	to	determine	whether	restraints	are	being	used	appropriately	on	prisoners	
with	mental	illness.		Based	on	this	assessment,	OPSO	shall	document	recommended	changes	to	policies	and	
procedures	and	provide	these	to	the	Monitor.	

        Finding:	Partial	Compliance	
	
        Recommendation:	Provide	comprehensive	report	with	supporting	documentation	
        that	clinical	or	therapeutic	restraints	have	not	been	used	nor	should	have	been	used	
        in	the	treatment	and	management	of	inmates.	
        	
IV.	B.	7.	Detoxification	and	Training	
	
7.a.	OPSO	shall	ensure	that	all	staff	who	supervise	prisoners	have	the	knowledge,	skills,	and	abilities	to	
identify	and	respond	to	detoxifying	prisoners.		Within	180	days	of	the	Effective	Date,	OPSO	shall	institute	an	
annual	in-service	detoxification	training	program	for	Qualified	Medical	and	Mental	Health	Staff	and	for	
correctional	staff.		The	detoxification	training	program	shall	include:	
         (1)      annual	staff	training	on	alcohol	and	drug	abuse	withdrawal;		
         (2)      training	of	Qualified	Medical	and	Mental	Health	Staff	on	treatment	of	alcohol	and	drug	abuse	
                  conducted	by	the	Chief	Medical	Officer	or	his	or	her	delegate;	
         (3)      oversight	of	the	training	of	correctional	staff,	including	booking	and	housing	unit	officers,	on	
                  the	policies	and	procedures	of	the	detoxification	unit,	by	the	Chief	Medical	Officer	or	his	or	
                  her	delegate;		
         (4)      training	on	drug	and	alcohol	withdrawal	by	Qualified	Medical	and	Mental	Health	Staff;		
         (5)      training	of	Qualified	Medical	and	Mental	Health	Staff	in	providing	prisoners	with	timely	
                  access	to	a	Qualified	Mental	Health	Professional,	including	psychiatrists,	as	clinically	
                  appropriate;	and	
         (6)      training	of	Qualified	Medical	and	Mental	Health	Staff	on	the	use	and	treatment	of	
                  withdrawals,	where	medically	appropriate.	
        	


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        Finding:		Partial	compliance		
                 Qualified	Medical	and	Mental	Health	Staff	are	trained	regarding	care	for	
        patients	who	have	orders	for	monitoring	and	treatment	of	withdrawal.		Only	half	of	
        corrections	security	staff	are	trained.	
        Recommendation:	Increase	training	of	corrections	security	staff	from	50%	to	close	
        to	100%.		Develop	program	oversight	and	evaluation.	
	
7.b.	Provide	medical	screenings	to	determine	the	degree	of	risk	for	potentially	life-threatening	withdrawal	
from	alcohol,	benzodiazepines,	and	other	substances,	in	accordance	with	Appendix	B.	
	       	
        Finding:	Substantial	Compliance	
        	
              Incoming	inmates	are	screened	for	withdrawal,	in	accordance	with	Appendix	
        B,		Wellpath	quarterly	performance	measurement	demonstrates	sustained	
        compliance.		Monitors	find	Wellpath	measurement	reliable,	through	medical	record	
        review.	
	
7.c.	Ensure	that	the	nursing	staff	complete	assessments	of	prisoners	in	detoxification	on	an	individualized	
schedule,	ordered	by	a	Qualified	Medical	or	Mental	Health	Professional,	as	clinically	appropriate,	to	include	
observations	and	vital	signs,	including	blood	pressure.	
        	
        Finding:	Partial	Compliance	
        	
                 Wellpath	quarterly	performance	measurement	and	Monitor’s	reliability	
        audits	demonstrate	that	nursing	care	for	inmate	patients	on	the	detoxification	
        protocol	has	improved,	however,	an	insufficient	proportion	of	nursing	assessments	
        are	timely,	excluding	those	that	are	out	of	staff	control,	such	as	“out	to	Court.”			
        Recommendation:		Enforce	timely	assessments	on	inmate	patients	who	are	on	the	
        detoxification	protocol.	
	
7.d.	Annually,	conduct	a	review	of	whether	the	detoxification	training	program	has	been	effective	in	
identifying	concerns	regarding	policy,	training,	or	the	proper	identification	of	and	response	to	detoxifying	
prisoners.	OPSO	will	document	this	review	and	provide	its	conclusions	to	the	Monitor.	
	
        Finding:		Non-Compliance	
        	
              An	annual	review	has	not	been	conducted	during	the	past	year,	according	to	
        Wellpath.	


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        Recommendation:	Conduct	annual	review	of	the	detoxification	training	and	
        implementation	and	report	on	effectiveness	to	the	Monitors.	
	
IV.	8.	Medical	and	Mental	Health	Staffing	
	
8.a.	OPSO	shall	ensure	that	medical	and	mental	health	staffing	is	sufficient	to	provide	adequate	care	for	
prisoners’	serious	medical	and	mental	health	needs,	fulfill	constitutional	mandates	and	the	terms	of	this	
Agreement,	and	allow	for	the	adequate	operation	of	the	Facility,	consistent	with	constitutional	standards.			
        	
        Finding:	Partial	Compliance	
                 Medical	and	mental	health	staffing	is	sufficient	for	most	care	functions.		
        However,	there	is	insufficient	funding	and	mental	health	staffing	for	groups	and	
        special	programs,	as	required	in	the	Consent	Judgment.		A	proposal	has	been	
        submitted	for	these	staff.	
        Recommendation:		Fund	and	authorize	mental	health	staff	for	special	programs,	as	
        per	Wellpath	proposal.		Cross-train	staff	for	grievance	review,	response,	and	
        analysis.		OPSO	to	ensure	sufficient	corrections	security	staffing	for	efficient	and	
        timely	health	care	operations.	
8.b.	Within	90	days	of	the	Effective	Date,	OPSO	shall	conduct	a	comprehensive	staffing	plan	and/or	analysis	to	
determine	the	medical	and	mental	health	staffing	levels	necessary	to	provide	adequate	care	for	prisoners’	
mental	health	needs	and	to	carry	out	the	requirements	of	this	Agreement.		Upon	completion	of	the	staffing	
plan	and/or	analysis,	OPSO	shall	provide	its	findings	to	the	Monitor,	SPLC,	and	DOJ	for	review.		The	Monitor,	
SPLC,	and	DOJ	will	have	60	days	to	raise	any	objections	and	recommend	revisions	to	the	staffing	plan.	
        	
        Finding:	Substantial	Compliance	
                 The	Monitors	approve	the	current	staffing	plan,	including	the	staff	proposed	
        by	the	vendor	to	OPSO	and	the	City.	
IV.	B.	9.	Risk	Management	
	
B.9.a.	OPSO	shall	develop,	implement,	and	maintain	a	system	to	ensure	that	trends	and	incidents	involving	
avoidable	suicides	and	self-injurious	behavior	are	identified	and	corrected	in	a	timely	manner.		Within	90	
days	of	the	Effective	Date,	OPSO	shall	develop	and	implement	a	risk	management	system	that	identifies	levels	
of	risk	for	suicide	and	self-injurious	behavior	and	requires	intervention	at	the	individual	and	system	levels	to	
prevent	or	minimize	harm	to	prisoners,	based	on	the	triggers	and	thresholds	set	forth	in	Appendix	B.	
	
        Finding:	Partial	Compliance	
	
        Recommendation:	Provide	documentation	of	a	system	of	data	collection	and	
        analysis	of	trends	and	incidents	involving	avoidable	suicides	and	self-injurious	


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        behaviors	to	determine	required	interventions	at	the	individual	and	system	levels	to	
        prevent	or	minimize	harm	to	inmates.	

B.9.b.	The	risk	management	system	shall	include	the	following	processes	to	supplement	the	mental	health	
screening	and	assessment	processes:		incident	reporting,	data	collection,	and	data	aggregation	to	capture	
sufficient	information	to	formulate	a	reliable	risk	assessment	at	the	individual	and	system	levels;	
identification	of	at-risk	prisoners	in	need	of	clinical	treatment	or	assessment	by	the	Interdisciplinary	Team	or	
the	Mental	Health	Committee;	and	development	and	implementation	of	interventions	that	minimize	and	
prevent	harm	in	response	to	identified	patterns	and	trends.	

        Finding:	Partial	Compliance	
	
        Recommendation:	Provide	documentation	of	analysis	of	risk	management	system	
        processes	including	the	listed	criteria,	with	more	attention	to	data	aggregation	and	
        analysis,	and	development	and	implementation	of	interventions	that	minimize	and	
        prevent	harm	in	response	to	identified	patterns	and	trends.		

B.9.c.	OPSO	shall	develop	and	implement	an	Interdisciplinary	Team,	which	utilizes	intake	screening,	health	
assessment,	and	triggering	event	information	for	formulating	treatment	plans.		The	Interdisciplinary	Team	
shall:	
         (1)		include	the	Medical	and	Nursing	directors,	one	or	more	members	of	the	psychiatry	staff,	
              counseling	staff,	social	services	staff,	and	security	staff,	and	other	members	as	clinical	
              circumstances	dictate;	
         (2)	 conduct	interdisciplinary	treatment	rounds,	on	a	weekly	basis,	during	which	targeted	patients	
              are	reviewed	based	upon	screening	and	assessment	factors,	as	well	as	triggering	events;	and	
         (3)	 provide	individualized	treatment	plans	based,	in	part,	on	screening	and	assessment	factors,	to	all	
              mental	health	patients	seen	by	various	providers.	
	
        Finding:	Partial	Compliance	
	
        Recommendation:	Provide	documentation	of	completion	of	mental	health	
        Interdisciplinary	treatment	team	meetings	and	rounds,	and	provision	of	
        individualized	treatment	plans	to	all	mental	health	patients	seen	by	various	
        providers	at	OJC	and	Hunt.		
B.9.d.	OPSO	shall	develop	and	implement	a	Mental	Health	Review	Committee	that	will,	on	a	monthly	basis,	
review	mental	health	statistics	including,	but	not	limited	to,	risk	management	triggers	and	trends	at	both	the	
individual	and	system	levels.		The	Mental	Health	Review	Committee	shall:		
         (1)	 include	the	Medical	and	Nursing	Director,	one	or	more	members	of	the	psychiatry	staff	and	social	
              services	staff,	the	Health	Services	Administrator,	the	Warden	of	the	facility	housing	the	Acute	
              Psychiatric	Unit,	and	the	Risk	Manager.		
         (2)	 identify	at-risk	patients	in	need	of	mental	health	case	management	who	may	require	
              intervention	from	and	referral	to	the	Interdisciplinary	Team,	the	OPSO	administration,	or	other	
              providers.					
         (3)	 conduct	department-wide	analyses	and	validation	of	both	the	mental	health	and	self-harm	
              screening	and	assessment	processes	and	tools,	review	the	quality	of	screenings	and	assessments	



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             and	the	timeliness	and	appropriateness	of	care	provided,	and	make	recommendations	on	
             changes	and	corrective	actions;	
        (4)	 analyze	individual	and	aggregate	mental	health	data	and	identify	trends	and	triggers	that	
             indicate	risk	of	harm;	        	         	
        (5)	 review	data	on	mental	health	appointments,	including	the	number	of	appointments	and	wait	
             times	before	care	is	received;	and	
        (6)	 review	policies,	training,	and	staffing	and	recommend	changes,	supplemental	training,	or	
             corrective	actions.	

        Finding:	Partial	Compliance	
        													Wellpath	has	a	functioning	Mental	Health	Review	Committee.	The	committee		
        collected	data	and	information,	particularly	with	regard	to	missed	or	cancelled	
        access	to	mental	health	appointments	due	to	deputy	staffing	shortages.	Analysis		
        of	data	regarding	trends	and	utilization	of	mental	health	services	for	safety	
        concerns	are	necessary.	
        Recommendation:	Provide	documentation	of	Mental	Health	Review	Committee	
        meetings	addressing	all	the	listed	elements.	

B.9.e.	OPSO	shall	develop	and	implement	a	Quality	Improvement	and	Morbidity	and	Mortality	Review	
Committee	that	will	review,	on	at	least	a	quarterly	basis,	risk	management	triggers	and	trends	and	quality	
improvement	reports	in	order	to	improve	care	on	a	Jail-wide	basis.	
         (1)	    The	Quality	Improvement	Committee	shall	include	the	Medical	Director,	the	Director	of	
         Psychiatry,	the	Chief	Deputy,	the	Risk	Manager,	and	the	Director	of	Training.		The	Quality	
         Improvement	Committee	shall	review	and	analyze	activities	and	conclusions	of	the	Mental	Health	
         Review	Committee	and	pursue	Jail-wide	corrective	actions.	
                 (2)	     The	Quality	Improvement	Committee	shall:			
            i.   monitor	all	risk	management	activities	of	the	facilities	through	the	review	of	risk	data,	
                 identification	of	individual	and	systemic	trends,	and	recommendation	and	monitored	
                 implementation	of	investigation	or	corrective	action;	and	
           ii.   generate	reports	of	risk	data	analyzed	and	corrective	actions	taken.	

        Finding:	Partial	Compliance	
                 Wellpath	has	a	functioning	Quality	Improvement	Committee.		There	is	
        insufficient	participation	at	committee	meetings	by	OPSO	staff,	as	per	QIC	and	MAC	
        meeting	attendance	lists.		Performance	data	is	collected,	however	there	is	
        insufficient	reporting	of	trended	data,	qualitative	analysis,	and	corrective	action	
        plans	in	the	meeting	minutes.		According	to	the	minutes,	risk	management	activities	
        such	as	morbidity	and	mortality	reviews,	grievance	analysis,	and	sanitation	do	not	
        appear	to	be	addressed	at	the	meetings.		The	medical	and	psychiatric	staff	report	a	




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        large	number	of	obstacles	to	access	because	of	corrections	security	staff.		There	are	
        insufficient	data	to	support	these	credible	anecdotes.
	
        Recommendation:		Incorporate	performance	data,	analysis,	and	trending	into	QI	
        committee	minutes.		Improve	analysis	and	corrective	action	plans	generally,	with	
        specificity	for	root	cause	analysis,	process	design,	and	effective	improvement	
        strategies.		Continue	to	improve	reliability	of	clinical	performance	measurement.		
        Ensure	that	the	Chief	Deputy	(or	equivalent)	and	Director	of	Training	participate	in	
        meetings,	with	documentation.		Collect	and	report	reliable	data	on	visit	disruptions	
        due	to	the	unavailability	of	corrections	security	staff	for	escort	and/or	
        transportation.	
B.9.f.	OPSO	shall	review	mortality	and	morbidity	reports	quarterly	to	determine	whether	the	risk	
management	system	is	ensuring	compliance	with	the	terms	of	this	Agreement.		OPSO	shall	make	
recommendations	regarding	the	risk	management	system	or	other	necessary	changes	in	policy	based	on	this	
review.	The	review	and	recommendations	will	be	documented	and	provided	to	the	Monitor.	
        	
        Finding:		  Non	-	Compliance	
        	
              Wellpath	has	just	begun	morbidity	reviews	on	suicide	attempts.		The	
        mortality	and	morbidity	reviews	are	perfunctory	and	lack	self-critical	analysis.		
        Corrective	action	plans	are	not	well-documented	and	there	is	no	annual	review	of	
        findings.	
        Recommendation:	Enhance	analysis	and	problem	identification	in	morbidity	and	
        mortality	reviews.		Improve	corrective	action	plans	generally,	with	specificity	for	
        root	cause	analysis,	process	design,	and	effective	improvement	strategies.	
	
	
	
	                               	




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IV.	C.							Medical	Care			
	
IV.	C.	1.	Quality	Management	of	Medication	Administration	
	
OPSO	shall	ensure	constitutionally	adequate	treatment	of	prisoners’	medical	needs.		OPSO	shall	prevent	
unnecessary	risks	to	prisoners	and	ensure	proper	medication	administration	practices.		OPSO	shall	assess	on	
an	annual	or	more	frequent	basis	whether	the	medical	services	at	OPP	comply	with	the	Constitution.		At	a	
minimum,	OPSO	shall:	
	
1.	Quality	Managing	of	Medication	Administration:	
         a.		   Within	120	days	of	the	Effective	Date,	ensure	that	medical	and	mental	health	staff	are	
                trained	on	proper	medication	administration	practices,	including	appropriately	labeling	
                containers	and	contemporaneously	recording	medication	administration;	
         b.		   Ensure	that	physicians	provide	a	systematic	review	of	the	use	of	medication	to	ensure	that	
                each	prisoner’s	prescribed	regimen	continues	to	be	appropriate	and	effective	for	his	or	her	
                condition;	
         c.     Maintain	medication	administration	protocols	that	provide	adequate	direction	on	how	to	
                take	medications,	describe	the	names	of	the	medications,	how	frequently	to	take	
                medications,	and	identify	how	prisoners	taking	such	medications	are	monitored;	an	
         d.     Maintain	medication	administration	protocols	that	prevent	misuse,	overdose,	theft,	or	
                violence	related	to	medication.	
        	
	       Findings:		
	       C.1.a.	–	Substantial	compliance	
	       C.1.b.	–	Partial	compliance	
	       C.1.c.	–	Substantial	compliance	
	       C.1.d.	–	Substantial	compliance	
	
        a. Wellpath	provided	documentation	on	training	for	medication	administration.			
        b. 	Wellpath	reliably	monitors	clinical	performance	for	urgent	and	chronic	
              conditions.		Performance	has	improved	over	time.		There	are	opportunities	for	
              further	improvement	with	care	for	chronic	disease	and	laboratory	testing	for	
              patients	on	psychotropic	medications.			
        c. Protocols	for	direction	on	medication	is	acceptable.	
        d. Protocols		inventory	integrity	and	safety	are	acceptable.			
    Recommendation:		Continue	to	improve	performance	on	conformance	to	chronic	
    disease	protocols	for	medical	and	psychiatric	conditions.	
IV.	C.	2.	Health	Care	Delivered	
2.a.	Provide	the	Monitor	a	periodic	report	on	health	care	at	the	Facility.		These	periodic	reports	shall	be	
provided	to	the	Monitor	within	four	months	of	the	Effective	Date;	and	every	six	months	thereafter	until	
termination	of	this	Agreement.		Each	report	will	include:	
         (1)     number	of	prisoners	transferred	to	the	emergency	room	for	medical	treatment	related	to	
                 medication	errors;	




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        (2)      number	of	prisoners	taken	to	the	infirmary	for	non-emergency	treatment	related	to	
                 medication	errors;	
         (3)     number	of	prisoners	prescribed	psychotropic	medications;	
         (4)     number	of	prisoners	prescribed	“keep	on	person”	medications;	and		
         (5)     occurrences	of	medication	variances.	
2.b.	Review	the	periodic	health	care	delivery	reports	to	determine	whether	the	medication	administration	
protocols	and	requirements	of	this	Agreement	are	followed.		OPSO	shall	make	recommendations	regarding	
the	medication	administration	process,	or	other	necessary	changes	in	policy,	based	on	this	review.		The	
review	and	recommendations	will	be	documented	and	provided	to	the	Monitor.	
        	
        Finding:	
        C.2.a.	–Non-Compliance	
        C.2.b.	–	Non-	Compliance	
        	
        Neither	OPSO	nor	Wellpath	have	provided	recent	periodic	reports	to	the	Monitors.	
	
        C.2.a.	-	Recommendation:	Provide	reports	every	six	months.	
        C.2.b.	–	Recommendation:	Review	reports,	once	written,	and	make	
        recommendations.	
IV.	C.	3.	Release	and	Transfer	
	
3.a.	OPSO	shall	notify	Qualified	Medical	or	Mental	Health	staff	regarding	the			release	of	prisoners	with	serious	
medical	and/or	mental	health	needs	from	OPSO	custody,	as	soon	as	such	information	is	available.			
3.b.	When	Qualified	Medical	or	Mental	Health	staff	are	notified	of	the	release	of	prisoners	with	serious	
medical	and/or	mental	health	needs	from	OPSO	custody,	OPSO	shall	provide	these	prisoners	with	at	least	a	
seven-day	supply	of	appropriate	prescription	medication,	unless	a	different	amount	is	necessary	and	
medically	appropriate	to	serve	as	a	bridge	until	prisoners	can	reasonably	arrange	for	continuity	of	care	in	the	
community.	
3.c.	For	all	other	prisoners	with	serious	medical	and/or	mental	health	needs	who	are	released	from	OPSO	
custody	without	advance	notice,	OPSO	shall	provide	the	prisoner	a	prescription	for	his	or	her	medications,	
printed	instructions	regarding	prescription	medications,	and	resources	indicating	where	prescriptions	may	
be	filled	in	the	community.			
3.d.	For	prisoners	who	are	being	transferred	to	another	facility,	OPSO	shall	prepare	and	send	with	a	
transferring	prisoner,	a	transition	summary	detailing	major	health	problems	and	listing	current	medications	
and	dosages,	as	well	as	medication	history	while	at	the	Facility.	OPSO	shall	also	supply	sufficient	medication	
for	the	period	of	transit	for	prisoners	who	are	being	transferred	to	another	correctional	facility	or	other	
institution,	in	the	amount	required	by	the	receiving	agency.					
        	
        Findings:	
        3.a.	–	Partial	Compliance	
        3.b.	-	Partial	Compliance	
	       3.c.	–	Partial	Compliance	
        3.d.	–	Substantial	compliance		
        OPSO	has	improved	notice	to	qualified	staff,	especially	through	the	posting	of	a	
nurse	in	the	discharge	area.		The	proportion	of	patients	with	serious	needs	reached	is	
increasing,	yet	the	total	numbers	are	low.		Once	identified,	the	patients	are	receiving	either	



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a	supply	or	a	prescription	that	can	be	filled	at	no	cost.		For	those	released	without	advance	
notice,	it	is	difficult	to	arrange	for	a	prescription;	however,	inmates	with	serious	needs	are	
notified	during	their	incarceration	as	to	how	to	get	a	prescription	once	they	leave.		Transfer	
information	and	medication	appears	to	be	working	well.	
       C.3.a.-	Recommendation:	Improve	notifications.	
       C.3.b.	-Recommendations:		Build	on	recent	progress	to	increase	numbers.		Continue	
       to	counsel	patients	face-to-face.			
       C.3.c.	-	Comment:		If	there	is	no	notice,	it	is	not	possible	to	provide	prescriptions.		
       Partial	is	achieved	through	pre-release	notification	to	patients.	
       	
	                            	




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IV.	D.	Sanitation	and	Environmental	Conditions		
Introduction	
           This	report	summarizes	the	compliance	findings	for	the	Sanitation,	
    Environmental	Conditions	and	Fire	and	Life	Safety	provisions	of	the	Consent	
    Judgment.	The	findings	are	based	both	on	the	Monitor’s	tour	conducted	January	14-17,	
    2019,	and	review	of	materials	provided	prior	to	the	on-site	work.		The	Monitor	toured:	
    inmate	housing	units	in	the	Orleans	Justice	Center	(OJC),	the	Temporary	Detention	
    Center	(TDC),	and	the	Kitchen/Warehouse/Central	Plant.	The	Monitor	spoke	with	
    inmates,	deputies,	and	supervisors.	
           Since	the	previous	tour	in	June	2018,	there	is	progress	toward	substantial	
    compliance	with	the	Sanitation	and	Environmental	Conditions	and	Fire	and	Life	
    Safety	provisions	including:	
               •   Establishing	and	implementing	a	regular	cleaning	schedule	
               •   Establishing	and	implementing	a	process	to	provide	timely	notification	to	the	
                   Sanitarian	of	incidents	involving	biohazard	spills	and	use	of	biohazard	clean-
                   up	kits;	and	
               •   Improving	sanitation,	reduced	clutter	in	cells	and	dayrooms	in	most	the	
                   housing	units	observed,	and	fewer	obstructed	HVAC	supply/return	grills	in	
                   inmate	housing	areas.	
V.	D.	1.		Sanitation	and	Environmental	Conditions	
             	
IV.	D.	1.	a.		OPSO	shall	provide	oversight	and	supervision	of	routine	cleaning	of	housing	units,	showers,	and	
medical	areas.		Such	oversight	and	supervision	will	include	meaningful	inspection	processes	and	
documentation,	as	well	as	establish	routine	cleaning	requirements	for	toilets,	showers,	and	housing	units	to	
be	documented	at	least	once	a	week	but	to	occur	more	frequently.		
                    Finding:	Partial	Compliance	
           	
                    Observations:	
                    OPSO	provided	a	cleaning	schedule/supervisor	inspection	check	list	that	
           identifies	the	frequency	of	housekeeping,	by	area,	for	both	OJC	and	TDC.			
           However,	no	evidence	was	provided	to	demonstrate	implementation.		
                    The	Sanitarian	and	Environmental	Officer	reported	to	the	Monitor	that	
           the	ability	to	maintain	regular	cleaning	schedules	had	improved	since	the	last	



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      compliance	tour,	but	is	still	a	challenge.	The	Life	Safety	and	Sanitation	
      inspection	documentation	provided	by	OPSO	consistently	showed	
      “housekeeping”	issues	primarily	in	inmate	living	areas.			The	Sanitarian	
      reported	that	no	Safety	and	Sanitation	Deputies	(SSDs)	are	assigned	full-time	to	
      these	duties	due	to	lack	of	overall	staffing,	and	if	SSDs	are	placed	on	the	daily	
      staffing	roster,	they	are	re-assigned	from	managing	housekeeping	and	chemical	
      control	to	assist	with	other	line	and	support	functions.		A	review	of	a	ten-day	
      sample	of	staffing	reports	for	OJC	for	the	November	2018	found	that	a	sanitation	
      officer	was	assigned	on	50%	of	the	days,	with	the	same	person	most	often	
      assigned	to	all	four	floors.		The	post	for	laundry	deputy	was	filled	on	one	shift	
      during	the	sample	period.	
             OPSO	has	also	developed	a	“Pod	Daily	and	Weekly	Cleaning	Schedule	
      Checklist.”	The	checklist	is	to	be	completed	daily	by	the	deputy	assigned	to	a	
      housing	unit	and	submitted	weekly	to	the	Safety	Sanitation	Deputy	(SSD).	
      There	was	no	evidence	provided	that	the	checklist	process	has	been	
      implemented	since	the	last	compliance	tour.		
            The	Monitor	observed	the	on-going	housekeeping	issues	and	noted	the	
      level	of	overall	cleanliness	to	be	improved	since	the	last	inspection	except	for	
      several	showers	and	cells,	primarily	in	lockdown	and	high	security	pods.		
      Attention	to	cleanliness	in	single/two-person	cell	pods	and	showers	in	these	
      areas	(typically	lockdown	units)	is	needed.		
            Inmates	reported	inadequate	or	missing	cleaning	supplies.	The	Monitor	
      observed	supplies	to	be	missing	from	the	carts	and	supply	closets	in	several	
      inmate	living	areas	and	excess	supplies	found	in	others.	The	Monitor	observed	in	
      the	supply	closets	unauthorized	chemicals	(e.g.	Tilex,	bleach)	with	no	Material	
      Safety	Data	Sheets	provided.			The	Monitor	observed	spray	bottles	containing	
      cleaning	substances	not	stored	in	the	required	central	location.		Inmates	had	the	
      spray	bottes	in	the	open	dorms	and	in	individual	cells.		Such	an	absence	of	
      inmate	supervision	prevents	the	supplies	from	being	used	throughout	the	unit,	
      and	may	result	in	shortages	of	cleaning	chemicals.	Unsupervised	access	by	
      inmates	to	the	equipment	and	concentrated	chemicals	still	presents	a	potential	


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      safety	and	security	risk	to	both	inmates	and	staff.			      	
            The	Monitor	also	observed	in	most	every	housing	pod	that	the	chemical	
     concentrate	dispensers	located	in	the	supply	closets	appeared	to	be	in	generally	
     good	condition	and	working	order.	The	Monitor	observed	one	pod’s	outer	door	to	
     the	supply	closet	blocked	open	and	the	inner	door	open	allowing	unsupervised	
     access	to	the	chemicals	by	inmates.	The	closet	had	spray	bottles/chemicals	
     missing.	When	asked	by	the	Monitor,	the	two	deputies	assigned	to	the	pod	said	
     they	had	neither	inspected	the	closet	as	required	nor	were	monitoring	the	inmates	
     accessing	the	closet.	These	findings	indicate	either	a	lack	of	training	or	unit	
     supervision	on	the	part	of	the	deputies	assigned	to	the	units.	
            Based	on	the	findings	in	Compliance	Report	#	6,	OPSO	purchased	two	“All	
     Surface	Cleaning”	machines	to	clean	inmate	shower	floors.	These	machines	are	
     used	by	the	Environmental	Officer	on	an	as-needed	basis	to	supplement	regular	
     cleaning	by	inmate	workers.			
            Integral	to	sanitation,	infection	control	and	disease	prevention	is	regular	the	
     provision	of	clean	inmate	clothing	and	bedding	and	appropriate	inventory	of	these	
     supplies.		The	inmate	laundry	function	for	uniforms	and	bedding	is	currently	
     contracted	to	an	outside	vendor.	The	laundry	exchange	plan	calls	for	inmate	
     uniforms	to	be	exchanged	twice	weekly.		Inmates’	personal	laundry	(e.g.	underwear,	
     shorts)	are	left	to	the	inmates	to	wash	and	dry,	using	machines	located	in	each	
     housing	unit.			
            The	Sanitarian	reports	that	inventory	issues	for	uniforms	have	been	
     resolved,	however,	adequate	uniform	storage	space	in	the	OJC	hinders	and	limits	the	
     uniform	exchange	to	weekly.	This	practice	leads	to	inmates	hoarding	uniforms.			
            The	absence	of	inmate	supervision	results	in	inmates	destroying	or	altering	
     uniform	items	for	other	than	their	intended	purpose.	The	Monitor	observed,	in	the	
     several	of	inmate	living	areas	inspected,	an	excessive	number	and/or	altered	
     uniform	items.	The	hoarding	of	uniforms	presents	sanitation	and	infection	control	
     issues.		Because	of	the	lack	of	predictability	in	receiving	clean	uniforms,	inmates	
     wash	uniform	items	either	in	hand	sinks	or	the	washing	machines,	then	hang	the	
     clothing	from	bunks	to	dry.		This	practice	further	erodes	sanitation	and	results	in	


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     the	drying	clothing	blocking	the	view	of	deputies.			The	clothes	dryers	located	in	
     OJC’s	inmate	housing	units	intended	to	dry	inmates’	personal	clothing	continue	to	
     need	repairs	and	are	routinely	vandalized	–	thus	creating	contraband	and	significant	
     security	issues.	The	volume	of	washing	and	drying	of	inmates’	personal	laundry	
     appears	to	be	beyond	the	capacity	of	the	current	equipment,	especially	as	there	is	no	
     preventive	maintenance.	As	noted	in	previous	Compliance	Reports,	the	dryers	are	in	
     dangerous	condition:	
                •   Several	driers	had	the	flexible	vent	tubing	entirely	missing.		
                •   Several	driers	were	pushed	against	the	wall	rendering	the	vent	
                    tubing	ineffective	and	a	potential	fire	hazard	due	to	lint	
                    accumulation.	
                •   Driers	in	at	least	two	units	were	being	used	by	inmates	to	“heat”	
                    water	for	mixing	with	commissary	coffee,	soup	packets,	etc.		
     The	current	physical	and	maintenance	conditions	of	the	dryers	continue	to	pose	
     safety	and	security	issues	for	inmates	and	deputies	including	potential	fire	
     hazards	from	the	lint.	
             The	Sanitarian	continues	to	conduct	bi-weekly	inspections	of	all	housing	
     units.	The	Monitor	reviewed	the	reports	for	July	-	December	2018	which	
     consistently	identified	the	same	housekeeping	issues	by	cell	and	pod	location.		
     Examples	of	these	issues	include,	but	not	limited	to:	
     •       Accumulation	of	lint	behind	dryers	resulting	from	missing	or	broken	dryer	
             vents	in	numerous	OJC	housing	units.	The	Monitor	also	noted	orange	lint	
             accumulating	on	several	return	air	vents,	particularly	in	dorm	pods,	
             indicating	that	significant	amounts	of	drier	lint	becomes	airborne	and	
             circulates	in	these	areas.			The	accumulation	of	such	organic	material	can	
             promote	the	growth	of	mold	and	mildew	on	surfaces	if	not	regularly	
             inspected	and	cleaned.		
     •       In	both	open	dorms	and	in	cells	inmates’	personal	items	(paperwork,	
             commissary	purchases,	and	other	approved	items)	are	not	stored	as	
             required	in	OJC’s	Inmate	Handbook	in	the	personal	property	bags	provided	



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                 by	OJC.			
        •        Inmates	appear	to	be	blocking	numerous	supply	and	return	air	vents	to	
                 reduce	air	flow	and	change	the	cell’s	temperature.			
        •        Several	lower	bunks	are	wrapped	with	a	blanket	to	prevent	deputy’s	
                 observation	of	the	inmate	in	both	dorm	pods	and	individual	cells.	
        •        Complaints	from	inmates	of	cleaning	chemicals	not	available.	
        •        Excess	inmate	uniforms	and	blankets	in	cells	and	dorms.	
        •        Broken	glass	panels	in	cell	doors	and	windows	shower	windows	(three	
                 locations).	
        •        Graffiti	on	walls	in	dormitories	and	cells	(improved	since	last	compliance	
                 tour).	
IV.	D.	1.	b.	Continue	the	preventive	maintenance	plan	to	respond	to	routine	and	emergency	maintenance	
needs,	including	ensuring	that	showers,	toilets,	and	sink	units	are	adequately	installed	and	maintained.		Work	
orders	will	be	submitted	within	48	hours	of	identified	deficiencies,	or	within	24	hours	in	the	case	of	
emergency	maintenance	needs.	
            	
            Findings:		 Substantial	Compliance	
            	
            Observations:	
                  The	Monitor	reviewed	the	Sanitation	and	Environmental	Conditions	
            report	from	August	2018,	a	maintenance	operations	executive	summary	report,	
            and	other	supporting	documentation	provided	by	the	Maintenance	supervisor.	
            The	documentation	reflected	an	on-going	preventive	maintenance	program	for	
            major	building	systems	and	components	consistent	with	OPSO	policy	and	the	
            Consent	Judgment.		
                   For	routine	mechanical,	electrical	and	plumbing	work	orders,	OPSO	Policy	
            601.02,	Reporting	and	Addressing/Repairing	Maintenance	Needs,	specifically	
            requires	that	any	staff	member	observing	a	maintenance	issue	“shall	call	the	
            CMMS	work	order	facilitator”	to	report	the	issue,	“or	leave	a	message”.		OPSO	has	
            recently	implemented	a	revised	procedure	whereby	pod	deputies	are	now	
            required	to	inspect	their	assigned	posts	at	the	beginning	of	the	shift	noting	any	
            maintenance	issues	on	a	paper	inspection	form.	This	form	is	provided	to	the	on-
            duty	unit	managers	who	forward	the	form	to	the	facility	captain	for	review	and	
            the	captain’s	submission	of	necessary	work	orders.	The	forms	are	maintained	by	


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          command	staff	for	review.	This	procedure	has	not	been	in	effect	for	sufficient	
          time	for	the	Monitor	to	determine	its	effectiveness	in	meeting	the	requirements	
          of	the	Consent	Judgment	that	“Work	orders	will	be	submitted	within	48	hours	of	
          identified	deficiencies,	or	within	24	hours	in	the	case	of	emergency	maintenance	
          needs”.	A	review	of	work	orders	showed	that	routine	plumbing	and	electrical	
          repairs	were	completed	within	one	to	three	business	days	once	the	issue	was	
          reported.	
IV.	D.	1.	c.	Maintain	adequate	ventilation	throughout	OPSO	facilities	to	ensure	that	prisoners	receive	adequate	
air	flow	and	reasonable	levels	of	heating	and	cooling.		Maintenance	staff	shall	review	and	assess	compliance	
with	this	requirement,	as	necessary,	but	no	less	than	twice	annually.		
          	
          Findings:			Partial	Compliance	
          Observations:	
                   Adequate	air	flow	is	maintained	in	the	facilities,	and	is	impeded	in	some	
          housing	units	by	inmates’	blocking	air	vents.	Test	and	balance	reports	for	the	
          Kitchen/Warehouse	(2014),	OJC	(2017)	and	TDC	(2012)	were	provided.	The	
          reports	noted	numerous	exceptions	regarding	improper	installation	or	non-
          testable	devices/fixtures.	No	documentation	was	provided	to	demonstrate	those	
          issued	had	been	subsequently	corrected.	Lacking	is	documentation	that	a	
          comprehensive	review	and	assessment	of	compliance	has	taken	place	twice	
          annually.		
IV.	D.	1.	d.	Ensure	adequate	lighting	in	all	prisoner	housing	units	and	prompt	replacement	and	repair	of	
malfunctioning	lighting	fixtures	in	living	areas	within	five	days,	unless	the	item	must	be	specially	ordered.		

          Findings:	Substantial	Compliance	
          	
          Observations:	
                   Sufficient	lighting	is	provided	in	housing	units	of	both	OJC	and	TDC.	
          OJC	continues	to	maintain	a	supply	of	replacement	bulbs,	transformers,	or	
          ballasts	to	repair	malfunctioning	lighting.	At	this	tour,	there	were	no	
          outstanding	electrical	work	orders	beyond	routine	bulb	replacement.			
          	
IV.	D.	1.	e.	Ensure	adequate	pest	control	throughout	the	housing	units,	including	routine	pest	control	spraying	
on	at	least	a	quarterly	basis	and	additional	spraying	as	needed.			
         	
        Findings:		Substantial	Compliance	


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                   Observations:	
                   A	review	of	the	documentation	submitted	found	sufficient	evidence	of	a	
          pest	control	program	that	meets	the	intent	of	the	Consent	Judgment.		
                   OPSO	continues	to	maintain	a	pest	control	contract	with	a	State	licensed	
          company	resulting	in	monthly	service	for	all	housing	areas	and	bi-weekly	service	
          for	the	Kitchen/Warehouse.	
                   “Drain	flies”	were	noted	in	and	around	the	toilet	and	drain	in	the	IPC	“roll	
          out”	changing	rooms	and	on	restroom	and	shower	walls	in	several	pods.	Advice	
          from	the	pest	control	contractor	was	provided	to	the	Environmental	Officer	on	
          how	to	best	address	the	issue	of	drain	flies.	Two	non-functioning	bug	lights	were	
          observed	in	a	food	storage	area	of	the	main	kitchen	facility.	These	issues	were	
          pointed	out	to	staff	and	the	pest	control	contractor	was	on-site	the	next	day	to	
          replace	bulbs	and	fixtures.		
                   Environmental,	Sanitation	and	Life-Safety	staff	performing	inspections	and	
          responding	to	pest	control	grievances	are	now	initiating	work	orders	for	pest	
          control	issues	to	document	how,	when	and	where	issues	are	identified	and	
          remedied.	
IV.	D.	1.f.	Ensure	that	any	prisoner	or	staff	assigned	to	clean	a	biohazardous	area	is	properly	trained	in	
universal	precautions,	outfitted	with	protective	materials,	and	properly	supervised.		

          Findings:	Partial	Compliance	
          	
          Observations:	
          	
                Policy	1101.07,	“Bio-hazardous	Spill	Cleaning	Procedures”	[Revised	
          1/18/2018]	Section	VIII.	A.	1	has	been	revised	to	allow	both	deputies	and	
          inmates	who	are	properly	trained	and	equipped	to	perform	bio-hazardous	spill	
          cleanup	procedures.	Training	materials	were	devised	by	the	Sanitarian	and	
          training	was	provided	to	designated	inmates,	and	documentation	provided.	This	
          section	remains	in	partial	compliance	until	the	recently	-implemented	reporting	
          process	can	be	verified	again	during	the	next	compliance	tour. 	
                   Gaps	in	the	implementation	of	the	procedures	included	the	timely	
          notification	of	the	Sanitation	and/or	Environmental	Officer	of	bio-hazard	
          incidents.	As	of	November	2018,	the	Sanitation	and/or	Environmental	Officer	is	

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          required	to	be	notified	of	such	incidents	each	business	day	to	enable	them	to	
          replace	any	bio-hazard	clean	up	protective	materials	used	and	inspect	the	area	to	
          ensure	it	was	properly	cleaned	and	sanitized.	The	Sanitarian	reported	that	
          timeliness	of	notification	has	improved	since	the	implementation	of	the	new	
          process.		
                   Training	curricula	and	documentation	indicated	that	all	staff	are	
          receiving	initial	training	in	bio-	hazardous	cleanup	procedures.			
IV.	D.	1.	g.	Ensure	the	use	of	cleaning	chemicals	that	sufficiently	destroy	the	pathogens	and	organisms	in	
biohazard	spills.		
          	
          Findings:	Substantial	Compliance	
          	
          Observations:	
          	
               The	Monitor	observed	that	the	chemicals	on-hand	and	available	to	staff	were	
        sufficient	to	destroy	the	pathogens	and	organisms	in	biohazard	spills	common	in	the	
        jail	environment.		
                   	
IV.	D.	1.	h.	Maintain	an	infection	control	plan	that	addresses	contact,	blood	borne,	and	airborne	hazards	and	
infections.		The	plan	shall	include	provisions	for	the	identification,	treatment,	and	control	of	Methicillin-
Resistant	Staphylococcus	Aureus	(“MRSA”)	at	the	Facility.		
          	
          Findings:	Partial	compliance	
          	
          Observations:	
                   OPSO	submitted	infection	control	policy	1201.11.		This	policy	does	not	
          include	“provisions	for	the	identification,	treatment	and	control	of”	MRSA.	The	
          medical	contractor’s	policy	on	infection	control	is	included	in	1201.11	by	
          reference,	but	was	not	provided	to	the	Monitors	for	this	compliance	tour.		
                   OPSO	has	provided	for	annual	review	the	policy	and	SOP	for	the	
          handling	of	inmate	mattresses	to	include	staff	and/or	inmate	training	program	
          for	sanitation	that	includes	mattress	cleaning,	and	chemical	use	and	control.	
          This	procedure	is	specifically	required	by	the	Infection	Control	Plan.	The	
          Monitor	observed	that	mattresses	improperly	stored	in	an	outside	hallway	at	
          the	TDC	facility	during	previous	tours	had	been	corrected.	The	Monitor	
          recommended	that	wooden	pallets	used	for	clean	mattress	storage	in	the	OJC	


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          be	exchanged	for	plastic	or	metal	pallets.	This	exchange	was	made	prior	to	the	
          end	of	this	compliance	tour.	
IV.	D.	2.	Environmental	Control	
          	
IV.	D.	2.	a.	OPSO	shall	ensure	that	broken	or	missing	electrical	panels	are	repaired	within	30	days	of	identified	
deficiencies,	unless	the	item	needs	to	be	specially	ordered.		
          Findings:	Substantial	Compliance	
          Observations:	
                   OPSO	Policies	601.02	“Reporting	and	Addressing	Maintenance	Needs”	and	
          Policy	601.03	“Preventive	Maintenance”	[August	15,	2016]	and	are	implemented.	
          Major	electrical	panels	at	OJC	and	TDC	are	located	in	secure	maintenance	spaces	
          inaccessible	to	inmates.	
IV.	D.	2.	b.	Develop	and	implement	a	system	for	maintenance	and	timely	repair	of	electrical	panels,	devices,	
and	exposed	electrical	wires.		
          	
                   Findings:	Substantial	Compliance	
                   Observations:	
                 Exposed/damaged	wiring/cabling	was	observed	during	the	previous	
        compliance	tour	in	several	housing	pod	cleaning	supply	closets	were	repaired	
        immediately	prior	to	the	current	compliance	tour.		
          	

IV.	D.	Sanitation	and	Environmental	Conditions	
IV.	D.	3.	Food	Service	
        This	report	summarizes	the	findings	for	the	Food	Service	provisions	of	the	Consent	
Judgment	based	on	the	Monitor’s	document	reviews	and	tour	conducted	January	14-16,	
2019.		The	Monitor	inspected	the	Orleans	Justice	Center	(OJC)	Kitchen/Warehouse;	
observed	meal	service	activities;	and	spoke	with	OPSO	supervisors	and	deputies,	CBM	
Summit’s	employees	(the	contracted	food	service	provider),	inmate	kitchen	workers,	and	
inmates	in	housing	units.			
        Since	the	last	tour,	(June	11-12,	2018),	there	has	been	progress	toward	compliance	
with	the	Food	Service	provisions.		One	of	the	most	significant	improvements	was	moving	
the	production	of	meal	trays	to	the	main	kitchen	and	discontinuing	the	practice	of	
transporting	pans	of	heated	foods	to	the	2nd	floor	OJC	Kitchen	for	meal	tray	production.		
Even	though	food	temperature	violations	that	place	inmates	at	risk	of	food-borne	illnesses	


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were	found	during	this	tour,	performing	the	meal	tray	production	activities	in	the	main	
kitchen	facility	allows	for	quicker	corrective	action	when	food	temperature	problems	are	
found.			
         However,	concerning	is	that	the	final	versions	of	the	1001.01,	Meal	Preparation	and	
Transport	and	1001.04,	Food	Service	Inspections	and	Reviews	policies	have	not	been	
provided	to	the	Monitor	and	revisions	have	not	been	provided	since	prior	to	the	June	2018	
tour.			 	
         The	OJC	reported	grievances	for	January	through	November	2018	indicates	that	447	
food	service	grievances	were	filed,	which	represents	9.5%	of	the	total	grievances	for	the	
11-month	period.		This	is	the	fourth	highest	category	of	grievances	behind	
Facility/Miscellaneous,	Medical,	and	Environmental/Sanitation	Complaints.				
IV.	D.	3.	a.	OPSO	shall	ensure	that	food	service	staff,	including	prisoner	staff,	continues	to	receive	in-service	
annual	training	in	the	areas	of	food	safety,	safe	food	handling	procedures,	and	proper	hygiene,	to	reduce	the	
risk	of	food	contamination	and	food-borne	illnesses.	
         	
         Findings:	Partial	Compliance	
            	
         Observations:	
                 The	Monitors	observed	violations	of	the	Louisiana	Food	Regulations	and	
         significant	findings	are	summarized	in	sections	IV.	D.	3.	b.	Cleanliness	and	IV.	D.	3.	c.	
         Record	Keeping/Temperatures	of	this	report.		These	findings	are	indicators	of	a	lack	
         of	training	or	ineffective	training.		To	achieve	substantial	compliance,	OPSO	and	
         CBM	Summit	must	ensure	that	food	service	staff	receive	effective	training	in	the	
         areas	of	food	safety,	including	safe	food	handling	procedures.							
                 	
IV.	D.	3.	b.	Ensure	that	dishes	and	utensils,	food	preparation	and	storage	areas,	and	vehicles	and	containers	
used	to	transport	food	are	appropriately	cleaned	and	sanitized	on	a	daily	basis.	
         	
         Findings:	Non-Compliance	
         	
         Observations:	
                 Completion	and	implementation	of	draft	policies	1001.01,	Meal	Preparation	
         and	Transport	and	1001.04,	Food	Service	Inspections	and	Reviews,	along	with	
         compliance	with	all	previous	implemented	policies	and	the	Louisiana	Food	
         Regulations	is	required	to	achieve	substantial	compliance.		Some	issues	and	


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        violations	identified	during	the	inspection	of	the	kitchen	include,	but	are	not	limited	
        to:	
        •       On	January	15,	2019,	the	“Detergent	Empty”	audible	and	visible	alarms	were	
                alerting	on	the	back	of	the	automatic	dishwasher.		The	dishwasher	was	in	use,	
                the	detergent	canister	was	empty,	and	it	is	unknown	how	long	the	dishwasher	
                was	running	without	detergent.		The	detergent	was	refilled	after	the	Monitor	
                reported	the	problem	to	kitchen	staff.		A	properly	functioning	dishwasher	
                including	dispensing	of	detergent	is	fundamental	in	ensuring	that	dishes	and	
                utensils	are	appropriately	cleaned	and	sanitized	between	uses.	
        •       On	January	15,	2019,	the	Monitor	observed	a	piece	of	potato	on	the	kitchen	floor	
                and	found	it	to	still	be	there	over	24-hours	later.		Upon	closer	examination,	the	
                Monitor	found	that	it	was	covered	in	mold.		Based	on	this	observation,	it	is	
                evident	that	the	floor	in	this	area	was	not	cleaned	and	sanitized	on	a	daily	basis.				
        •       Bakery	equipment	was	observed	to	be	dirty	with	dried,	caked	on	food	debris.		
                The	Monitor	was	informed	that	one	of	the	pieces	of	equipment	had	not	been	
                operational	since	2015	and	another	piece	of	equipment	had	not	worked	“for	
                years”.		OPSO	and	CBM	Summit	is	clearly	not	ensuring	that	food	preparation	
                equipment	is	cleaned	and	sanitized	on	a	daily	basis	as	is	essential	to	maintain	a	
                hygienic	kitchen	environment.		
IV.	D.	3.	c.	Check	and	record	on	a	daily	basis	the	temperatures	in	the	refrigerators,	coolers,	walk-in	
refrigerators,	the	dishwasher	water,	and	all	other	kitchen	equipment	with	a	temperature	monitor,	to	ensure	
proper	maintenance	of	food	service.	
        	
        Findings:	Partial	Compliance	
        	
        Observations:	
                   The	Consent	Judgment	requires	that	OPSO	“Check	and	record	daily	the	
        temperatures	in	the	refrigerators,	coolers,	walk-in	refrigerators,	the	dishwasher	
        water,	and	all	other	kitchen	equipment	with	a	temperature	monitor,	to	ensure	
        proper	maintenance	of	food	service	equipment.”		The	importance	of	maintaining	the	
        temperatures	specified	in	the	Louisiana	Food	Code	in	all	aspects	of	the	food	service	
        operation	is	to	ensure	safe	food	and	prevent	foodborne	illness.		Therefore,	the	
        Monitor	reviewed	temperature	documentation,	checked	random	food	and	water	


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     temperatures,	and	used	the	temperatures	as	a	benchmark	for	determining	OPSO’s	
     compliance	with	the	Louisiana	Food	Code.		Hence,	if	OPSO	complies	with	the	
     Louisiana	Food	Code,	they	will	also	comply	with	the	section	of	the	Consent	
     Judgment	requiring	“proper	maintenance	of	food	service	equipment.”		Conversely,	
     documenting	temperatures	simply	for	the	sake	of	documentation,	without	regard	to	
     the	Louisiana	Food	Code	minimum	temperatures,	and	not	subsequently	taking	and	
     documenting	corrective	actions	when	problems	are	found,	is	not	only	a	poor	
     practice,	but	also	unsafe	and	can	lead	to	foodborne	illness	outbreaks.						
              OPSO	has	not	completed	the	food	service	policies	that	incorporate	the	
     requirements	of	this	paragraph.		Refrigeration	temperature	logs	continue	to	remain	
     in	compliance.		The	previous	“Hot	Holding	Equipment	Temperatures”	logs	have	
     been	replaced	with	a	form	that	logs	only	a	single	temperature	of	hot	foods	at	one	
     point	“out	of	pot”	and	“out	of	warmer.”		The	form	also	logs	a	single	“time”;	however,	
     it	does	not	indicate	what	specific	time	is	referenced.		The	new	form	is	an	
     improvement,	but	further	refinement	is	required;	technical	assistance	was	provided	
     and	enthusiastically	received.			
              Evidence	that	OPSO	does	not	comply	with	this	provision	includes:		
          •   On	January	14,	2019,	the	CBM	Summit	Food	Service	Director	(FSD)	provided	
              documentation	that	indicated	the	Salisbury	steaks	prepared	for	the	lunch	
              meal	were	at	a	temperature	of	213°F	“out	of	the	pot”,	which	according	to	the	
              FSD	indicated	the	cooking	temperature	and	182°F	“out	of	the	warmer”,	
              which	indicated	the	temperature	when	removed	from	the	food	warmer	and	
              placed	on	the	tray	serving	line.		However,	when	random	temperatures	were	
              taken	of	four	random	pans	of	Salisbury	steaks	still	held	in	the	food	warmers,	
              temperatures	below	the	Louisiana	Food	Code	minimum	required	
              temperature	of	135°F	were	found	as	temperatures	measured	at	112°F,	
              114°F,	119°F,	120°F	and	125°F.		While	several	other	temperature	
              measurements	exceeded	the	minimum	requirement,	none	came	to	those	
              documented	by	the	kitchen	employee.		Corrective	action	was	taken	and	the	
              Salisbury	steaks	were	reheated	to	a	safe	temperature.		The	Monitor’s	finding	



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              of	Salisbury	steaks	at	a	temperature	of	112°F	when	the	kitchen	staff	
              documented	the	product	had	been	cooked	to	213°F	and	were	at	182°F	when	
              removed	from	the	warmer	clearly	indicates	a	failure	of	equipment	or	
              procedure	used	to	measure	the	temperature	at	some	point	in	the	operation.											
          •   The	October	2018	Dishwasher	Temperature	Log	provided	by	OPSO	indicates	
              that	the	dishwasher	final	rinse	temperatures	did	not	comply	with	the	
              Louisiana	Food	Code	dishwasher	final	rinse	water	temperature	requirement	
              of	not	less	than	180°F	for	the	dates	of	October	1,	2018	through	October	7,	
              2018.		The	only	corrective	action	logged	on	the	form	was	a	notation	of	
              “reported	to	Ruiz”	on	October	1,	2018.		OPSO	reported	that	the	machine’s	
              heating	element	went	out	causing	the	temperature	shortfalls.		A	final	
              minimum	dishwasher	rinse	temperature	of	180°F	is	required	to	kill	bacteria.		
              Therefore,	it	is	imperative	that	OPSO	employ	and	document	other	
              procedures	when	the	dishwasher	is	not	functioning	properly	such	as	serving	
              meals	on	disposable	trays	or	washing	dishes	in	a	3-compartment	sink.															
          •   The	water	temperature	of	three	of	four	random	handwashing	sinks	tested	on	
              January	15,	2019	were	found	to	be	below	the	Louisiana	Food	Code	required	
              minimum	water	temperature	of	at	least	85°F	(dishwashing	room	=	68°F,	
              small	kettle/tray	line	area	=	52°F,	bakery	=	65°F,	ice	machine	room	=	104°F).		
              The	Monitor	was	advised	that	the	low	water	temperatures	were	related	to	
              problems	with	the	hot	water	heaters	and	that	the	OPSO	Facility	Engineer	was	
              working	on	it.		However,	handwashing	sink	water	temperatures	below	the	
              minimum	state	requirement	were	again	found	on	January	16,	2019	(small	
              kettle/tray	line	area	=	52°F,	cook	pit	area	#1	=	60°F,	cook	pit	area	#2	=	90°F,	
              near	office	=	97°F,	bakery	inside	door	=	66°F,	bakery	=	70°F,	ice	maker	room	
              =	66°F,	dish	wash	area	=	73°F).		Hands	are	a	primary	mode	of	transmission	of	
              disease-causing	agents.		Therefore,	it	is	essential	that	OPSO	ensure	proper	
              maintenance	of	the	hot	water	heaters	that	supply	the	kitchen	sinks.		Cold	
              water,	especially	the	chilly	water	temperature	(52°F)	found	in	the	
              handwashing	sink	near	the	kettle	where	the	lunch	entrees	were	being	heated	


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                  and	the	trays	were	being	prepared	serves	as	a	deterrent	to	proper	
                  handwashing.		Furthermore,	it	is	also	important	for	OPSO	to	measure,	record,	
                  and	maintain	temperatures	of	the	water	in	the	handwashing	sinks	in	the	
                  kitchen	on	a	routine	basis,	as	covered	under	the	Louisiana	Food	Code.						
              •   Random	temperatures	were	also	taken	of	pans	of	rice	in	the	warmers	prior	to	
                  the	lunch	meal	on	January	15,	2019.		Temperatures	below	the	minimum	
                  required	hot	holding	temperature	were	measured	at	76°F	and	80°F.		A	pan	of	
                  rice	on	the	steamtable	for	the	tray	serving	line	was	measured	at	95°F	and	
                  103°F.		Corrective	action	was	taken	and	the	rice	was	reheated	to	a	safe	
                  temperature.		Although	rice	may	seem	like	a	relatively	“safe”	food,	the	
                  bacteria	Bacillus	cereus	is	associated	with	rice	and	can	cause	diarrhea	and	
                  vomiting.		Therefore,	it	is	important	to	ensure	that	rice	is	held	at	the	required	
                  temperatures	after	cooking	to	prevent	foodborne	illness.			
IV.	D.	4.		Sanitation	and	Environmental	Conditions	Reporting				
          	
IV.	D.	4.	a.	Provide	the	Monitor	a	periodic	report	on	sanitation	and	environmental	conditions	in	the	Facility.		
These	periodic	reports	shall	be	provided	to	the	Monitor	within	four	months	of	the	Effective	Date;	and	every	
six	months	thereafter	until	termination	of	this	Agreement.		The	report	will	include	
     (1)       number	and	type	of	violations	reported	by	health	and	sanitation	inspectors;	
     (2)       number	and	type	of	violations	of	state	standards;	
     (3)       number	of	prisoner	grievances	filed	regarding	the	environmental	conditions	at	the	Facility;	
     (4)       number	of	inoperative	plumbing	fixtures,	light	fixtures,	HVAC	systems,	fire	protection	systems,	
               and	security	systems	that	have	not	been	repaired	within	30	days	of	discovery;	
     (5)       number	of	prisoner-occupied	areas	with	significant	vandalism,	broken	furnishings,	or	excessive	
               clutter;	
     (6)       occurrences	of	insects	and	rodents	in	the	housing	units	and	dining	halls;	and	
     (7)       occurrences	of	poor	air	circulation	in	housing	units.	

          Findings:	Substantial	Compliance	
          	
          Observations:	
                   The	July	–	December	2018	Sanitation	and	Environmental	report	was	
          made	available	to	the	Monitor	on	2/5/2019.	The	report	contained	the	requisite	
          information	spelled	out	by	the	Consent	Judgement	as	well	as	supporting	
          documentation.	
          IV.	D.	4.	b.	Review	the	periodic	sanitation	and	environmental	conditions	reports	to	determine	
          whether	the	prisoner	grievances	and	violations	reported	by	health,	sanitation,	or	state	inspectors	
          are	addressed,	ensuring	that	the	requirements	of	this	Agreement	are	met.		OPSO	shall	make	
          recommendations	regarding	the	sanitation	and	environmental	conditions,	or	other	necessary	



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        changes	in	policy,	based	on	this	review.		The	review	and	recommendations	will	be	documented	and	
        provided	to	the	Monitor.		
        	
        Findings:		Substantial	Compliance	
        	
        Observations:	
                 The	Consent	Judgment	requires	a	review	of	the	periodic	sanitation	and	
        environmental	conditions	reports	be	made	to	ensure	issues	are	addressed	
        along	with	making	recommendations	regarding	sanitation	and	environmental	
        conditions	and	policy	changes	based	upon	the	review.	Such	reviews	are	to	be	
        documented	and	provided	to	the	Monitor.		

                The	Monitor	reviewed	the	supporting	documentation	provided	by	OPSO	
        and	determined	that	it	was	sufficient	to	satisfy	the	requirements	of	the	Consent	
        Judgment.	OPSO	provided	documentation	of	the	required	review	and	basic	
        analysis	of	prisoner	grievances	and	inspection	violations	noted	regarding	
        sanitation	and	environmental	conditions	during	the	rating	period.	The	
        Sanitation	Officer	has	revised	the	procedure	to	exclude	the	classification	of	
        routine	requests	for	clothing	items	as	grievances	to	provide	a	more	accurate	
        accounting	of	grievances.	No	policy	or	procedure	changes	were	recommended	
        to	the	Monitor.		
IV.	E.	1.	Fire	and	Life	Safety	
          	
        IV.	E.	1.	a.	Ensure	that	necessary	fire	and	life	safety	equipment	is	properly	maintained	and	
        inspected	at	least	quarterly.		These	inspections	must	be	documented.		
        	
        Findings:		Partial	compliance	
        Observations:	
                The	fire	and	life	safety	equipment	was	not	properly	maintained	at	the	
        time	of	this	compliance	tour.		The	OJC	main	Fire	Alarm	Control	Panel	(FACP)	had	
        received	a	“Yellow	Tag”	by	the	fire	alarm	contractor	due	to	a	faulty	filter	in	one	
        of	the	smoke	detection	systems.		The	Monitor	was	informed	of	a	second	“Yellow	
        Tag”	that	was	added	to	the	FACP	due	to	the	malfunctioning	of	key	aspects	of	the	
        smoke	evacuation	system	in	several	inmate	housing	units	(recreation	yard	
        doors	failing	to	automatically	open	for	make-up	air	when	the	smoke	evacuation	


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          fans	actuate).	The	Monitor	was	advised	by	Chief	Lampard	that	the	repairs	are	
          being	coordinated	but	will	require	significant	additional	funding.	In	the	interim,	
          Chief	Lampard	had	received	approval	from	the	Fire	Marshal	for	a	temporary	
          work	around	requiring	security	staff	to	keep	a	designated	recreation	door	
          unsecured	at	all	times.		
                   The	“Facility	Dude”	work	order	system	maintains	the	schedule	of	
          inspections	and	notifies	the	Fire	Safety	Officer	when	an	inspection	is	due.	OPSO	
          continues	to	maintain	contracts	with	licensed	vendors	to	complete	annual	
          inspections	of	all	fire	and	life	safety	equipment.	Prior	to	this	tour,	OPSO	provided	
          evidence	of	the	most	recent	equipment	inspections,	in	accordance	with	the	
          Consent	Judgment	and	policy.	OPSO	provided	copies	of	quarterly	inspections	
          conducted	by	the	Fire	Safety	Officer	for	Kitchen/Warehouse,	OJC,	and	TDC	for	the	
          third	and	fourth	quarters	of	2018.	This	documentation,	supported	by	
          observations	during	the	compliance	tour,	indicates	that	OPSO	ensures	that	
          necessary	fire	and	life	safety	equipment	is	properly	maintained	and	inspected	at	
          required	intervals	with	the	exception	noted	below.	These	inspections	are	
          conducted	by	a	qualified	fire	safety	officer	or	a	qualified	contractor,	as	required	
          by	the	Consent	Judgment.	
                   The	Monitor	noted	all	fire	extinguishers	observed	were	within	their	
         inspection	window	and	up	to	date.	One	exit	sign	in	TDC	Bldg.	1	East	and	Bldg.	1	
         West	were	noted	to	be	unlit.	Chief	Lampard	initiated	work	orders	to	replace	the	
         bulbs.	
IV.	E.	1.	b.	Ensure	that	a	qualified	fire	safety	officer	conducts	a	monthly	inspection	of	the	facilities	for	
compliance	with	fire	and	life	safety	standards	(e.g.,	fire	escapes,	sprinkler	heads,	smoke	detectors,	etc.).		
          	
          Findings:	Substantial	Compliance	
          Observations:	
                   Except	for	the	month	of	November	2018	when	no	monthly	inspections	
          were	performed,	the	Monitor	was	provided	with	the	monthly	inspection	
          documents	for	the	Kitchen	&	Warehouse,	OJC,	and	TDC	facilities	performed	
          since	the	June	2018	compliance	tour.	The	reports	are	thorough	and	complete.	
                 Examples	of	these	issues	noted	in	the	reports	and	observed	by	the	Monitor	


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        during	this	inspection	include,	but	were	not	limited	to:	
        •           Accumulation	of	lint	behind	dryers	resulting	from	missing	or	broken	dryer	
                    vents	in	numerous	OJC	housing	units	and	presenting	a	fire	safety	hazard.				
        •           In	both	open	dorms	and	in	cells	inmates’	personal	items	(paperwork,	
                    commissary	purchases,	and	other	approved	items)	are	not	stored	as	
                    required	in	OJC’s	Inmate	Handbook	in	the	personal	property	bags	provided	
                    by	OJC	and	in	several	instances,	appeared	excessive	presenting	a	fire	safety	
                    hazard.		
        •           Excess	inmate	uniforms	and	blankets	in	cells	presenting	a	fire	safety	hazard.	
        •           Broken	glass	panels	in	cell	doors	and	windows	shower	windows	(three	
                    locations)	which	may	decrease	the	glass’	capacity	to	impede	the	spread	of	
                    smoke	or	fire.	
IV.	E.	1.	c.	Ensure	that	comprehensive	fire	drills	are	conducted	every	six	months.		OPSO	shall	document	these	
drills,	including	start	and	stop	times	and	the	number	and	location	of	prisoners	who	were	moved	as	part	of	the	
drills.	
                     	
                     Findings:	Substantial	Compliance	
        Observations:	
                    The	Consent	Judgment	requires	comprehensive	fire	drills	every	six	months.	
        OPSO	provided	documentation	for	a	fire	drill	conducted	in	August	2018.		
            	
IV.	E.	1.	d.	Provide	competency-based	training	to	staff	on	proper	fire	and	emergency	practices	and	procedures	
at	least	annually.		
            	
            Findings:		Substantial	Compliance	

            Observation:	

                     OPSO	has	developed	the	requisite	policy,	training	course	
            syllabus/outline	and	written	directives.	The	Monitor	was	provided	with	
            documentation	reflecting	the	requisite	training	was	provided	to	all	pre-service	
            and	in-service	classes	in	2018.			
            	
IV.	E.	1.	e.	Within	120	days	of	the	Effective	Date,	ensure	that	emergency	keys	are	appropriately	marked	and	
identifiable	by	touch	and	consistently	stored	in	a	quickly	accessible	location,	and	that	staff	are	adequately	
trained	in	use	of	the	emergency	keys.		
                	


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           Findings:	Substantial	compliance	
           	
           Observations:	
                   The	Monitor	found	the	physical	security	and	accountability	for	emergency	
           keys	to	be	in	substantial	compliance	with	the	Consent	Judgment	and	Policy	
           801.35	“Key	and	Key	Card	Control”.		Inspection	reports	note	the	routine	
           verification	of	the	keys	and	the	Fire	Safety	Officer	documents	the	periodic	testing	
           of	the	keys	to	verify	they	are	operational.	The	Fire	Safety	Officer	trains	staff	on	
           the	use	of	the	location	and	use	of	the	keys	during	the	fire	and	life	safety	training	
           curriculum	provided	to	all	staff	at	the	training	academy.		

IV.	E.	2.	Fire	and	Life	Safety	Reporting	
           	
IV.	E.	2.	a.	(1)	–	(3)	Provide	the	Monitor	a	periodic	report	on	fire	and	life	safety	conditions	at	the	Facility.		
These	periodic	reports	shall	be	provided	to	the	Monitor	within	four	months	of	the	Effective	Date	and	every	six	
months	thereafter	until	termination	of	this	Agreement.			Each	report	shall	include:	
           (1)				number	and	type	of	violations	reported	by	fire	and	life	safety	inspectors;		
           (2)					fire	code	violations	during	annual	fire	compliance	tours;	and		
           (3)					occurrences	of	hazardous	clutter	in	housing	units	that	could	lead	to	a	fire.	
      	
          Findings:	Substantial	Compliance	
           	
           Observations:	
           The	July-December	2018	Fire	and	Life	Safety	Conditions	report	was	made	available	
           to	the	Monitor	on	February	5,	2019.		The	report	contained	the	requisite	
           information	spelled	out	by	the	Consent	Judgment	as	well	as	supporting	
           documentation.	
           	
IV.	E.	2.	b.	Review	the	periodic	fire	and	life	safety	reports	to	determine	whether	the	violations	reported	by	fire	
and	life	safety	inspectors	are	addressed,	ensuring	the	requirements	of	this	Agreement	are	being	met.		OPSO	
shall	make	recommendations	regarding	the	fire	and	life	safety	conditions,	or	other	necessary	changes	in	
policy,	based	on	this	review.		The	review	and	recommendations	will	be	documented	and	provided	to	the	
Monitor.		
           	
           Findings:	Substantial	Compliance	
           Observations:	
                    The	Consent	Judgment	requires	a	review	of	the	periodic	fire	and	life	
           safety	reports	be	made	to	ensure	issues	are	addressed	along	with	making	



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      recommendations	regarding	the	fire	and	life	safety	conditions	and	policy	
      changes	based	upon	the	review.	Such	reviews	are	to	be	documented	and	
      provided	to	the	Monitor.	
           The	Monitor	reviewed	the	supporting	documentation	provided	by	OPSO	and	
      determined	that	it	was	sufficient	to	satisfy	the	requirements	of	the	Consent	
      Judgment.	OPSO	provided	documentation	of	the	required	review	and	basic	analysis	
      of	fire	and	life	safety	conditions	as	well	as	any	necessary	changes	in	policy	or	
      procedure.	The	OPSO	Life	Safety	Officer	has	communicated	changes	in	the	
      following:	procedures	for	the	conduct	of	fire	drills	to	enhance	staff	participation;	
      procedures	for	documenting	staff	participation	in	drills;	documentation	of	life	
      safety	issues/corrective	action	in	the	facility	maintenance	management	system;	
      and	new	procedures	for	coordinating	with	the	Unit	Managers	specifically	in	regard	
      to	the	control	of	clutter	and	contraband	in	the	units.	No	other	policy	or	procedure	
      changes	were	recommended	to	the	Monitor.		
      	
	
	                         	




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IV.	F.	 Language	Assistance	
	
F.1.a.	OPP	shall	ensure	effective	communication	with,	and	provide	timely	and	meaningful	access	to	services	at	
OPP	to	all	prisoners	at	OPP,	regardless	of	their	national	origin	or	limited	ability	to	speak,	read,	write,	or	
understand	English.		To	achieve	this	outcome,	OPP	shall:	
         (1)       Develop	and	implement	a	comprehensive	language	assistance	plan	and	policy	that	complies,	
                   at	a	minimum,	with	Title	VI	of	the	Civil	Rights	Act	of	1964,	as	amended,	(42	U.S.C.	§	2000d	et	
                   seq.)	and	other	applicable	law;	
         (2)       Ensure	that	all	OPP	personnel	take	reasonable	steps	to	provide	timely,	meaningful	language	
                   assistance	services	to	Limited	English	Proficient	(“LEP”)	prisoners;	
         (3)       At	intake	and	classification,	identify	and	assess	demographic	data,	specifically	including	the	
                   number	of	LEP	individuals	at	OPP	on	a	monthly	basis,	and	the	language(s)	they	speak;	
         (4)       Use	collected	demographic	information	to	develop	and	implement	hiring	goals	for	bilingual	
                   staff	that	meet	the	needs	of	the	current	monthly	average	population	of	LEP	prisoners;	
         (5)       Regularly	assess	the	proficiency	and	qualifications	of	bilingual	staff	to	become	an	OPP	
                   Authorized	Interpreter	(“OPPAI”);	
         (6)       Create	and	maintain	an	OPPAI	list	and	provide	that	list	to	the	classification	and	intake	staff;	
                   and	
         (7)       Ensure	that	while	at	OPP,	LEP	prisoners	are	not	asked	to	sign	or	initial	documents	in	English	
                   without	the	benefit	of	a	written	translation	from	an	OPPAI.	
F.2.a.	OPP	shall	develop	and	implement	written	policies,	procedures	and	protocols	for	documenting,	
processing,	and	tracking	of	individuals	held	for	up	to	48	hours	for	the	U.S.	Department	of	Homeland	Security	
(“DHS”);	
F.2.b.	Policies,	procedures,	and	protocols	for	processing	48-hour	holds	for	DHS	will:	
         (1)       Clearly	delineate	when	a	48-hour	hold	is	deemed	to	begin	and	end;		
         (2)       Ensure	that,	if	necessary,	an	OPPAI	communicates	verbally	with	the	OPP	prisoner	about	
                   when	the	48-hour	period	begins	and	is	expected	to	end;		
         (3)       Provide	a	mechanism	for	the	prisoner’s	family	member	and	attorney	to	be	informed	of	the	
                   48-hour	hold	time	period,	using,	as	needed,	an	OPPAI	or	telephonic	interpretation	service;		
         (4)       Create	an	automated	tracking	method,	not	reliant	on	human	memory	or	paper	
                   documentation,	to	trigger	notification	to	DHS	and	to	ensure	that	the	48-hour	time	period	is	
                   not	exceeded.	 	
         (5)       Ensure	that	telephone	services	have	recorded	instructions	in	English	and	Spanish;	
         (6)       Ensure	that	signs	providing	instructions	to	OPP	prisoners	or	their	families	are	translated	
                   into	Spanish	and	posted;	
         (7)       Provide	Spanish	translations	of	vital	documents	that	are	subject	to	dissemination	to	OPP	
                   prisoners	or	their	family	members.		Such	vital	documents	include,	but	are	not	limited	to:			
              i.        grievance	forms;		
              ii.       sick	call	forms;		
              iii.      OPP	inmate	handbooks;		
              iv.       Prisoner	Notifications	(e.g.,	rule	violations,	transfers,	and	grievance	responses)	and		
              v.        “Request	for	Services”	forms.	
         (8)       Ensure	that	Spanish-speaking	LEP	prisoners	obtain	the	Spanish	language	translations	of	
                   forms	provided	by	DHS;	and		         	
         (9)       Provide	its	language	assistance	plan	and	related	policies	to	all	staff	within	180	days	of	the	
                   Effective	Date	of	this	Agreement.	
F.3.a.	Within	180	days	of	the	Effective	Date,	OPP	shall	provide	at	least	eight	hours	of	LEP	training	to	all	
corrections	and	medical	and	mental	health	staff	who	may	regularly	interact	with	LEP	prisoners.	
         (1)       LEP	training	to	OPP	staff	shall	include:	
              i.        OPP’s	LEP	plan	and	policies,	and	the	requirements	of	Title	VI	and	this	Agreement;	
              ii.       how	to	access	OPP-authorized,	telephonic	and	in-person	OPPAIs;	and	
              iii.      basic	commands	and	statements	in	Spanish	for	OPP	staff.	




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        (2)     OPP	shall	translate	the	language	assistance	plan	and	policy	into	Spanish,	and	other	languages	
                as	appropriate,	and	post	the	English	and	translated	versions	in	a	public	area	of	the	OPP	
                facilities,	as	well	as	online.			
(3) OPP	shall	make	its	language	assistance	plan	available	to	the	public.	
F.4.		
       (1)      OPP	shall	ensure	that	adequate	bilingual	staff	are	posted	in	housing	units	where	DHS	
                detainees	and	other	LEP	prisoners	may	be	housed.	
       (2)      OPP	shall	ensure	that	an	appropriate	number	of	bilingual	staff	are	available	to	translate	or	
                interpret	for	prisoners	and	other	OPP	staff.		The	appropriate	number	of	bilingual	staff	will	be	
                determined	based	on	a	staffing	assessment	by	OPP.
	
                Findings:		
                F.1.a.	-				Partial	Compliance	
                F.2.a	-					Not	Applicable	
                F.2.b.	-				Not	Applicable	
                F.3.a.	-					Partial	Compliance	
                F.4	-			Partial	Compliance	
	
        Observations:	
                   The	Language	Assistance	Plan	required	by	this	paragraph	has	not	been	
        prepared,	or	reviewed	by	the	parties.		
        	          As	OPSO	asserts	that	DHS	and	ICE	inmates	are	not	detained,	two	subsections	
        are	deemed	to	by	Not	applicable.	
        	          Paragraph	F.3.a.	is	determined	in	partial	compliance	as	the	Language	
        Assistance	plan	has	not	been	completed.	
        	          OPSO	provided	documentation	regarding	the	use	of	the	language	line;	
        however,	did	not	address	compliance	with	the	specific	requirements	of	F.	4.	(2).	
	                                  	




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IV.	G.		 Youthful	Prisoners	
	
Consistent	with	the	Prison	Rape	Elimination	Act	of	2003,	42	U.S.C.	§	15601,	et	seq.,	and	its	implementation	of	
regulations,	a	youthful	prisoner	shall	not	be	placed	in	a	housing	unit	in	which	the	youthful	prisoner	will	have	
sight,	sound,	or	physical	contact	with	any	adult	prisoner	through	use	of	a	shared	dayroom	or	other	common	
space,	shower	area,	or	sleeping	quarters.		In	areas	outside	of	housing	units,	OPSO	shall	either:		maintain	sight	
and	sound	separation	between	youthful	prisoners	and	adult	prisoners,	or	provide	direct	staff	supervision	
when	youthful	prisoners	and	adult	prisoners	have	sight,	sound,	or	physical	contact.		OPP	shall	ensure	that	
youthful	prisoners	in	protective	custody	status	shall	have	no	contact	with,	or	access	to	or	from,	non-
protective	custody	prisoners.		OPP	will	develop	policies	for	the	provision	of	developmentally	appropriate	
mental	health	and	programming	services.	
	
     Findings:	 Partial	compliance	
	
        Observations:	
                  OPSO	continues	the	Travis	Hill	School	to	provide	programming	to	eligible	
        inmates.			OPSO	has	appropriately	linked	compliance	with	this	provision	to	IV.	A.	12.,	
        Sexual	Abuse	and	the	upcoming	PREA	audit.	
                  OPSO	policy	(1401.08)	requires	that	programming	to	meet	the	
        developmentally	appropriate	mental	health	and	programming	needs	are	provided;	
        but	declined	to	provide	examples	of	the	programming.	
VI.			A	–	D.	The	New	Jail	Facility	and	Related	Issues	
         	
A.       New	Jail			
The	Parties	anticipate	that	Defendant	will	build	a	new	jail	facility	or	facilities	that	will	replace	or	supplement	
the	current	facility	located	at	2800	Gravier	Street,	New	Orleans,	Louisiana.		This	Agreement	shall	apply	to	any	
new	jail	facility. 	
	
        Finding	–	Substantial	Compliance.	
B.      Design	and	Design	Document		
Defendant	shall	obtain	the	services	of	a	qualified	professional	to	evaluate,	design,	plan,	oversee,	and	
implement	the	construction	of	any	new	facility.		At	each	major	stage	of	the	facility	construction,	Defendant	
shall	provide	the	Monitor	with	copies	of	design	documents.	
              	
              Finding	–	Substantial	Compliance			
                  This	provision	provides	that,	“The	Defendant	shall	obtain	the	services	of	a	
        qualified	professional	to	evaluate,	design,	plan,	oversee,	and	implement	the	




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          construction	of	any	new	facility	[emphasis	added].		At	each	major	stage	of	the	facility	
          construction,	Defendant	shall	provide	the	Monitor	with	copies	of	design	documents.”	
C.        Staffing		
Defendant	shall	consult	with	a	qualified	corrections	expert	as	to	the	required	services	and	staffing	levels	
needed	for	any	replacement	facility.		OPSO	shall	complete	a	staffing	study	to	ensure	that	any	new	facility	is	
adequately	staffed	to	provide	prisoners	with	reasonable	safety.	
                  	
                  The	Consent	Judgment	requires	that	the	Defendant	shall	consult	with	a	
          qualified	corrections	expert	as	to	the	required	services	and	staffing	levels	needed	
          for	any	replacement	facility.		The	Monitors	will	await	planning	for	Phase	III	to	
          ascertain	future	compliance.	For	now,	the	paragraph	is	in	substantial	compliance.	
D.        Compliance	with	Codes	and	Standards	
Defendant	will	ensure	that	the	new	jail	facility	will	be	built	in	accordance	with:		(1)	the	American	Correctional	
Association’s	standards	in	effect	at	the	time	of	construction;	(2)	the	American	with	Disabilities	Act	of	1990	
(“ADA”),	42	U.S.C.	§§	12101-12213,	including	changes	made	by	the	ADA	Amendments	of	2008	(P.L.	110-325)	
and	47	U.S.C.	§§	225-661,	and	the	regulations	there	under;	and	(3)	all	applicable	fire	codes	and	regulations.	
          	
          Finding	–	Monitors	not	qualified	to	evaluate.	
                  The	Monitors	do	not	have	the	knowledge	or	expertise	to	evaluate	compliance	
          with	this	paragraph.			OPSO	asserts	that	it	is	in	compliance	with	this	provision,	
          without	offering	documentation.		
VII.		Compliance	and	Quality	Improvement	
	
VII.	A.	Policies,	Procedures,	Protocols,	Training	Curriculum	and	Practices	
	
Within	120	days	of	the	Effective	Date,	OPSO	shall	revise	and/or	develop	its	policies,	procedures,	protocols,	
training	curricula,	and	practices	to	ensure	that	they	are	consistent	with,	incorporate,	address,	and	implement	
all	provisions	of	this	Agreement.		OPSO	shall	revise	and/or	develop,	as	necessary,	other	written	documents,	
such	as	screening	tools,	logs,	handbooks,	manuals,	and	forms,	to	effectuate	the	provisions	of	this	Agreement.		
OPSO	shall	send	pertinent	newly-drafted	and	revised	policies	and	procedures	to	the	Monitor	as	they	are	
promulgated.		The	Monitor	will	provide	comments	on	the	policies	to	OPSO,	SPLC,	and	DOJ	within	30	days.		
OPSO,	SPLC,	and	DOJ	may	provide	comments	on	the	Monitor’s	comments	within	15	days.		At	that	point,	the	
Monitor	will	consider	the	Parties’	comments,	mediate	any	disputes,	and	approve	the	policies	with	any	
changes	within	30	days.		If	either	party	disagrees	with	the	Monitor,	they	may	bring	the	dispute	to	the	Court.		
OPSO	shall	provide	initial	and	in-service	training	to	all	Facility	staff	with	respect	to	newly	implemented	or	
revised	policies	and	procedures.		OPSO	shall	document	employee	review	and	training	in	new	or	revised	
policies	and	procedures.	
	
          Finding:	 Partial	Compliance	
     	
          Observations:	



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                 OPSO	continues	to	make	progress	on	the	policies,	procedures	and	other	
        written	documentation	as	specified	in	this	paragraph.	
VII.	(H).	B.		Written	Quality	Improvement	Policies	and	Procedures	
	
Within	180	days	of	the	Effective	Date,	Defendant	shall	develop	and	implement	written	quality	improvement	
policies	and	procedures	adequate	to	identify	serious	deficiencies	in	protection	from	harm,	prisoner	suicide	
prevention,	detoxification,	mental	health	care,	environmental	health,	and	fire	and	life	safety	in	order	to	assess	
and	ensure	compliance	with	the	terms	of	this	Agreement	on	an	ongoing	basis.		Within	90	days	after	
identifying	serious	deficiencies,	OPSO	shall	develop	and	implement	policies	and	procedures	to	address	
problems	that	are	uncovered	during	the	course	of	quality	improvement	activities.		These	policies	and	
procedures	shall	include	the	development	and	implementation	of	corrective	action	plans,	as	necessary,	within	
30	days	of	each	biannual	review.	
        	
        Finding:	 	Partial	compliance	
	
        Observations:	
                 Partial	compliance	with	this	paragraph	is	based	on	OPSO’s	policy	801.21	
        (dated	April	5,	2016)	regarding	critical	incident	reviews.		OPSO	has	not	provided	
        any	reports	“	.	.	.	identifying	serious	deficiencies,	OPSO	shall	develop	and	implement	
        policies	and	procedures	to	address	problems	that	are	uncovered	during	the	course	
        of	quality	improvement	activities.”	
                 	
VII.		(I).	C.	Full-Time	Compliance	Coordinator	
	        	
The	Parties	agree	that	OPSO	will	hire	and	retain,	or	reassign	a	current	OPSO	employee	for	the	duration	of	this	
Agreement,	to	serve	as	a	full-time	OPSO	Compliance	Coordinator.		The	Compliance	Coordinator	will	serve	as	a	
liaison	between	the	Parties	and	the	Monitor	and	will	assist	with	OPSO’s	compliance	with	this	Agreement.		At	a	
minimum,	the	Compliance	Coordinator	will:		coordinate	OPSO’s	compliance	and	implementation	activities;	
facilitate	the	provision	of	data,	documents,	materials,	and	access	to	OPSO’s	personnel	to	the	Monitor,	SPLC,	
DOJ,	and	the	public,	as	needed;	ensure	that	all	documents	and	records	are	maintained	as	provided	in	this	
Agreement;	and	assist	in	assigning	compliance	tasks	to	OPSO	personnel,	as	directed	by	the	Sheriff	or	his	or	
her	designee.		The	Compliance	Coordinator	will	take	primary	responsibility	for	collecting	information	the	
Monitor	requires	to	carry	out	the	duties	assigned	to	the	Monitor.	
	
         Finding:		Substantial	Compliance.	
         	
VII.		(J.)	D.	Self-Assessment		
	
On	a	bi-annual	basis,	OPSO	will	provide	the	public	with	a	self-assessment	in	which	areas	of	significant	
improvement	or	areas	still	undergoing	improvement	are	presented	either	through	use	of	the	OPSO	website	or	
through	issuance	of	a	public	statement	or	report.	
	
        Finding:	 Non-Compliance.	



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        Observations:			
                The	provision	provides	“On	a	bi-annual	basis,	OPSO	will	provide	the	public	
        with	a	self-assessment	in	which	areas	of	significant	improvement	or	areas	still	
        undergoing	improvement	are	presented	either	through	use	of	the	OPSO	website	or	
        through	issuance	of	a	public	statement	or	report.”	
                OPSO	asserts	that	they	are	in	substantial	compliance	with	this	paragraph	as	
        town	hall	meetings	are	held	quarterly.		OPSO	provided	the	PowerPoint	
        presentations	used	at	those	meetings.		The	Monitor	believes	that	this	paragraph	is	
        not	about	the	town	hall	meetings,	conducted	pursuant	to	the	Stipulated	Agreement	
        of	2016,	but	rather	in	writing	on	the	website	or	through	issuance	of	a	public	
        statement.	
                Written	self-assessment	of	adherence	to	policy/standard	operating	
        procedures,	including	internal	audits,	results	in	critical	self-assessments,	and	then,	
        as	needed,	measurable	action	plans.			
VIII.		Reporting	Requirements	and	Right	of	Access	
VIII.		A.	Periodic	Compliance	Reporting	
        	
OPSO	shall	submit	periodic	compliance	reports	to	the	Monitor.		These	periodic	reports	shall	be	provided	to	
the	Monitor	within	four	months	from	the	date	of	a	definitive	judgment	on	funding;	and	every	six	months	
thereafter	until	termination	of	this	Agreement.		Each	compliance	report	shall	describe	the	actions	Defendant	
has	taken	during	the	reporting	period	to	implement	this	Agreement	and	shall	make	specific	reference	to	the	
Agreement	provisions	being	implemented.		The	report	shall	also	summarize	audits	and	continuous	
improvement	and	quality	assurance	activities,	and	contain	findings	and	recommendations	that	would	be	used	
to	track	and	trend	data	compiled	at	the	Facility.		The	report	shall	also	capture	data	that	is	tracked	and	
monitored	under	the	reporting	provisions	of	the	following	provisions:		Use	of	Force;	Suicide	Prevention;	
Health	Care	Delivered;	Sanitation	and	Environmental	Conditions;	and	Fire	and	Life	Safety.			
        	
        Finding:	 Partial	Compliance	
        Observations:			
        	       This	provision	requires	that	OPSO	submit	periodic	compliance	reports	to	the	
        Monitors	describing	the	OPSO’s	actions	during	the	reporting	period	to	implement	
        the	Consent	Judgment.		The	report	is	also	required	to	summarize	audits	and	
        continuous	improvement	plans,	quality	assurance	activities	and	contain	findings	
        and	recommendations	that	would	be	used	to	track	and	trend	data.		The	report	is	
        also	to	capture	data	that	is	tracked	and	monitored	under	the	reporting	provisions	


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        related	to	use	of	force,	suicide	prevention,	health	care	delivered,	sanitation	and	
        environmental	conditions,	and	fire	and	life	safety.		
        	           OPSO	asserts	that	it	is	in	substantial	compliance	with	this	paragraph.		OPSO	
        provided	documentation.	12The	OPSO	Compliance	“master	document”	provided	does	
        not	include	information	on	the	specific	activities	that	OPSO	is	undertaking	to	gain	
        and	sustain	compliance	by	paragraph.		OPSO	provided	a	memorandum	that	there	is	
        currently	a	review	of	what	incidents	will	be	reviewed	as	critical	incidents.	
                    Based	on	the	information	provided	and	the	requirements	of	this	paragraph,	
        the	Monitors	assess	this	paragraph	as	being	in	partial	compliance.		The	compliance	
        initiatives	of	OPSO	should	address	the	specific	requirements	of	this	paragraph	and	
        develop	the	systems	needed.		This	will	be	essential	to	sustainability	of	the	
        requirements.		What	is	needed	to	achieve	compliance	are:	
        •       Summarize	audits	and	continues	improvement	and	quality	assurance	activities.	
        •       Findings	and	recommendations	
        •       Identification	of	data	that	is	tracked	for:	use	of	force,	suicide	prevention,	health	
                care	delivered,	sanitation	and	environmental	conditions,	and	fire	and	life	safety.	
                	
VIII.	B.		(Notification	of)	Death	of	Any	Prisoner	
        	
OPSO	shall,	within	24	hours,	notify	the	Monitor	upon	the	death	of	any	prisoner.		The	Monitor	shall	forward	
any	such	notifications	to	SPLC	and	DOJ	upon	receipt.		OPSO	shall	forward	to	the	Monitor	incident	reports	and	
medical	and/or	mental	health	reports	related	to	deaths,	autopsies,	and/or	death	summaries	of	prisoners,	as	
well	as	all	final	SOD	and	IAD	reports	that	involve	prisoners.		The	Monitor	shall	forward	any	such	reports	to	
SPLC	and	DOJ	upon	receipt.	
	
																																																								
12	A	summary	page	of	the	responsibilities	of	staff	vis-à-vis	the	early	intervention	system,	grievances,	mental	
health	counseling	and	risk	management	reports	(the	last	two	assigned	to	a	CCS	staff	no	longer	employed);		No	
such	report	has	been	provided	for	either	2016	or	to-date	for	2107;	a	review	of	the	Early	Intervention	System	
(EIS)	(4/2/18);	a	spreadsheet	with	EIS	alerts;		the	report	of	the	1st	quarter	of	2018	regarding	the	inmate	
grievance	system;		a	Quarterly	Compliance	Report	from	CCS	for	the	2018,	which	does	not	include	suicide	
prevention	activities	or	respond	directly	to	the	requirements	of	the	health	care	section	of	the	Consent	
Judgment;		the	inmate	disciplinary	track	spreadsheet,	which	will	include,	according	to	OPSO,	analysis	and	
tracking	in	the	future;	the	tentative	in-service	training	schedules	for	both	sworn	and	civilian	staff;	a	
programming	master	schedule;	May	2018	IAD	Investigative	Review;		inmate	classification	summaries,	
internal	audits	and	training	(see	also	Section	IV.A.	10);	staffing	overtime	report	for	May	2018;	list	of	approved	
paid	details	worked	May	2018’	What	is	unlabeled	but	appears	to	be	a	listing	of	hours	worked	by	reserve	
deputies	in	OJC;	list	of	missed	medical	appointments	from	CCS,	with	no	analysis	or	action	plan;		policy	index	
and	due	dates;		Use	of	Force	Review	Board	Dispositions	(January	through	May	2018);	Use	of	Force	reviews	
for	what	appears	to	be	2018	quarterly	(unable	to	open	document);	2018	EIS	alerts;	and		6/15/18	–	Stipulated	
Audit	Action	Plan	Environmental/Sanitation	Department.	
	

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        Finding:	 Substantial	Compliance	
        	
VIII.	C.	Records	
          	
Defendant	shall	maintain	sufficient	records	to	document	that	the	requirements	of	this	Agreement	are	being	
properly	implemented	and	shall	make	such	records	available	to	the	Monitor	within	seven	days	of	request	for	
inspection	and	copying.		In	addition,	Defendant	shall	maintain	and	provide,	upon	request,	all	records	or	other	
documents	to	verify	that	they	have	taken	the	actions	described	in	their	compliance	reports	(e.g.,	census	
summaries,	policies,	procedures,	protocols,	training	materials,	investigations,	incident	reports,	tier	logs,	or	
use	of	force	reports).	
          	
          Finding:	 Partial	Compliance	
          Observations:			
          	       The	Monitors	continue	to	be	encouraged	by	the	work	of	OPSO	to	address	this	
          paragraph;	and	look	forward	to	reviewing	“		.	.	.		the	actions	described	in	their	
          compliance	reports	(e.g.,	census	summaries,	policies,	procedures,	protocols,	training	
          materials,	investigations,	incident	reports,	tier	logs,	or	use	of	force	reports).”		
          Substantial	Compliance	requires	the	defendants	to	promptly	fulfill	reasonable	
          document	requests	from	the	parties.		Emphasis	on	compiling	and	tracking	requests	
          and	dates	and	nature	of	the	responses	will	help	achieve	substantial	compliance.	
	
III.		    Stipulated	Agreements		
	         OPSO	and	the	Plaintiffs/DOJ	negotiated	two	agreements	after	Compliance	Report	
#3.				The	language	of	the	Agreed	Orders	linked	directly	to	the	Consent	Judgment	and	
represented	priority	areas	for	inmate	safety.			
          The	three	provisions	of	the	April	22,	2015	are	in	compliance.		The	provisions	in	the	
Agreed	Order	of	February	11,	2015	require	additional	attention.		See	the	section	of	the	
Consent	Judgment	as	noted.	
1.b.	OPSO	shall	comply	with	the	Consent	Judgment’s	requirement	for	periodic	a	compliance	report	as	set	forth	
in	Consent	Judgment	Section	VIII.A	The	report	shall	describe	the	steps	OPSO	has	taken	in	furtherance	of	
compliance,	and	the	activities	planned	during	the	next	reporting	period.		The	first	report	is	due	by	April	1,	
2015,	and	periodic	reports	shall	be	due	in	accordance	with	Section	VIII.A,	and/or	on	dates	mutually	agreed	to	
by	the	parties	and	the	Monitors,	and	approved	by	the	Court,	as	necessary.		See	CJ	Section	VIII.	A.	
	
6.b.	OPSO	shall	ensure	by	May	15,	2015	that	all	staff	assigned	to	the	housing	for	inmates	with	acute	and	
chronic	mental	health	(in	Templeman	V,	TDC,	or	other	housing	in	which	this	population	is	held)	attend	
training	regarding	working	this	population.		The	lesson	plans/curricula	for	this	training	shall	be	reviewed	
and	approved	by	the	Monitors.			The	draft	of	the	training	curriculum	and	training	plan	is	due	to	the	Monitors	



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by	April	15,	2015,	and	should	include	participation	by	subject	matter	experts	employed	by	the	medical	
contractor.		See	also	CJ	IV.B.4.a.,7.	a.	
	
OPSO	shall	provide	a	monthly	report	to	the	Monitors,	identifying	the	number	of	deputies	hired	the	previous	
month;	the	number	of	deputies	who	resigned,	if	known,	the	reason	for	resignation,	and	the	date	the	deputy	
entered	service;	and	the	number	of	deputies	who	were	terminated,	the	reason	for	termination,	and	the	date	
the	deputy	entered	service.		The	same	report	shall	be	provided	for	non-sworn	(civilian	staff).		A	cumulative	
annual	total	will	also	be	included	as	part	of	this	report.	
	
13.		Medical	Care	–	The	health	care	provider	has	not	provided	their	action	plan	for	achieving	compliance	with	
the	provisions	of	the	Consent	Judgment,	as	required	by	this	paragraph.	
14.b.	By	April	1,	2015,	OPSO,	in	collaboration	with	CCS,	will	produce	a	management	plan	for	inmates	on	the	
mental	health	caseload	(Levels	1	–	4),	whether	these	inmates	are	housed	in	the	step-down	unit,	or	in	general	
population.	See	CJ	IV.	B.	2.	
        	




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IV.A.	1.		Use	of	Force	Policies	and	Procedures/Margo	Frasier
IV.	A.	1.a.	       ND            NC        NC         PC         NC           PC          PC           PC          PC           SC
IV.	A.	1.b.        ND            NC        NC         PC         NC           PC          PC           PC          SC           SC
IV.	A.	1.c.        ND            NC        NC         PC         NC           NC          PC           PC          PC           SC
IV.A.2.		Use	of		Force	Training/Margo	Frasier
IV.	A.	2.	a.       ND          NC         NC          NC         NC           PC          PC          PC           PC           PC
IV.	A.	2.	b.       ND          NC         NC          NC         NC           PC          PC          PC           PC           PC
IV.	A.	2.	c.       ND          NC         NC          NC         NC           NC          NC          NC           PC           PC
IV.A.3.			Use	of	Force	Reporting/Margo	Frasier
IV.	A.3	a.         ND          NC         NC          PC         NC           PC          PC          PC           PC           PC
IV.	A.3	b.         ND          NC         NC          NC         NC           NC          PC          PC           PC           PC
IV.	A.3	c.         ND          NC         NC          NC         NC           NC          PC          PC           PC           PC
IV.	A.3	d.         ND          NC         NC          PC         NC           NC          PC          PC           PC           PC
IV.	A.3	e.         ND          NC         NC          PC         PC           PC          PC          PC           SC           SC
IV.	A.3	f.         ND          NC         NC          PC	        NC           PC          PC          PC           PC           PC
IV.	A.3	g.         ND          NC         NC          PC         PC           PC          PC          PC           SC           SC
IV.	A.3	h.         ND          NC         NC          NC         NC           NC          NC          NC           PC           SC
IV.A.4.	Early	Intervention	System	(“EIS”)	/Margo	Frasier
IV.A.4.a.         ND           NC          NC         PC         PC           PC          NC          NC           PC           PC
IV.A.4.b.         ND           NC          NC         PC         PC           PC          PC          PC           PC           SC
IV.A.4.c.         ND           NC          NC         PC         PC           PC          PC          PC           SC           SC
IV.A.4.d.         ND           NC          NC         NC         NC           PC          PC          NC           NC           PC
IV.A.4.e.         ND          ND           ND         ND         NC           NC          NC          NC           NC           SC
IV.A.5.	Safety	and	Supervision/Margo	Frasier
IV.A.5.a.         ND          NC         NC           NC         NC           NC          NC          NC           NC           PC
IV.A.5.b.         ND          NC         NC           NC         NC           NC          NC          NC           NC           PC
IV.A.5.c.         ND          NC         NC           NC         NC           NC          NC          PC           PC           PC
IV.A.5.d.         NC          NC         PC           PC         NC           NC          NC          NC           PC           PC
IV.A.5.e.         ND          NC         NC           PC         PC           NC          NC          NC           NC           PC
IV.A.5.f.         ND          NC         NC           PC         PC           SC          SC          PC           PC           PC
IV.A.5.g.         ND          NC         ND           PC         NC           NC          NC          NC           NC           PC
IV.A.5.h.         ND          NC         NC           NC         NC           NC          NC          NC           NC           PC
IV.A.5.i.         ND          NC         NC           PC         PC           PC          PC          PC           SC           PC
IV.A.5.j.         ND          NC         PC           PC         NC           NC          NC          NC           PC           PC
IV.A.5.k.         ND          NC         PC           PC         PC           PC          PC          PC           PC           PC
IV.A.5.l.         ND          NC         NC           NC         PC           PC          PC          PC           PC           PC


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IV.A.6.		Security	Staffing/Susan	McCampbell
IV.A.6.a.	         NC          NC        NC            NC          NC           NC          NC          NC           NC           NC
IV.A.6.a.(1)       ND          PC        PC            PC           SC          SC          PC          PC           PC           SC
IV.A.6.a.(2)      ND           PC          PC          PC          NC           SC          SC           SC          SC           SC
IV.A.6.a.(3)      ND           SC          NC          SC          NC           SC          NC           SC          NC           SC
IV.A.6.a.(4)      ND          NC         PC            PC          PC           PC          PC          PC           PC           PC
IV.A.6.b.         ND          NC         PC            PC	         NC           PC          PC          PC           PC           SC
IV.A.7	Incidents	and	Referrals/Margo	Frasier
IV.A.7.a.         ND          NC         NC            NC          NC           PC          PC           PC          PC           PC
IV.A.7.b.         ND          NC         NC            PC          NC           PC          PC           PC          PC           PC
IV.A.7.c.         ND          NC         PC            PC          PC           PC          SC           SC          SC           SC
IV.A.7.d.         ND          NC         NC            NC          NC           NC          NC          PC           PC           PC
IV.A.7.e.         ND          NC         PC            PC          PC           PC          PC          PC           PC           PC
IV.A.7.f.         ND          NC         NC            PC          PC           PC          PC          PC           PC           PC
IV.A.7.g.         ND          NC         NC            PC          PC           PC          PC          PC           PC           SC
IV.A.7.h.         ND          NC         NC            PC          PC           PC          PC          PC           PC           PC
IV.A.7.i.         ND          NC         NC            PC          NC           NC          NC          NC           NC           PC
IV.A.7.j.         ND          NC         NC            NC          NC           NC          NC          NC           NC           SC
IV.A.8.		Investigations/Margo	Frasier
IV.A.8.a.         ND          NC           PC          PC           PC          SC          SC          SC           SC           SC
IV.A.8.b.         ND          NC           PC          PC           PC          SC          SC          SC           SC           SC
IV.A.8.c.         ND          NC           PC          PC           PC          SC          SC          SC           SC           SC
IV.A.8.d.         ND          NC           NC          PC           PC          SC          SC          SC           SC           SC
IV.A.8.e.         ND          NC           NC          PC           PC          PC          PC          SC           SC           SC
IV.A.8.f.         ND          NC           NC          PC           PC          PC          PC          PC           SC           SC
IV.A.9.		Pretrial	Placement	in	Alternative	Settings/Susan	McCampbell
IV.A.9.a.          PC          PC           PC          SC       SC             SC          SC           SC          SC           SC
IV.A.9.b.          PC          PC           PC          SC       SC             SC          SC           SC          SC           SC
IV.A.10.	Custodial	Placement	within	OPP/Patricia	Hardyman
IV.A.10.a.         NC          PC           SC          SC       SC             SC          PC          PC           PC           PC
IV.A.10.b.         NC          NC           NC          SC       SC             SC          SC          SC           SC           SC
IV.A.10.c.         NC          NC           PC          PC       PC             PC          PC          SC           SC           SC
IV.A.10.d.         NC          NC           PC          PC       PC             PC          PC          NC           PC           SC
IV.A.10.e.         NC          NC           PC          SC       PC             PC          SC          PC           PC           PC
IV.A.10.f.         NC          NC           NC          NC       NC             PC          PC          PC           NC           SC
IV.A.10.g.         NC          NC           NC          NC       NC             PC          PC          PC           PC           SC
IV.A.10.h.         ND          NC           NC          PC       PC             PC          PC          PC           PC           PC

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IV..A.11.	Prisoner	Grievance	Process/Susan	McCampbell
IV.A.11.a         PC          PC         PC        PC            PC          PC          PC          PC           PC           PC
IV.A.12.	Sexual	Abuse/Susan	McCampbell
IV.A.12.          PC          PC         PC        PC            PC          PC          PC          PC           PC           PC
IV.A.13.	Access	to	Information/Susan	McCampbell
IV.A.13.          PC          PC         PC        PC            PC          PC          PC          PC           PC           SC
IV.	B.	Mental	Health	Care
IV.B.1.	Screening	and	Assessment/Raymond	Patterson	
IV.B.1.a.         NC          NC         PC        PC           PC           PC          PC          PC           PC           SC
IV.B.1.b.         NC          NC         PC        PC           PC           PC          PC          PC           PC           SC
IV.B.1.c.         NC          NC         PC        PC           PC           PC          PC          PC           SC           SC
IV.B.1.d.         NC          NC         PC        PC           PC           PC          PC          PC           PC           SC
IV.B.1.e.         NC          NC         PC        PC           PC           PC          PC          PC           PC           PC
IV.B.1.f.         NC          NC         NC        NC           NC           NC          NC          NC           NC           PC
IV.B.1.g.         NC          NC         NC        NC           NC           NC          NC          NC           PC           PC
IV.B.1.h.         NC          NC         NC        NC           NC           NC          NC          NC           PC           SC
IV.B.1.i.         NC          NC         NC        NC           NC           NC          NC          NC           NC           PC
IV.B.1.j.         NC          NC         NC        PC           NC           NC          NC          NC           NC           PC
IV.B.1.k.         NC          NC         NC        PC           NC           NC          NC          NC           NC           NC
IV.B.1.l.         NC          NC         NC        NC           NC           NC          NC          NC           NC           SC
B.	2.		Treatment/Raymond	Patterson
IV.B.2.a.         NC          NC         NC        PC           PC           PC          PC          PC           PC           PC
IV.B.2.b.         NC          NC         NC        NC           NC           NC          NC          NC           NC           PC
IV.B.2.c.         NC          NC         NC        NC           NC           NC          NC          NC           NC           PC
IV.B.2.d.         NC          NC         NC        NC           NC           NC          NC          NC           NC           NC
IV.B.2.e.         NC          NC         NC        PC           PC           PC          PC          NC           NC           PC
IV.B.2.f.         NC          NC         NC        PC           PC           PC          NC          PC           PC           PC
IV.B.2.g.         NC          NC         NC        PC           PC           PC          NC          PC           PC           SC
IV.B.2.h.         NC          NC         NC        PC           PC           PC          PC          PC           NC           PC
IV.B.3.		Counseling/Raymond	Patterson
IV.B.3.a.         NC        NC          NC          NC           PC          NC          NC          PC           PC           PC
IV.B.3.b.         NC        NC          NC          NC           PC          NC          NC          PC           PC           PC




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IV.B.4.		Suicide	Prevention	Training	Program/Raymond	Patterson
IV.B.4.a.          NC          NC         NC       PC              PC         PC          PC          PC           NC           PC
IV.B.4.b.          NC          NC         NC       PC              PC         PC          PC          PC           PC           PC
IV.B.4.c.          NC          NC         NC       PC              PC         PC          PC          PC           PC           PC
IV.B.4.d.          NC          NC         NC       PC              NC         NC          NC          NC           NC           PC
IV.B.4.e.          NC          NC         NC       PC              NA         PC          PC          PC           PC           PC
IV.B.4.f.          NC          NC         NC       NC              PC         PC          NC          NC           SC           SC
IV.B.4.g.          NC          NC         NC       SC              PC         NC          NC          NC           NC           PC
IV.B.5.		Suicide	Precautions/Raymond	Patterson
IV.B.5.a.          NC         NC         NC              NC        NC         NC          NC          PC           PC           PC
IV.B.5.b.          NC         NC         NC              NC        NC         NC          NC          PC           PC           SC
IV.B.5.c.          NC         NC         NC              NC        NC         NC          NC          PC           PC           PC
IV.B.5.d.          NC         NC         NC              NC        NC         NC          NC          NC           PC           PC
IV.B.5.e.          NC         NC         NC              NC        NC         NC          NC          NC           NC           PC
IV.B.5.f.          NC         NC         NC              NC        NC         NC          NC          NC           NC           PC
IV.B.5.g.          NC         NC         NC              NC        NC         NC          NC          NC           NC           PC
IV.B.5.h.          NC         NC         NC              NC        NC         NC          NC          PC           NC           PC
IV.B.5.i.          NC         NC         NC              NC        NC         NC          NC          PC           PC           SC
IV.B.5.j.          NC         NC         NC              NC        NC         NC          NC          PC           PC           PC
IV.B.5.k.          NC         NC         NC              NC        NC         NC          NC          PC           NC           PC
IV.B.6.		Use	of	Restraints/Raymond	Patterson
IV.B.6.a.          PC         NC         PC              PC        PC         PC          PC          PC           NC           PC
IV.B.6.b.          NC         NC         PC              PC        PC         PC          PC          PC           PC           PC
IV.B.6.c.         ND          NC         PC              PC        PC         PC          PC          PC           NC           PC
IV.B.6.d.         ND          NC         PC              PC        PC         PC          PC          PC           NC           PC
IV.B.6.e.          NC         NC         PC              PC        PC         PC          PC          PC           NC           PC
IV.B.6.f.          NC         NC         PC              PC        PC         PC          PC          PC           NC           PC
IV.B.6.g.          NC         NC         PC              PC        PC         PC          PC          PC           NC           PC
IV.B.7.		Detoxification	and	Training/Robert	Greifinger
IV.B.7.a.          NC          NC         PC             PC        PC         PC          PC          PC           PC           PC
IV.B.7.b.          NC          NC         PC             PC        PC         PC          PC          PC           PC           SC
IV.B.7.c.          NC          NC         PC             PC        PC         PC          PC          PC           PC           PC
IV.B.7.d.          NC          NC         PC             PC        PC         PC          PC          PC           PC           NC
IV.B.8.	Medical	and	Mental	Health	Staffing/Robert	Greifinger
IV.B.8.a.         NC         NC           PC          PC           PC         PC          PC          PC           PC           PC
IV.B.8.b.         NC         NC           PC          PC           PC         PC          PC          PC           PC           SC


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IV.B.9.		Risk	Management/Robert	Greifinger
IV.B.9.a.         NC                     NC                      NC                      PC                      PC                     PC                      PC                       PC                      PC                       PC
IV.B.9.b.         NC                     NC                      NC                      PC                      PC                     PC                      PC                       PC                      PC                       PC
IV.B.9.c.         NC                     NC                      NC                     NC                       PC                     PC                      PC                       PC                      PC                       PC
IV.B.9.d.         NC                     NC                      NC                     NC                      NC                      NC                      NC                       NC                      NC                       PC
IV.B.9.e.         NC                     NC                      NC                     NC                       PC                     PC                      PC                       PC                      NC                       PC
IV.B.9.f.         NC                     NC                      NC                     NC                       PC                     PC                      PC                       PC                      NC                       NC
IV.C.	Medical	Care																																																																																																																																																																																																																																																									
IV.	C.	Quality	Management	of	Medication	Administration
IV.C.1.a.         NC                     NC                      PC                      PC                      PC                     PC                      PC                       PC                      PC                        SC
IV.C.1.b.         NC                     NC                      PC                      PC                      PC                     PC                      PC                       PC                      PC                       PC
IV.C.1.c.         NC                     NC                      PC                      PC                      PC                     PC                      PC                       PC                      PC                        SC
IV.C.1.d.         NC                     NC                      PC                      PC                      PC                     PC                      PC                       PC                      PC                        SC
IV.C.2.		Health	Care	Delivered/Robert	Greifinger
IV.C.2.a.         NC                     NC                      NC                      PC	                     PC                     PC                      PC                       PC                      PC                       NC
IV.C.2.b.         NC                     NC                      NC                      PC	                     PC                     PC                      PC                       PC                      PC                       NC
IV.C.3.		Release	and	Transfer/Robert	Greifinger
IV.C.3.a.          NC         NC          NC        PC	                                                                  PC                    PC                     PC                     PC                     PC                      PC
IV.C.3.b.          NC         NC          NC        PC	                                                                  PC                    PC                     PC                     PC                     PC                      PC
IV.C.3.c.          NC         NC          NC        PC	                                                                  PC                    PC                     PC                     PC                     PC                      PC
IV.C.3.d.          NC         NC          NC        PC	                                                                  PC                    PC                     PC                     PC                     PC                      SC
IV.D.		Sanitation	and	Environmental	Conditions/Shane	Poole
IV.D.	1.a.         NC         NC          NC        NC                                                                   NC                    NC                     NC                     NC                     NC                      PC
IV.	D.	1.b.	       NC         NC           PC       PC                                                                   PC                    PC                     PC                     PC                     PC                      SC
IV.	D.	1.c.        NC         NC           PC       PC                                                                   NC                    NC                     PC                     SC                     PC                      PC
IV.	D.	1.d.        NC         NC          NC        NC                                                                   SC                    SC                     SC                     SC                     SC                      SC
IV.	D.	1.e.        NC         PC           PC       PC                                                                   PC                    PC                     PC                     SC                     PC                      SC
IV.	D.	1.f.        NC         NC          NC        NC                                                                   PC                    PC                     PC                     PC                     PC                      PC
IV.	D.	1.g.        NC         NC          NC        NC                                                                   PC                    PC                     PC                     PC                     PC                      SC
IV.	D.	1.h.        NC         NC          NC        PC                                                                   NC                    PC                     NC                     NC                     NC                      PC
IV.	D.	2.	Environmental	Control/Shane	Poole
IV.	D.	2.a.       NC          NC         PC                                                       PC                     PC                     SC                    SC                     SC                     PC                      SC
IV.	D.	2.b.       NC          NC        NC                                                        NC                     NC                     SC                    PC                     SC                     SC                      SC
IV.	D.	3.	Food	Service/Diane	Skipworth
IV.	D.	3.a.       NC          NC        NC                                                         PC                    PC                    PC                     NC                     PC                     PC                      PC
IV.	D.	3.b.       NC          NC        NC                                                         PC                    PC                    PC                     NC                     NC                     NC                      NC
IV.	D.	3.c.       NC          NC        NC                                                         PC                    NC                    NC                     PC                     PC                     PC                      PC

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IV.	D.	4.	Sanitation	and	Environmental	Conditions	Reporting/Shane	Poole
IV.	D.	4.a.	1-
                   NC          NC         PC          PC         PC                                                              PC                   PC                  PC                   NC                    SC
7
IV.	D.	4.b.        NC          NC                                   NC                   NC                  PC                  NC                  NC                   PC                   PC                    SC
IV.E.	Fire	and	Life	Safety/Shane	Poole
IV.	E.	1.	Fire	and	Life	Safety
IV.	E.	1.a.        NC          PC                                   PC                   PC                  PC                  PC                   PC                  SC                   PC                   PC
IV.	E.	1.b.        NC          NC                                   NC                   PC                  PC                  PC                   PC                  PC                   PC                   SC
IV.	E.	1.c.        PC          PC                                   PC                   PC                  NC                  PC                   PC                  SC                   PC                   SC
IV.	E.	1.d.        NC          NC                                   NC                   NC                  NC                  NC                   PC                  SC                   PC                   SC
IV.	E.	1.e.        ND          NC                                   PC                   PC                  PC                  PC                   PC                  PC                   SC                   SC
IV.	E.	2.	Fire	and	Life	Safety	Reporting
IV.	E.	2.a.1-
                   ND            NC       PC         PC        PC                                                                PC                   PC                  PC                   PC                    SC
3
IV.	E.	2.b.        ND            NC       NC         PC        NC                                                                NC                  NC                   PC                   PC                    SC
IV.F.	Language	Assistance
IV.F.1.	Timely	and	Meaningful	Access	to	Services/Susan	McCampbell
IV.F.1.a.          ND            PC       PC         PC        PC                                                                PC                   PC                  PC                   PC                   PC
IV.F.2.		Language	Assistance	Policies	and	Procedures/Susan	McCampbell
IV.F.2.a.        ND           PC           PC         PC      Not	App                                                        Not	App             Not	App              Not	App              Not	App              Not	App
IV.F.2.b.        ND           PC           PC         PC      Not	App                                                        Not	App             Not	App              Not	App              Not	App              Not	App
IV.F.3.	Language	Assistance	Training/Susan	McCampbell
IV.F.3.a.        NC          PC          PC       PC                                                         PC                  PC                   PC                  PC                   PC                   PC
IV.F.4.	Bilingual	Staff/Susan	McCampbell
IV.F.4.            NC          PC        PC                                              PC                  PC                  NC                  NC                   NC                   NC                   PC
IV.G.		Youthful	Prisoners/Susan	McCampbell
IV.G.	            NC          NC       NC                                                PC                  PCPC                     NC                       NC                       PC                       PC
VI.	The	New	Jail	Facility/Susan	McCampbell																																																																																																																																																																																																			
VI.	A.            ND          PC          PC                   SC                      SC                      SC                      SC                      SC                       SC                       SC
VI.	B.            NC          PC          SC                   SC                      SC                      SC                      SC                      SC                       SC                       SC
VI.	C.            ND          PC          SC                   SC                      PC                      PC                      PC                      PC                       SC                       SC
VI.	D.       Monitors	Not	Qualified	to	Evaluate




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VII.		Compliance	and	Quality	Improvement/Susan	McCampbell
VII.	A.          ND           NC       NC         PC            PC           PC          PC          PC           PC           PC
VI.	B.	(H.)      NC           NC       NC         NC            NC           NC          PC          PC           PC           PC
VI.	C.	(I.)      NC           NC        SC        SC            NC           SC          SC          NC           PC           SC
VI.	D.	(J.)      ND           NC       NC         PC            PC           PC          PC          NC           NC           NC
VIII.	Reporting	Requirements	and	Right	of	Access/Susan	McCampbell
VIII.A.          ND          PC          NC          PC       PC             PC          PC          NC           NC           PC
VIII.B.          PC          PC          PC          PC       SC             SC          SC          SC           SC           SC
VIII.C.          PC          PC          PC          SC       SC             SC          NC          NC           PC           PC
Legend:                             NA	-	Not	Applicable	
ND	-	Not	scheduled	for	review
NC	-	Non-compliance
PC	-	Partial	Compliance
C	-	Substantial	Compliance




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                  Appendix	B	-	CY	2018	OJC	Reported	Hires	and	Terminations		
                  	
                                                                               Ended	
                                                      Hired	1/1/18	-	       Employment	
                      OPSO	Reports	                                                       	Plus	or	Minus	
                                                        12/31/18	             1/1/18	-	
                                                                             12/31/18	
    Administrative	Clerical	Specialist	                     2	                    4	            -2	
    Agent	1,	2		                                            		                    2	            -2	
    Analyst	                                                		                    1	            -1	
    Area	Supervisor	                                        		                    1	            -1	
    Associate	Warden	                                       		                    2	            -2	
    Attorney	                                               1	                    		             1	
    Captain	                                                		                    1	            -1	
    Case	Manager	                                           		                    1	            -1	
    Chief	of	Corrections	                                   		                    1	            -1	
    Chief	of	Staff	                                         		                    1	            -1	
    Career	Counselor	                                       1	                    		             1	
    Classification	(auditor,	specialists)	                  3	                    6	            -3	
    Compliance	Manager/Coordinator	                         1	                    1	             0	
    CMT	                                                   27	                   42	           -15	
    Crime	Victim	Adm.	Asst	                                 1	                    		             1	
    Day	Reporting	Counselors	                               		                    2	            -2	
    Deputy	1	                                               1	                    8	            -7	
    Deputy	2	                                               		                   20	           -20	
    Deputy	4	                                               		                    1	            -1	
    Director/HR	                                            1	                    1	             0	
    Director	of	Sanitation	                                 1	                    		             1	

    Facility/Electricians/Maintenance/warehouse	            8	                  9	              -1	

    Grievance	Clerk	                                        1	                   2	             -1	
    HR	Manager	                                             		                   1	             -1	
    MH/Med	Services	Manager	                                1	                   1	              0	
    Instructor	                                             		                   1	             -1	
    Intake	and	Processing	Clerk	                            7	                  14	             -7	
    IPC	Director	                                           1	                   1	              0	
    Justice	Systems	Manager	                                		                   1	             -1	
    Lieutenant	                                             		                   2	             -2	
    Program	Coordinator	                                    		                   1	             -1	
    Recruits	                                              67	                  66	              1	


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                                                                          Ended	
                                                    Hired	1/1/18	-	    Employment	
                  OPSO	Reports	                                                      	Plus	or	Minus	
                                                      12/31/18	          1/1/18	-	
                                                                        12/31/18	
    Sergeant	                                             2	                4	             -2	
    Warden	                                               		                3	             -3	
                                           Total	        126	              201	           -75	
                          	
                   2018	Reason	                          All	           Recruits	        CMTs	
             Abandoned	Job/No-Show	                       50	             19	             22	
                   Advancement	                           16	              5	              2	
                    Attendance	                            1	              		              1	
                 Change	Tax	Status	                        3	              		              		
                     Deceased	                             2	              		              		
                    Misconduct	                           34	             16	              5	
                    Retirement	                            3	               		             		
             Personal/Personal-Other	                     61	             12	              8	
                  Personal-Health	                         5	              2	              		
                Personal-Relocation	                       4	               		             1	
           Resigned	Under	Investigation	                  14	              7	              2	
           Resigned	While	on	Suspension	                   3	              2	              1	
                    Unspecified	                           3	              1	              		
             Unable	to	Perform	Duties	                     2	              2	              		
                         		                              201	             66	             42	
	




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